                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                        BROWNSVILLE DIVISION


                                                 )
STATE OF TEXAS, et al.,                          )
                                     Plaintiffs, )
                                                 )
vs.                                              )   Case No.1:18-cv-00068
                                                 )
UNITED STATES OF AMERICA, et al.,                )
                                    Defendants. )


APPENDIX IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
         INJUNCTION AND MEMORANDUM IN SUPPORT




                          Volume 2

                 Exhibits 8 - 15
         
         
         
         
         
         
    Exhibit 8    

 

 

 

 

 

 

 

 

 

 

 

 




                    App. 0857
App. 0858
App. 0859
App. 0860
App. 0861
App. 0862
App. 0863
                                     Lloyd B. Potter
                               Department of Demography and
                  Institute for Demographic and Socioeconomic Research
                              University of Texas at San Antonio
                                  501 W. César Chávez Blvd.
                                   Monterey Bldg., 4th Floor
                                San Antonio, Texas 78207-4415
                                    Phone: (210) 458-6530
                                 Email: Lloyd.Potter@utsa.edu

Educational Background:

       M.P.H.        Epidemiology, Emory University, Rollins School of Public Health, spring
                     1993.

       Ph.D.         Demography/Sociology, University of Texas at Austin, fall 1989.
                     Dissertation: Proximate and Non-Proximate Causes of Racial Life
                      Expectancy Differentials in the U.S., 1970 and 1980. Co-Chairs: Omar
                      Galle and Teresa Sullivan

       M.S.          Education, University of Houston Clear Lake, spring 1981.

       B.S.          Sociology, Texas A&M University, fall 1979.

                     Clear Lake High School, Houston, TX. Clear Creek Independent School
                     District, spring 1975

Professional Positions:

2010-present State Demographer of Texas and Director of the Texas Demographic Center.
2008-present Director, Institute for Demographic and Socioeconomic Research, University of
             Texas at San Antonio, San Antonio, TX.
2008-present Professor, Department of Demography, University of Texas at San Antonio, San
             Antonio, TX.
2008-present Adjunct faculty, The University of Texas School of Public Health at Houston
             through the San Antonio Regional Campus.
2014-2015    Associate Dean for Research, College of Public Policy, University of Texas at
             San Antonio, San Antonio, TX.
2009- 2011 Interim-Chair, Department of Demography, University of Texas at San Antonio,
             San Antonio, TX.
2001-2004    Adjunct faculty member, University of Michigan School of Public Health,
             Summer Epidemiology Seminar.
2000-2008    Director, Center for the Study and Prevention of Injury, Violence, and Suicide.
             Education Development Center Inc., Newton, MA.



                                                                                   App. 0864
                                                                           L. B. Potter  April 2018 


1998-99         Detail from CDC to Massachusetts Department of Public Health (9 months) –
                Injury Surveillance Program, Boston, Massachusetts. Developed surveillance
                report on suicide in the state.
    1997        Detail from CDC to Hanoi School of Public Health, Field Epidemiology Training
                Program, Hanoi, Vietnam. Developed course on demographic methods in public
                health.
1995-2000       Team Leader (Branch Chief), Youth Violence and Suicide Prevention, Division of
                Violence Prevention, National Center for Injury Prevention and Control, Centers
                for Disease Control and Prevention, Atlanta, Georgia. Managed CDC’s scientific
                and grant program portfolio on youth violence and suicide prevention.
    1993-1995   Team Leader, Suicide Prevention, Division of Violence Prevention, National
                Center for Injury Prevention and Control, Centers for Disease Control and
                Prevention, Atlanta, Georgia. Manage CDC scientific program on suicide
                prevention.
    1992        Consultant, Field Epidemiology Training Program, Taiwan Department of Health,
                Taipei, Taiwan, R.O.C. Provided training on research and survey methodology.
    1991-93     National Institute of Mental Health HIV/AIDS Post-Doctoral Fellow, Emory
                University School of Public Health/Centers for Disease Control and Prevention,
                Atlanta, Georgia. Received Masters of Public Health and conducted HIV/AIDS
                prevention research at CDC.
 1989-91        Assistant Professor of Sociology, Fordham University, Bronx, New York.
1990 & 91       Lecturer, summers, University of Texas at Austin, Department of Sociology.
                Managed and taught the NSF funded Research Experience for Undergraduates
                (REU) program.
    1989        Research Associate, University of Texas at Austin, Departments of Social Work
                and Home Economics. Conducted research on adoption.
    1988        Research Associate, University of Texas at Austin, Population Research Center.
    1987-88     Research Associate, Texas A&M University, Department of Rural Sociology,
                College Station, Texas. Assisted with book on farm financial crisis, Texas
                population estimates and projections and socioeconomic impact assessments
    1986        Social Science Analyst, summer, Center for International Research, U.S. Bureau
                of the Census, Washington D.C. Developed population estimates, projections, and
                profiles for various countries
    1985        United Nations Intern, summer, Population Policy Section, New York, New York.
                Developed population estimates, projections, and profiles for various countries
1984-87         Research Assistant,, University of Texas at Austin, Population Research Center.
                Conducted research on consumer bankruptcy
1983-84         Research Assistant, Texas A&M University, Department of Rural Sociology,
                College Station, Texas. Assisted with population estimates and projections for
                Texas.
    1981-83     Teacher, LaPorte Independent School District, LaPorte, Texas.

Awards and Honors:
 2017-present Peter Flawn Professor
 2012         Outstanding Clear Creek Independent School District (CCISD) Alumni Award,
              Clear Creek Education Foundation.

                                                                                                  2 
 
                                                                                       App. 0865
                                                                           L. B. Potter  April 2018 


    2005        Allies for Action Award, Suicide Prevention Action Network
    2000        Special Act of Service Award, CDC. For leadership in the conceptualization and
                production of "Best Practices of Youth Violence Prevention."
    2002        Surgeon General's Exemplary Service Award. For leadership in developing a
                National Strategy for Suicide Prevention.
    1998        Builder Award for the National Strategy for Suicide Prevention, Suicide
                Prevention Advocacy Network
    1996        Special Act of Service Award, CDC. For leadership toward establishing CDC's
                Behavioral and Social Science Working Group.
    1996        Special Act of Service Award, CDC. For efforts to assess achievement of Healthy
                People 2000 objectives in the area of injury and violence.
    1993-96     Equal Opportunity Award, CDC. For leadership toward creating a diverse and
                work environment.
    1986        Professional Development Award, Graduate School, University of Texas at
                Austin
    1984-85 &   National Institute of Child Health and Development Trainee.
    1988-89     University of Texas at Austin.

Research Activities Summary:
Peer Reviewed
   1.    Valenzuela, C., Valencia, A., White, S., Jordan, J. J., Cano, S. L., Keating, J. P.,
         Nagorski, J. J., Potter, L. B. An analysis of monthly household energy consumption
         among single-family residences in Texas, 2010, Energy Policy, 2014(69):263-272,
         ISSN 0301-4215, http://dx.doi.org/10.1016/j.enpol.2013.12.009. (senior and
         corresponding author with student as first).
   2.    Howard, J.T., Potter, L.B., An assessment of the relationships between overweight,
         obesity, related chronic health conditions and worker absenteeism. Obesity Research &
         Clinical Practice 2014(8):1-15. (student first author)
   3.    Goldston D, Walrath C, McKeon R, Puddy R, Lubell K, Potter L, Rodi M.. The Garrett Lee
         Smith Memorial Suicide Prevention Program. Suicide & Life-Threatening Behavior
         2010;40 (3):245-256.
   4.    Durant T, Mercy J, Kresnow M, Simon T, Potter L, Hammond R. Racial Differences in
         Hopelessness as a Risk Factor for a Nearly Lethal Suicide. Journal of Black
         Psychology.2006; 32: 285-302
   5.    Stone D, Barber C, Potter L. Public health training online: the National Center for
         Suicide Prevention Training. American Journal of Preventive Medicine, 2005;29: 247–
         51.
   6.    Potter L, Stone D. Suicide prevention in schools: what can and should be done.
         American Journal of Health Education, 2003, 34(5 Suppl): s35-s41
   7. Powell K, Kresnow M, Mercy J, Potter L, Swann A, Frankowski R, Lee R, Bayer T.
         Alcohol Consumption and Nearly Lethal Suicide Attempts. Suicide and Life
         Threatening Behavior, 2001;31(5):SS 30-41.
   8. Potter L, Kresnow M, Powell K, Simon T, Mercy J, Lee R, Frankowski R, Swann A,
         Bayer T, O'Carroll P. The Influence of Geographic Mobility on Nearly Lethal Suicide
         Attempts. Suicide and Life Threatening Behavior, 2001;31(5):SS 42-48.



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                                                                                       App. 0866
                                                                            L. B. Potter  April 2018 


9.    Kresnow M, Ikeda R, Mercy J, Powell K, Potter L, Simon T, Lee R, Frankowski R. An
      Unmatched Case-Control Study of Nearly Lethal Suicide Attempts in Houston, Texas:
      Research Methods and Measurements. Suicide and Life Threatening Behavior,
      2001;31(5):SS 7-20.
10.   Swahn M, Potter L. Factors Associated with the Medical Severity of Suicide Attempts
      in Youths and Young Adults. Suicide and Life Threatening Behavior, 2001;31(5):SS
      21-29.
11.   Simon T, Swann A, Powell K, Potter L, Kresnow M, O'Carroll P. Characteristics of
      Impulsive Suicide Attempts and Attempters. Suicide and Life Threatening Behavior,
      2001;31(5):SS 49-59.
12.   Ikeda R, Kresnow M, Mercy J, Powell K, Simon T, Potter L, Durant T, Swahn M.
      Medical Conditions and Nearly Lethal Suicide Attempts. Suicide and Life Threatening
      Behavior, 2001;31(5):SS 60-68.
13.   Anderson M, Kaufman J, Simon T, Barrios L. Paulozzi L, Ryan G, Hammond R,
      Modzeleski W, Feucht T, Potter L, School-Associated Violent Deaths Study Group.
      "School-Associated Violent Deaths in the United States, 1994-1999," JAMA.
      2001;286:2695-2702.
14.   Dahlberg LL., Potter LB. Youth violence: developmental pathways and prevention
      challenges. American Journal of Preventive Medicine 2001;20(1 Supl 1):3-14.
15.   Kresnow M, Powell KE, Webb KB, Mercy JA, Potter LB, Simon TR, Ikeda RM,
      Frankowski R. Assigning time-linked exposure status to controls in unmatched case-
      control studies: alcohol use and nearly lethal suicide attempts. Statistics in Medicine
      2001;20(9/10):1479-85
16.   Mercy J, Kresnow M, O'Carroll P, Lee R, Powell K, Potter L, Swann A, Frankowski R,
      Bayer T. Is Suicide Contagious? A Study of the Relation between Exposure to the
      Suicidal Behavior of Others and Nearly Lethal Suicide Attempts. Am. J. Epidemiol.
      2001 154: 120-127
17.   Johnson G, Krug E, Potter L. Suicide Among Adolescents And Young Adults: A
      Cross-National Comparison Of 34 Countries. Suicide and Life-Threatening Behavior,
      2000 Spring; 30(1):74-82.
18.   Potter L, Sacks J, Kresnow M, Mercy J. Nonfatal Physical Violence, United States,
      1994. Public Health Reports. 1999 Jul-Aug;114(4):343-52.
19.   Potter L, Kresnow M, Powell K, O'Carroll P, Lee R, Frankowski R, Swann A, Bayer T,
      Bautista M, Briscoe M. Identification of nearly fatal suicide attempts: Self-Inflicted
      Injury Severity Form. Suicide and Life-Threatening Behavior. 28(2):174-186, 1998.
20.   Grabbie L, Demi A, Camann M, Potter L. Suicide and health status among the elderly:
      The National Mortality Followback Survey. American Journal of Public Health, 1997
      Mar;87(3):434-7.
21.   Mercy J, Potter L. Combining analysis and action to solve the problem of youth
      violence. American Journal of Preventive Medicine 1996; Supplement to Volume
      12(5):1-2.
22.   Kachur S., Potter L, Powell K, Rosenberg M. Suicide: Epidemiology, Prevention,
      Treatment. Adolescent Medicine: State of the Art Reviews, 25(2):171-182, 1995.
23.   Potter L, Powell K, Kachur S. Suicide Prevention from a Public Health Perspective.
      Suicide and Life Threatening Behavior, 25(1):83-92, 1995.



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                                                                                        App. 0867
                                                                          L. B. Potter  April 2018 


   24. Potter L, Rogler L, Moscicki E. Depression Among Puerto Ricans in New York City:
         The Hispanic Health and Nutrition Examination Survey. Social Psychiatry and
         Psychiatric Epidemiology, 30:185-193, 1995.
   25. Potter L, Anderson J. Patterns of Condom Use, Sexual Behavior and STDs/HIV Among
         Never-Married Women. Sexually Transmitted Diseases, 20(4), 1993.
   26. Burr J, Potter LB, Galle O, Fossett M. Migration and Metropolitan Opportunity
         Structures: A Demographic Response to Racial Inequality. Social Science Research,
         22, 1992.
   27. Galle O, Burr J, Potter L. Rethinking Measures of Migration: On the Decomposition of
         Net Migration. Social Indicators Research, 28, 1992.
   28. Potter L. Socioeconomic Determinants of Black-White Male Life Expectancy
         Differentials, 1980. Demography, 28(2):303-322, 1991.
   29. Potter L, Galle O. Residential and Racial Mortality Differentials in the South by Cause-
         of-Death. Rural Sociology, Summer 1990.
Edited Book
 1.      Hoque, N., Potter, LB. (eds), Emerging Techniques in Applied Demography,
         Dordrecht Heidelberg New York London: Springer, (2014). ISBN 978-94-017-8989-9.
Book Chapters
     1. Potter, L. Chapter 13 Youth Suicide. In Liller KD (ed), Injury Prevention for Children
            and Adolescents: Research, Practice, and Advocacy 2nd Edition. Washington, DC:
            American Public Health Association, 2012, eISBN: 978-0-87553-250-9
     2. Potter L. Violence Prevention. In Gorin SS, Arnold J (eds), Health Promotion in
            Practice, Chapter 12 (pp. 392-426). San Francisco, CA: Jossey-Bass, 2006.
     3. Potter L. Youth Suicide. In Liller KD (ed), Injury Prevention for Children and
            Adolescents: Research, Practice, and Advocacy, Chapter 13 (pp. 321-340).
            Washington, DC: American Public Health Association, 2006.
     4. Potter L. Public Health and Suicide Prevention. In Lester D (ed), Suicide Prevention:
            Resources for the New Millennium, Chapter 5 (pp. 67-82). Ann Arbor, MI:
            Sheridan Books, 2000.
     5. Potter L. Understanding the Incidence and Origins of Community Violence: Toward a
            Comprehensive Perspective of Violence Prevention. In Gullota T (ed), Violence In
            Homes And Communities, Chapter 4 (pp. 101-132). Sage Publications, 1999.
     6. Cohen L, Potter L. Injuries and Violence: Risk Factors and Opportunities for
            Prevention During Violence. In: Fisher M, Juszczak L, Klerman L, eds. Adolescent
            Medicine: Prevention Issues in Adolescent Health Care. Philadelphia, PA: Hanley &
            Belfus, Inc., 1999:125-135.
     7. Potter L, Mercy J. Public health perspective on interpersonal violence among youths in
            the United States. In Stoff DM, Breiling J, Maser JD, editors. Handbook of
            antisocial behavior. New York: John Wiley & Sons, Inc; 1997
     8. Potter L, Powell K. The Public Health Approach to Suicide Prevention in the United
            States. Pp.329-345, in Ramsey RF, Tanney BL (`eds), Global Trends in Suicide
            Prevention: Tow ard the Development of National Strategies for Suicide Prevention.
            Mumbai, India: Tata Institute of Social Sciences, 1996.
 9.      Murdock S, Leistritz F, Hamm R, Albrecht D, Potter L, Backman K. Impacts of the
            Farm Financial Crisis of the 1980s on Resources and Poverty in Agriculturally



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                                                                                      App. 0868
                                                                           L. B. Potter  April 2018 


         Dependent Counties in the United States. Pp. 67-94 in Rodgers H, Weiher G, (eds.).
         Rural Poverty: Special Causes and Policy Reforms. NY:Greenwood Press 1989.
10.     Murdock S, Leistritz F, Hamm R, Albrecht D, Potter L, Backman K. Impacts of the
         Farm Financial Crisis of the 1980s on Resources and Poverty in Agriculturally
         Dependent Counties in the United States. Policy Studies Review, 1988;7(4):810-
         827.
11.     Murdock S, Potter L, Hamm R, Backman K, Albrecht D, Leistritz L. The
         Implications of the Current Farm Crisis for Rural America. Pp. 169-184 in Steve
         Murdock and Larry Leistritz (eds.) The Farm Financial Crisis: Socioeconomic
         Dimensions and Implications for Producers and Rural Areas. Boulder, Colorado:
         Westview Press, 1988.
12.     Murdock S, Potter L, Hamm R, Albrecht D. Demographic Characteristics of Rural
         Residents in Financial Distress and Social and Community Impacts of the Farm
         Crisis. Pp. 113- 140 in Steve Murdock and Larry Leistritz (eds.) The Farm
         Financial Crisis: Socioeconomic Dimensions and Implications for Producers and
         Rural Areas. Boulder, Colorado: Westview Press, 1988.
13.   Murdock S, Albrecht D, Potter L, Backman K, Hamm R. Demographic, Socioeconomic
         and Service Characteristics of Rural Areas in the United States: The Human Resource
         Base for the Response to the Crisis. Pp. 45-73 in Murdock S, Leistritz L, (eds.) The
         Farm Financial Crisis: Socioeconomic Dimensions and Implications for Producers and
         Rural Areas. Boulder, Colorado: Westview Press, 1988.
14.   Murdock S, Potter L, Backman K, Hamm R, Hwang S. Patterns of Post-1980 Population
         Change in Towns and Cities in Texas: An Analysis of the U.S. Bureau of the Census
         Population Estimates for 1982, 1984 and 1986. Department of Rural Sociology
         Technical Report No. 88-2. College Station, Texas: The Texas Agricultural Experiment
         Station, March 1988.
15.   Murdock S, Schriner E, Hamm R, Jones L, Potter L. An Analysis of Selected Human
         Resource and Environmental Impact Dimensions of the Amarillo and Dallas-Fort Worth
         Super-Conducting Super Collider Siting Areas. Report submitted to The National
         Research Laboratory Commission, Office of the Governor, State of Texas, July 1987.
Commentary
1.    Rosenberg M, Mercy J, Potter L. Firearms and suicide. New England Journal of Medicine.
         1999 Nov 18;341(21):1609-11
2.    Potter L, Rosenberg M, Hammond W. Suicide in youth: a public health framework
         [comment]. Journal of the American Academy of Child & Adolescent Psychiatry.
         37(5);484-7, 1998 May.
Other
1.    White, S., Potter, L. B., You, H., Valencia, A., Jordan, J., & Pecotte, B. (2016). Texas
         Mobility.
         demographics.texas.gov/Resources/publications/2016/2016_11_01_TexasMobility.pdf
2.    Valencia, A., Potter, L. B., White, S., You, H., Jordan, J., & Pecotte, B. (2016). Aging in
         Texas: Introduction.
         demographics.texas.gov/Resources/publications/2016/2016_06_07_Aging.pdf
3.    Potter, L. Community Assessment: Wintergarden Head Start and Early Head Start
         Program 2014. Institute for Demographic and Socioeconomic Research, University of
         Texas at San Antonio, 2014.

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                                                                                       App. 0869
                                                                          L. B. Potter  April 2018 


4.    Potter, L. Community Assessment AVANCE-San Antonio Head Start and Early Head
         Start Program 2014. Institute for Demographic and Socioeconomic Research,
         University of Texas at San Antonio, 2014.
5.    Potter, L., Valenzuela, C., Flores, M., Jordan, J., Valencia, l., White, S., Keating, J.,
         Canos,S., Nagorski, J., Karuppusamy, S. Robinson. S. Modeling Household Energy
         Consumption in Bexar County, 2010, Confidential Research Report. Institute for
         Demographic and Socioeconomic Research, University of Texas at San Antonio,
         2014.
6.    Potter, L. Community Assessment Update, City of San Antonio Head Start Program.
         Institute for Demographic and Socioeconomic Research, University of Texas at San
         Antonio, 2013
7.    Potter, L (Chair), Horowitz, R., Robin, D., Tillyer, R. Recommendations for Fostering
         Research Productivity and Creating a Research Culture at the University of Texas at
         San Antonio. UTSA Research Advisory Board - Sub-Committee on Macro Research
         Issues, 2013
8.    You, H., White, S., Potter, L. An Examination of Static and Dynamic Aspects of
         Uninsurance In Texas. Institute for Demographic and Socioeconomic Research.
         Report for Methodist Healthcare Ministries. University of Texas at San Antonio, 2012.
9.    Potter, L., Ozuna, C., Campbell, J. Community Assessment San Antonio & Bexar County
         Head Start Program 2012. . Institute for Demographic and Socioeconomic Research,
         University of Texas at San Antonio, 2012
10.   Garza, J., Flores, M., Jordan, J., Potter, L. Community Assessment Report for San
         Antonio Head Start. Institute for Demographic and Socioeconomic Research,
         University of Texas at San Antonio, 2010
11.   Garza, J., Potter, L., Jordon, J. Community Assessment Report for San Antonio Head
         Start. Institute for Demographic and Socioeconomic Research, University of Texas at
         San Antonio, 2009.
12.   Malley E, Posner M, Potter L. Suicide risk and prevention for lesbian, gay, bisexual,and
         transgender youth. Suicide Prevention Resource Center. Newton, MA: Education
         Development Center, Inc. 2008.
13.   Potter L, Silverman M, Connorton E, Posner M. Promoting Mental Health and Preventing
         Suicide in College and University Settings. Suicide Prevention Resource Center,
         Newton, MA: Education Development Center, Inc., 2004.
14.   Potter L. Suicide Prevention: Prevention Effectiveness and Evaluation. Atlanta, GA:
         SPAN, USA, 2001.
15.   Silverman M, Davidson L, Potter L, (eds.) National Suicide Prevention Conference
         Background Papers, October 1998, Reno, Nevada. Suicide and Life-Threatening
         Behavior, 31(S), 2001.
16.   Potter L, Hasbrouk L. Influence of Homicide on Racial Disparity in Life Expectancy ---
         United States, 1998. MMWR, September 14, 2001 / 50(36);780-3.
17.   Davidson L, Potter L, Ross V. The Surgeon General's Call To Action To Prevent Suicide.
         Washington, DC: U.S. Public Health Service,1999.
18.   Moscicki E, Muehrer P, Potter L. Introduction to Supplemental Issue: Research Issues in
         Suicide and Sexual Orientation. Suicide and Life-Threatening Behavior
         1995;Supplement:25:1-3.



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                                                                                      App. 0870
                                                                          L. B. Potter  April 2018 


19.    Kachur S, Potter L, James S, Powell K. Suicide in the United States, 1980-1992. Atlanta:
         Centers for Disease Control and Prevention, National Center for Injury Prevention and
         Control, 1995. Violence Surveillance Summary Series, No. 1.
20.    O'Carroll P, Potter L., Mercy J. Suicide Contagion and the Reporting of Suicide:
         Recommendations from a National Workshop. MMWR 43(No. RR-6):8-18, 1994
21.    O'Carroll P, Potter L. Programs for the Prevention of Suicide Among Adolescents and
         Young Adults. MMWR 43(No.RR-6):1-7, 1994

Under review:
      Valenzuela, C., Potter, L., Differential Residential Energy Consumption Patterns by Race
         and Ethnicity and Implications for Addressing Inequalities through Conservation
         Strategies. Revised and resubmitted (March 2018), Journal of Energy Policy.

Selected Funding History:
9/15-8/20 The New 100th Meridian: Urban Water Resiliency in a Climatic and Demographic
           Hot Spot (Co-PI). Funder: National Science Foundation.
8/15-present Demographic Data and Assistance (PI). Funder: Texas Department of
           Transportation
1/12-8/13 SA2020 Indicators and Education Data (PI). Funder: City of San Antonio
1/12-6/13 Energy Efficiency in Residential Buildings (PI). Funder: CPS Energy
6/12-9/12 Demographic Profile and Projections of San Marcos, Texas (PI). Funder: City of
           San Marcos.
2/09-present Head Start Community Assessment (PI). City of San Antonio
8/09-present Estimation Allocation Factors for Local Workforce Development Areas (PI).
           Funder: Texas Workforce Commission.
4/08-7/08 Development of Indicators for Violence Against Children (PI). Funder: World
           Health Organization and UNICEF.
9/07-9/09 TEACH-VIP E-Learning Initiative (PI). Funder: Centers for Disease Control and
           Prevention
9/02-9/10 Suicide Prevention Resource Center (PI). Funder: Substance Abuse and Mental
           Health Services Administration.
4/02-8/11 Children’s Safety Network National Resource Center (PI). Health Resource and
           Services Administration, Maternal and Child Health Bureau.
 




                                                                                                 8 
 
                                                                                      App. 0871
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Teaching:
      Dissertations chaired:
             Jewel Barnett, December 2017, Barriers to Health: Place and Food Insecurity as
                  Determinants of Childhood Obesity
             Pamela Willrodt, July 2016, Vietnam-Era Veteran Health: A Life-Course
                  Perspective at the End of Middle-Adulthood
             Mikiko Oliver, August 2015, Population Aging and Economic Growth in the
                  United States and Japan
             Alexis Santos Lozono, April 2015, Inequalities in Human Papillomavirus
                  Vaccination for Female Adolescents in the United States
             John Garza, April 2014, Spatially Oriented Demographic Determinants of
                  Foreclosures in Bexar County
             Sadasivan Karuppusamy, September 2013, The Determinants and Trends in the
                  Household Energy Consumption for Different End Uses in the United States
                  During 2001-2009
             Carlos Valenzuela, April 2013, An Analysis of Household Energy Consumption
                  by Race/Ethnic Composition: Incorporating Racial Stratification in the
                  Lifestyle Perspective,
             Frank Martinez III, December 2012, Las Colonias de la Frontera: A Study of
                  Substandard Housing Settlements along the Texas-Mexico Border

       Dissertation Committee member:
              Dorian Galindo, May 2018
              Sharon Goodwin, May 2017
              Rebecca Adeigbe, May 2017
              Clarissa Ozuna, December 2017
              Xiaoling Liang, August, 2017
              Paul Chance Kinnison, June 2016
              Danielle Gordon, May 2016
              Heidy Colon Lugo, December 2015
              Romona Serban, August 2015
              Mikiko Oliver, August 2015
              Jeffrey Howard, April 2014
              Susanne Schmidt, December 2013
              Jinny Case , June 2013
              Brian Munkombwe, April 2013
              Rabindra K.C. ,December 2013
              Mathew Martinez, December 2013
              Ke Meng , December 2012
              Samantha John, December 2012
              Victoria Locke, May 2012
              Alma Martinez-Jimenez, December 2011
              Lila Valencia, May 2011
              David Armstrong , May 2011
              Emma Mancha, May 2011
              Joseph Campbell, May 2011

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                                                                                    App. 0872
                                                                         L. B. Potter  April 2018 


               Mary Hogan, May 2011
               Gilbert Suarez, May 2011
               Mike Cline, August 2010
               Miguel Flores, August 2010
               Deborah Perez, August 2010
               Eliza Hernandez, August 2010
               Jennifer Roth, August 2010
               Marguerite Sagna, August 2010
               Mary Bollinger, May 2010



Courses taught at UTSA (all graduate):
          1. Applied Demography and Urban and Regional Planning
          2. Applied Demography in Policy Settings
          3. Demographic Methods of Analysis I
          4. Demographic Methods of Analysis II
          5. Social Demography and Community Trends
          6. Social and Economic Impact Assessment
          7. Survey Methods for Demographers
          8. Special Topic Reading Courses (multiple)
          9. Dissertation hours (multiple)

    Professional
        Co-Editor: Population Research and Policy Review 2015 (peer-reviewed journal)
        Peer reviewer:
         Suicide and Life-Threatening Behavior
         American Journal of Preventive Medicine
         American Journal of Public Health
         Archives of General Psychiatry
         Demography
         Injury Prevention
         New England Journal of Medicine




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                                                                                     App. 0873
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      Membership:
        Southern Demographic Association, Past-President
        Population Association of America
        American Sociological Association
        Rural Sociological Association.
        International Union for the Scientific Study of Population
        American Public Health Association
    Miscellaneous:
        State Demographer of Texas, 2010 to Present
        Testimony on demographic topics for Texas House and Senate standing and special
           committees
        Consultation with Texas House and Senate members and staff members on various
           demographic topics
        Demographic analysis for San Antonio Mayor’s Office for Pre-K for SA
        Public speaking on demographic topics (~35 per year
           http://demographics.texas.gov/Presentations)
        San Antonio P-16 Data Support Council Member
        San Antonio CI Now Board Chair
        Applied Demography Conference, organizer and program chair for 2010, 2012, 2014,
        2017. 




                                                                                             11 
 
                                                                                    App. 0874
         
         
         
         
         
         
    Exhibit 9    

 

 

 

 

 

 

 

 

 

 

 

 




                    App. 0875
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                         BROWNSVILLE DIVISION


STATE OF TEXAS, et al.,                      )
                                             )
                    Plaintiffs,              )
                                             )
v.                                           )     Civil Action No.
                                             )
UNITED STATES OF AMERICA, et al.,            )
                                             )
                    Defendants               )


                    DECLARATION OF LEONARDO R. LOPEZ

      My name is Leonardo R. Lopez, and I am over the age of 18 and fully competent

in all respects to make this declaration. I have personal knowledge and expertise of

the matters herein stated.

      1.     I am the Associate Commissioner for School Finance/Chief School

Finance Officer at the Texas Education Agency ("TEA"). I have worked for TEA in

this capacity since June 2016, having previously served as the Executive Director of

Finance for the Austin Independent School District ("AISD") for four years. Prior to

my time at AISD, I served for ten years in a variety of roles for TEA, including six

years as the Foundation School Program Operations Manager for the TEA's State

Funding Division.

      2.    In my current position, I oversee TEA's school finance operations,

including the administration of the Foundation School Program and analysis and




                                         1
                                                                          App. 0876
App. 0877
App. 0878
App. 0879
          
          
          
          
          
          
    Exhibit 10    

 

 

 

 

 

 

 

 

 

 

 

 




                     App. 0880
                IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                           BROWNSVILLE DIVISION




STATE OF TEXAS, et al.,

                                          )
                   Plaintiffs,            )
                                          )
v.                                        )     Civil Action No.
                                          )
UNITED STATES OF AMERICA,         et al., )

                                          )
                  Defendants              )



                    DECLARATION OF MONICA SMOOT


     My name is Monica Smoot, and I am over the age of 18 and fully
competent in all respects to make this declaration. I have personal
knowledge and expertise of the matters herein stated.
       1. I am the Chief Data and Analytics Officer of the Texas Health and
Human Services Commission’s Center for Analytics and Decision Support
(CADS). The Texas Health and Human Services Commission (HHSC) is the
state agency responsible for ensuring the appropriate delivery of health and
human services in Texas. As such, HHSC has operational responsibility for



                                                                      App. 0881
certain health and human services programs and oversight authority over
the state health and human services (HI-IS) agencies.
       2. As a part of my employment with HHSC, I am responsible for
analytic and quantitative research on health care utilization, demographic
trends, and enrollment patterns for the state’s health care and human
service programs, including Medicaid. I am also responsible for program
evaluation activities and analytic support across all of the HHS agencies and
programs.
       3. I have served in my current position since January 1, 2017. Prior to
that, I served as the manager for the Data Dissemination Unit within CADS.
       4. In 2007, as part of the 2008-2009 General Appropriations Act, the
Texas Legislature required HHSC to report the cost of services and benefits
provided by HHSC to undocumented immigrants in the State of Texas. This
report, also known as the Rider 59 Report, was first completed by HHSC in
2008. Due to numerous requests for more recent information following the
issuance of the 2008 report, the Rider 59 Report was updated in 2010,
2013, 2014 and 2017. The Rider 59 Report completed in 2017 covered state
fiscal year (SFY) 2015.
       5. Attached to this declaration are true and current copies of the
following documents:
   •   Exhibit 1: SFYO7 Report on Services and Benefits Provided to
       Undocumented Immigrants, the original version of the Rider 59 Report
       prepared by HHSC in 2008.

   •   Exhibit 2: SFYO9 Report on Services and Benefits Provided to
       Undocumented Immigrants, the 2010 update of the Rider 59 Report.

  •    Exhibit 3: SFY11 Report on Services and Benefits Provided to
       Undocumented Immigrants, the 2013 update of the Rider 59 Report.




                                                                       App. 0882
   •   Exhibit 4: SFY13 Report on Services and Benefits Provided to
       Undocumented Immigrants, the 2014 update of the Rider 59 Report.

   •   Exhibit 5: SFY15 Report on Services and Benefits Provided to
       Undocumented Immigrants, the 2017 update of the Rider 59 Report.


       6. Each of the records attached to this declaration is kept by HHSC in
the course of its regularly conducted activity, and it was HHSC’s regular
practice for an employee or representative of HHSC, with knowledge of the
act, event, condition, opinion, or diagnosis, recorded to make the record or
to transmit information thereof to be included in such record; and the record
was made at or near the time of the act, event, condition, opinion, or
diagnosis.
       7. HHSC provides three principal categories of services and benefits to
undocumented immigrants in Texas: (i) Texas Emergency Medicaid; (ii) the
Texas Family Violence Program (FVP); and (iii) Texas Children’s Health
Insurance Program (CHIP) Perinatal Coverage. Undocumented immigrants
also receive uncompensated medical care from public hospitals in the State.
       8. Emergency Medicaid is a federally required program jointly funded
by the federal government and the states. The program provides Medicaid
coverage, limited to emergency medical conditions including childbirth and
labor, to undocumented immigrants living in the United States. Because
HHSC Medicaid claims data do not conclusively identify an individual’s
residency status, the portion of Emergency Medicaid payments attributable
to undocumented immigrants must be estimated. The total estimated cost to
the State for the provision of Emergency Medicaid services to undocumented
immigrants residing in Texas was approximately $80 million in SFY 2007,
$62 million in SFY 2009, $71 million in SFY 2011, and $90 million in SFY
2013; the estimate for SFY 2015 is $73 million.



                                                                     App. 0883
      9. The Family Violence Program contracts with non-profit agencies
across the State to provide essential services to family violence victims,
including undocumented immigrants, in three categories: shelter centers,
non-residential centers, and Special Nonresidential Projects. Because the
FVP does not ask individuals about their residency status, the portion of the
FVP’s expenditures attributable to undocumented immigrants must be
estimated. The total estimated cost to the State for the provision of direct
R/P services to undocumented immigrants residing in Texas was $1.2 million
in SFY 2007, $1.3 million in SFY 2009, $1.3 million in SFY 2011, and $1.4
million in SFY 2013; the estimate for SFY 2015 is $1.0 million.
      10. Texas CHIP Perinatal Coverage provides prenatal care to certain
low-income women who do not otherwise qualify for Medicaid. There is
no way to definitively report the number of undocumented immigrants
served by CHIP Perinatal Coverage because the program does not require
citizenship documentation. CHIP Perinatal Coverage expenditures were not
included in HHSC’s original Rider 59 Report because a full year of program
data was not available when the report was prepared. The total estimated
cost to the State for CHIP Perinatal Coverage to undocumented immigrants
residing in Texas was $33 million in SFY 2009, $35 million in SFY 2011, and
$38 million in SFY 2013; the estimate for SFY 2015 is $30 million.
      11. In the 2008 and 2010 versions of the Rider 59 Report, HHSC also
provided estimates of the amount of uncompensated medical care provided
by state public hospital district facilities to undocumented immigrants. In
these reports, HHSC estimated that the State’s public hospital district
facilities incurred approximately $596.8 million in uncompensated care for
undocumented immigrants in SFY 2006 and $716.8 million in SFY 2008.
HHSC has not provided any estimates of uncompensated care for




                                                                       App. 0884
undocumented immigrants in more recent versions of the Rider 59 Report.
      12. Based on my knowledge, expertise, and research regarding the
provision of services and benefits to undocumented immigrants by HHSC, I
believe that the total costs to the State of providing such services and
benefits to undocumented immigrants will continue to reflect trends to the
extent that the number of undocumented immigrants residing in Texas
increases or decreases each year.
      13. All of the facts and information contained within this declaration
are within my personal knowledge and are true and correct.
Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
foregoing is true and correct.
Executed on this   gth   day of April, 2018.




                                                    4/
                                                   ,d7-vz uL
                                        MONICA SMOOT




                                                                      App. 0885
        REPORT TO THE UNITED STATES CONGRESS ON SERVICES AND
           BENEFITS PROVIDED TO UNDOCUMENTED IMMIGRANTS




                                                          Required Reporting for
                                                       Rider 59
                                                 House Bill Number 1
                                     Eightieth Texas Legislature, Regular Session




                                                               EPIDEMIOLOGY TEAM
                                                          Strategic Decision Support
                                                          Financial Services Division

                                  TEXAS HEALTH AND HUMAN SERVICES COMMISSION
                                                                — November 2008 —
Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission       -1-
                                                                                                                                          App. 0886
                                                                Table of Contents




            I        Background.................................................................................. 3



           II         Executive Data Summary ................................................................. 4



          III        Analytical Notes ............................................................................ 5



          IV          Public Hospital District Facility Listing ................................................. 8



           V          References ................................................................................ 13




Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission       -2-
                                                                                                                                          App. 0887
                                                                   I — Background


In 2007, the Eightieth Texas Legislature, Regular Session, passed House Bill Number 1, General
Appropriations Act, Article II, Health and Human Services, Rider 59: "Report to the United States
Congress on Services and Benefits Provided to Undocumented Immigrants."

This Rider requires the Texas Health and Human Services Commission (HHSC) to report the cost of
services and benefits provided by HHSC to undocumented immigrants in the state. Rider 59 also
requires HHSC to compile these data for each Texas public hospital district facility. The text of
Rider 59 is included below, with the required data and supporting documentation on subsequent
pages.

                                 Rider 59 — Report to the United States Congress on
                             Services and Benefits Provided to Undocumented Immigrants

The Health and Human Services Commission shall compile a report of the cost of services and benefits
provided to undocumented immigrants, with the agency determining the extent to which undocumented
immigrants are served by the agency, by individual program. The agency may use a statistical method
developed by the agency in cases where it is not practical for the agency to directly determine whether
recipients of a service or benefit are undocumented immigrants.

The Health and Human Services Commission shall also compile information on this subject from each public
hospital district within the state and include this information in the report and shall not enforce Title 8 of
the United States Code when compiling information on this subject.

The report must be produced using aggregated statistical data that does not contain personally identifiable
information. The purpose of compiling this information is to perform analysis to assist the United States
Congress and this state in making future health care and budgetary decisions. Information sought for the
preparation of this report may not violate any federal or state laws, including rules, regarding privacy.

This report shall be provided to the United States Congress by December 1, 2008 and may be used as
supporting materials by the State of Texas in requests for additional federal appropriations to assist with
these costs.

The Health and Human Services Commission or a public hospital district may compile and report the
information required by this rider only in a manner the attorney general of this state certifies as consistent
with federal law.

The Health and Human Services Commission again shall submit the required report to the Lieutenant
Governor, Speaker of the House of Representatives, and Members of the Legislature by December 1, 2008,
and shall include the information in the agency's annual report for 2008.




Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission       -3-
                                                                                                                                          App. 0888
                                                     II — Executive Data Summary




A.         TEXAS HEALTH AND HUMAN SERVICES COMMISSION

           Estimated cost of services and benefits provided to undocumented immigrants (SFY 2007 ♦ )

                                                                       $81.2 million

           Texas Emergency Medicaid ($80 million) + Texas Family Violence Program ($1.2 million)

           (please see Analytical Notes on page 5 for subtotals and supporting documentation)




B.         TEXAS PUBLIC HOSPITAL DISTRICTS

           Estimated uncompensated care for undocumented immigrants (FY 2006 ♦)

                                                                      $596.8 million

           (please see Analytical Notes on page 7 for subtotals and supporting documentation)




♦
    Texas Health and Human Services Commission data are for state fiscal year 2007, the most recent data available. The Texas
    Public Hospital Districts data come from the Cooperative Annual Survey of Hospitals, which collects data for each facility's fiscal
    year. At the time of this report's publication, the most recent survey data available was for fiscal year 2006.

Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission       -4-
                                                                                                                                          App. 0889
                                                             III — Analytical Notes


A.         TEXAS HEALTH AND HUMAN SERVICES COMMISSION
           Estimated cost of services and benefits provided to undocumented immigrants (SFY 2007)
                                                                       $81.2 million
           Texas Emergency Medicaid ($80 million) + Texas Family Violence Program ($1.2 million)

   1.     Texas Emergency Medicaid

          Emergency Medicaid, Type Program 30 (TP 30), is a federal and state funded program that
          provides Medicaid coverage, limited to emergency medical conditions including childbirth
          and labor, for non citizens as well as undocumented immigrants living in the US. In SFY 2007,
          payments for Emergency Medicaid, TP 30 totaled as follows:

                                 A — Texas Emergency Medicaid, Type Program 30, SFY 2007
                                                       Inpatient hospital                               $252,300,000
                                                     Outpatient hospital                                 $11,200,000
                                          Professional and other services                                $53,700,000
                                                             Vendor drug                                    $124,500
                                                                                    Total               $317,324,500

           Since HHSC Medicaid claims data do not conclusively identify the legal residency status of
           immigrants, the portion of the $317.3 million in Emergency Medicaid payments attributable
           to undocumented immigrants must be estimated. According to the U.S. Census Bureau’s
           American Community Survey (ACS) for Texas, approximately 2.6 million non citizens resided
           in Texas in 2006. The Department of Homeland Security reports that 1.64 million, or 63% of
           these residents, were undocumented. Therefore, this brings the estimated amount paid for
           Emergency Medicaid services to undocumented immigrants residing in Texas to about $200
           million:

                               B — Texas Emergency Medicaid ($317.3 million) x
                   Estimated Percent of Non Citizens who are Undocumented Immigrants (63%)
                                                 = $200 million

           The state shares the cost of the Medicaid program with the federal government, with Texas
           paying about 40% of Emergency Medicaid expenditures. Therefore, in SFY 2007 the total
           estimated state cost for Medicaid services to undocumented immigrants was about $80
           million.

                      C — Estimated Texas Emergency Medicaid for Undocumented Immigrants
                       Residing in Texas ($200 million) x Texas Share of Medicaid Cost (40%)
                                                    = $80 million




Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission       -5-
                                                                                                                                          App. 0890
                                                            IV — Analytical Notes, continued


   2.     Texas Family Violence Program

           The Texas Family Violence Program (FVP) contracts with shelters and non-residential centers
           across the state to provide essential services to victims of family violence. Core FVP services
           include shelter, 24 hour hotlines, emergency medical services, counseling, etc. In SFY 2007,
           FVP funded 72 nonprofit family violence shelters, 8 non-residential centers, and 19 special
           non-residential projects, with a total budget of $23,199,451. State general revenue
           accounted for nearly $16.8 million ($16,759,995) of the program’s total spending for direct
           services.

           FVP does not ask victims of family violence about their residency status. Therefore, the
           portion of the $16.8 million in FVP expenditures attributable to undocumented immigrants
           must be estimated. According to the U.S. Census Bureau’s American Community Survey
           (ACS) for Texas, approximately 23.5 million individuals resided in Texas in 2006. The
           Department of Homeland Security reports that 1.64 million or 7% of these residents were
           undocumented. The total estimated state cost for direct FVP services to undocumented
           immigrants in SFY 2007 was:

                                   Texas Family Violence Program budget ($16.8 million) x
                                  Estimated Number of Undocumented Texas Residents (7%)
                                                       = $1.2 million



B.        TEXAS PUBLIC HOSPITAL DISTRICTS
          Estimated uncompensated care for undocumented immigrants (FY 2006, 94 facilities)

                                                                      $596.8 million

           Limited information exists to estimate hospital-specific uncompensated care for
           undocumented immigrants. As such, the method adopted for this report relies on regional
           estimates of undocumented immigrants’ share of hospital uncompensated care, applying
           those estimates to each hospital in the region.

           The regional estimates are derived from a variety of sources. First, the software company
           Network Sciences created a web-based eligibility screening tool called the "Community
           Health and Social Services Information System" (CHASSIS™). The Indigent Care Collaboration
           (ICC), an alliance of safety net providers in three Central Texas counties (Travis, Williamson
           and Hays), employed CHASSIS™ to screen uninsured/under-insured patients for eligibility in
           government and local medical assistance or payment programs. This system also tracked the
           percent of uninsured undocumented immigrants served in these counties, and in 2005 found
           that nearly 14% of all patients screened in hospital settings were undocumented immigrants.
           (Texas Comptroller of Public Accounts, 2006). This figure was used as a foundation for
           estimating uncompensated care for undocumented immigrants in the remaining parts of
           Texas.



Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission       -6-
                                                                                                                                          App. 0891
                                                      IV — Analytical Notes, continued


           This 14% figure was then adjusted for each Public Health Region (PHR) based on information
           from two additional sources. The first source — the 2006 American Hospital
           Association/Texas Department of State Health Services/Texas Hospital Association
           (AHA/TDSHS/THA) Cooperative Annual Survey of Hospitals — is required by state law. It is
           submitted annually by every Texas hospital, and lists each facility's reported uncompensated
           care (bad debt expenses + charity care charges). The second source — claims data from the
           state’s Emergency Medicaid, TP 30 — is available for every hospital stay for non citizens paid
           for by the state’s Medicaid program. In emergency cases, including childbirth and labor, the
           federal government allows Medicaid via this program to pay for services rendered to persons
           who would otherwise qualify for Medicaid regardless of their immigration status.

           Based on the regional distribution of uncompensated care and Emergency Medicaid
           expenditures, the Central Texas region's share of the state's uncompensated care appeared
           to be about 40% higher than its share of Emergency Medicaid. Therefore, we estimate that
           approximately 20% of uncompensated care statewide is accounted for by undocumented
           immigrants, compared to 14% in the Central Texas region reported in the aforementioned
           ICC study. In order to account for this difference statewide, the following formula was
           applied to each specific region:

     Estimated Statewide Uncompensated Care Attributable To Undocumented Immigrants (20%) x
              (Public Health Region’s Share of State Emergency Medicaid Expenditures /
                    Public Health Region’s Share of State Uncompensated Care) =
                                 Estimated Percent of Uncompensated Care Attributed To
                                   Undocumented Immigrants in a Public Health Region

           As expected, results varied widely by a region's demographic composition and proximity to
           the border, with the highest rate found in the Rio Grande Valley and the lowest rate in North
           Texas. The method produced approximately the same rate statewide as for the state’s two
           largest population centers, Houston and Dallas/Fort Worth.

           These region-specific values were then applied to the reported uncompensated care for each
           public hospital district facility to produce estimates of the uncompensated care for
           undocumented immigrants. These facility totals were then added to generate the state
           total. Please see the facility-specific listing below for more information.




Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission       -7-
                                                                                                                                          App. 0892
                                                                     IV — Public Hospital District Facility Listing

                                                                                                                                                    Estimated Percent of
                                                                                                                                 Total              Uncompensated Care            Estimated
                                                                                                            Public              Facility               Attributable to      Uncompensated Care
                                                                                                            Health           Uncompensated        Undocumented Immigrants    for Undocumented
                                                                                                            Region               Care *                  in a PHR ‡              Immigrants
Public Hospital District Facility †                      City                      County                   (PHR)                 (A)                        (B)                   (A * B)

Permian Regional Medical Center                          Andrews                   ANDREWS                      9                 $1,426,975                  5.79                $82,622
Bellville General Hospital                               Bellville                 AUSTIN                       6                 $1,888,004                 21.20               $400,257
Muleshoe Area Medical Center                             Muleshoe                  BAILEY                       1                   $891,982                  6.13                $54,678
Seymour Hospital                                         Seymour                   BAYLOR                       2                 $1,314,921                  2.35                $30,901
University Hospital                                      San Antonio               BEXAR                        8              $329,954,339                   7.79             $25,703,443
Angleton-Danbury Medical Center                          Angleton                  BRAZORIA                     6                 $9,151,361                 21.20              $1,940,089
Sweeny Community Hospital                                Sweeny                    BRAZORIA                     6                 $1,798,967                 21.20               $381,381
Burleson St. Joseph Health Center                        Caldwell                  BURLESON                     7                 $2,435,567                 14.35               $349,504
Plains Memorial Hospital                                 Dimmitt                   CASTRO                       1                 $2,069,565                  6.13               $126,864
Bayside Community Hospital                               Anahuac                   CHAMBERS                     6                 $1,094,325                 21.20               $231,997
Childress Regional Medical Center                        Childress                 CHILDRESS                    1                 $2,871,587                  6.13               $176,028
Cochran Memorial Hospital                                Morton                    COCHRAN                      1                   $565,121                  6.13                $34,642
Coleman County Medical Center                            Coleman                   COLEMAN                      2                 $1,867,080                  2.35                $43,876
Rice Medical Center                                      Eagle Lake                COLORADO                     6                 $1,424,898                 21.20               $302,078
Comanche County Medical Center                           Comanche                  COMANCHE                     2                 $2,508,293                  2.35                $58,945
Concho County Hospital                                   Eden                      CONCHO                       9                   $263,503                  5.79                $15,257
North Texas Medical Center                               Gainesville               COOKE                        3                 $8,802,166                 21.50              $1,892,466
Muenster Memorial Hospital                               Muenster                  COOKE                        3                   $417,844                 21.50                $89,836
Parkland Memorial Hospital                               Dallas                    DALLAS                       3              $626,869,092                  21.50            $134,776,855
Medical Arts Hospital                                    Lamesa                    DAWSON                       9                 $2,717,784                  5.79               $157,360
Cuero Community Hospital                                 Cuero                     DE WITT                      8                 $3,678,475                  7.79               $286,553
Hereford Regional Medical Center                         Hereford                  DEAF SMITH                   1                 $3,967,904                  6.13               $243,233


Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission        -8-
                                                                                                                                                                            App. 0893
                                                              IV — Public Hospital District Facility Listing, continued

                                                                                                                                                    Estimated Percent of
                                                                                                                                 Total              Uncompensated Care            Estimated
                                                                                                            Public              Facility               Attributable to      Uncompensated Care
                                                                                                            Health           Uncompensated        Undocumented Immigrants    for Undocumented
                                                                                                            Region               Care *                  in a PHR ‡              Immigrants
Public Hospital District Facility †                      City                      County                   (PHR)                 (A)                        (B)                   (A * B)

Eastland Memorial Hospital                               Eastland                  EASTLAND                     2                 $1,745,600                  2.35                $41,022
Medical Center Hospital                                  Odessa                    ECTOR                        9                $67,643,877                  5.79              $3,916,580
R. E. Thomason General Hospital                          El Paso                   EL PASO                     10              $200,673,706                  18.70             $37,525,983
Fisher County Hospital District                          Rotan                     FISHER                       2                   $540,185                  2.35                $12,694
W.J. Mangold Memorial Hospital                           Lockney                   FLOYD                        1                   $555,669                  6.13                $34,063
Frio Regional Hospital                                   Pearsall                  FRIO                         8                 $1,988,980                  7.79               $154,942
Memorial Hospital                                        Seminole                  GAINES                       9                 $1,358,152                  5.79                $78,637
Memorial Hospital                                        Gonzales                  GONZALES                     8                 $4,198,738                  7.79               $327,082
Hamilton General Hospital                                Hamilton                  HAMILTON                     7                 $2,955,437                 14.35               $424,105
Hansford County Hospital                                 Spearman                  HANSFORD                     1                   $627,299                  6.13                $38,453
Chillicothe Hospital                                     Chillicothe               HARDEMAN                     2                   $149,096                  2.35                 $3,504
Hardeman County Memorial Hospital                        Quanah                    HARDEMAN                     2                   $431,416                  2.35                $10,138
Ben Taub General Hospital                                Houston                   HARRIS                       6              $960,155,000                  21.20            $203,552,860
Northeast Medical Center Hospital                        Humble                    HARRIS                       6                $56,336,561                 21.20             $11,943,351
Coon Memorial Hospital and Home                          Dalhart                   HARTLEY                      1                 $2,711,061                  6.13               $166,188
Haskell Memorial Hospital                                Haskell                   HASKELL                      2                   $177,793                  2.35                 $4,178
Hemphill County Hospital                                 Canadian                  HEMPHILL                     1                   $316,312                  6.13                $19,390
Hopkins County Memorial Hospital                         Sulphur Springs           HOPKINS                      4                 $7,661,397                  6.94               $531,701
Presbyterian Hospital of Commerce                        Commerce                  HUNT                         3                 $1,782,289                 21.50               $383,192
Presbyterian Hospital of Greenville                      Greenville                HUNT                         3                $23,701,017                 21.50              $5,095,719
Golden Plains Community Hospital                         Borger                    HUTCHINSON                   1                 $5,964,363                  6.13               $365,615
Faith Community Hospital                                 Jacksboro                 JACK                         2                   $619,741                  2.35                $14,564


Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission        -9-
                                                                                                                                                                            App. 0894
                                                              IV — Public Hospital District Facility Listing, continued

                                                                                                                                                    Estimated Percent of
                                                                                                                                 Total              Uncompensated Care            Estimated
                                                                                                            Public              Facility               Attributable to      Uncompensated Care
                                                                                                            Health           Uncompensated        Undocumented Immigrants    for Undocumented
                                                                                                            Region               Care *                  in a PHR ‡              Immigrants
Public Hospital District Facility †                      City                      County                   (PHR)                 (A)                        (B)                   (A * B)

Jackson Healthcare Center                                Edna                      JACKSON                      8                 $1,688,113                    7.79             $131,504
CHRISTUS Jasper Memorial Hospital                        Jasper                    JASPER                       5                 $5,814,021                    4.54             $263,957
Hamlin Memorial Hospital                                 Hamlin                    JONES                        2                   $216,321                    2.35               $5,084
Stamford Memorial Hospital                               Stamford                  JONES                        2                   $835,599                    2.35              $19,637
Otto Kaiser Memorial Hospital                            Kenedy                    KARNES                       8                 $1,488,269                    7.79             $115,936
Kimble Hospital                                          Junction                  KIMBLE                       9                   $862,799                    5.79              $49,956
Knox County Hospital                                     Knox City                 KNOX                         2                   $566,483                    2.35              $13,312
Lavaca Medical Center                                    Hallettsville             LAVACA                       8                   $939,479                    7.79              $73,185
Limestone Medical Center                                 Groesbeck                 LIMESTONE                    7                 $1,720,727                   14.35             $246,924
University Medical Center                                Lubbock                   LUBBOCK                      1              $123,005,488                     6.13            $7,540,236
Lynn County Hospital District                            Tahoka                    LYNN                         1                   $493,512                    6.13              $30,252
Martin County Hospital District                          Stanton                   MARTIN                       9                   $735,801                    5.79              $42,603
Matagorda General Hospital                               Bay City                  MATAGORDA                    6                $10,756,443                   21.20            $2,280,366
Heart of Texas Memorial Hospital                         Brady                     MCCULLOCH                    9                 $2,363,776                    5.79             $136,863
Midland Memorial Hospital                                Midland                   MIDLAND                      9                $40,088,376                    5.79            $2,321,117
Richards Memorial Hospital                               Rockdale                  MILAM                        7                 $1,544,100                   14.35             $221,578
Mitchell County Hospital                                 Colorado City             MITCHELL                     2                 $2,409,895                    2.35              $56,633
Nocona General Hospital                                  Nocona                    MONTAGUE                     2                 $1,058,607                    2.35              $24,877
Memorial Hospital                                        Dumas                     MOORE                        1                 $3,295,274                    6.13             $202,000
Nacogdoches Memorial Hospital                            Nacogdoches               NACOGDOCHES                  5                $49,096,407                    4.54            $2,228,977
Rolling Plains Memorial Hospital                         Sweetwater                NOLAN                        2                 $3,283,504                    2.35              $77,162
Ochiltree General Hospital                               Perryton                  OCHILTREE                    1                 $1,370,332                    6.13              $84,001


Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission       - 10 -
                                                                                                                                                                            App. 0895
                                                              IV — Public Hospital District Facility Listing, continued

                                                                                                                                                    Estimated Percent of
                                                                                                                                 Total              Uncompensated Care            Estimated
                                                                                                            Public              Facility               Attributable to      Uncompensated Care
                                                                                                            Health           Uncompensated        Undocumented Immigrants    for Undocumented
                                                                                                            Region               Care *                  in a PHR ‡              Immigrants
Public Hospital District Facility †                      City                      County                   (PHR)                 (A)                        (B)                   (A * B)

Palo Pinto General Hospital                              Mineral Wells             PALO PINTO                   3                 $7,608,018                   21.50            $1,635,724
Campbell Health System                                   Weatherford               PARKER                       3                $17,393,965                   21.50            $3,739,702
Iraan General Hospital District                          Iraan                     PECOS                        9                   $110,920                    5.79                $6,422
Reagan Memorial Hospital                                 Big Lake                  REAGAN                       9                    $97,206                    5.79                $5,628
Reeves County Hospital                                   Pecos                     REEVES                       9                 $1,717,598                    5.79              $99,449
Refugio County Memorial Hospital District                Refugio                   REFUGIO                     11                 $1,935,402                   60.56            $1,172,079
Ballinger Memorial Hospital District                     Ballinger                 RUNNELS                      2                 $1,087,906                    2.35              $25,566
North Runnels Hospital                                   Winters                   RUNNELS                      2                   $259,451                    2.35               $6,097
Sabine County Hospital                                   Hemphill                  SABINE                       5                   $765,265                    4.54              $34,743
Starr County Memorial Hospital                           Rio Grande City           STARR                       11                 $3,519,126                   60.56            $2,131,183
Stonewall Memorial Hospital                              Aspermont                 STONEWALL                    2                   $141,622                    2.35                $3,328
Lillian M. Hudspeth Memorial Hospital                    Sonora                    SUTTON                       9                 $1,352,108                    5.79              $78,287
Swisher Memorial Hospital                                Tulia                     SWISHER                      1                   $935,352                    6.13              $57,337
John Peter Smith Hospital                                Fort Worth                TARRANT                      3              $618,729,000                    21.50          $133,026,735
Brownfield Regional Medical Center                       Brownfield                TERRY                        1                 $2,117,936                    6.13             $129,829
Titus Regional Medical Center                            Mount Pleasant            TITUS                        4                $13,783,587                    6.94             $956,581
Tyler County Hospital                                    Woodville                 TYLER                        5                 $2,801,493                    4.54             $127,188
McCamey Hospital                                         McCamey                   UPTON                        9                   $586,995                    5.79              $33,987
Rankin County Hospital District                          Rankin                    UPTON                        9                   $134,422                    5.79               $7,783
Val Verde Regional Medical Center                        Del Rio                   VAL VERDE                    8                 $8,965,303                    7.79             $698,397
El Campo Memorial Hospital                               El Campo                  WHARTON                      6                 $3,854,197                   21.20             $817,090
Shamrock General Hospital                                Shamrock                  WHEELER                      1                   $386,101                    6.13              $23,668


Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission       - 11 -
                                                                                                                                                                            App. 0896
                                                              IV — Public Hospital District Facility Listing, continued


                                                                                                                                                      Estimated Percent of
                                                                                                                                 Total                Uncompensated Care                     Estimated
                                                                                                            Public              Facility                 Attributable to               Uncompensated Care
                                                                                                            Health           Uncompensated          Undocumented Immigrants             for Undocumented
                                                                                                            Region               Care *                    in a PHR ‡                       Immigrants
Public Hospital District Facility †                      City                      County                   (PHR)                 (A)                          (B)                            (A * B)

Parkview Hospital                                        Wheeler                   WHEELER                      1                   $577,427                       6.13                        $35,396
Electra Memorial Hospital                                Electra                   WICHITA                      2                 $1,300,014                       2.35                        $30,550
Wilbarger General Hospital                               Vernon                    WILBARGER                    2                 $2,687,964                       2.35                        $63,167
Connally Memorial Medical Center                         Floresville               WILSON                       8                 $5,226,033                       7.79                       $407,108
Wise Regional Health System                              Decatur                   WISE                         3                $15,033,103                      21.50                     $3,232,117
Hamilton Hospital                                        Olney                     YOUNG                        2                 $3,184,195                       2.35                        $74,829

                                                                                                           Total for the ninety-four Texas public hospital district facilities in FY 2006 — $596,848,958



Notes:

† The AHA/THA/TXDSHS Cooperative Annual Survey of Hospitals is administered to all Texas hospitals, and collects data for each facility's fiscal year. The 94 facilities listed here reported being
  either owned or controlled by a public hospital district on the 2006 Cooperative Annual Survey of Hospitals. Data for FY 2007 were not available at the time of this report's publication.

*   Total facility uncompensated care is the sum of reported bad debt expenses and charity charges.

‡ Estimated percent of uncompensated care attributable to undocumented immigrants in a PHR was computed by using a formula designed for this report. Based on the regional distribution of
  uncompensated care and Emergency Medicaid expenditures, the Central Texas region's share of the state's uncompensated care appeared to be about 40% higher than its share of Emergency
  Medicaid. Therefore, we estimate that approximately 20% of uncompensated care statewide is accounted for by undocumented immigrants, compared to 14% in the Central Texas region reported in
  the aforementioned ICC study. In order to account for this difference statewide, the following formula was applied to each specific region. For more information, please see Analytical Notes on
  page 6.
                                                    Estimated Statewide Uncompensated Care Attributable To Undocumented Immigrants (20%) x
                                                              (Public Health Region’s Share of State Emergency Medicaid Expenditures /
                                                                     Public Health Region’s Share of State Uncompensated Care) =
                                            Estimated Percent of Uncompensated Care Attributed To Undocumented Immigrants in a Public Health Region




Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission          - 12 -
                                                                                                                                                                                        App. 0897
                                                                   V — References



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Required reporting for Rider 59, House Bill Number 1, Eightieth Texas Legislature, Regular Session — Texas Health and Human Services Commission       - 13 -
                                                                                                                                          App. 0898
         REPORT ON SERVICES
       AND BENEFITS PROVIDED TO
      UNDOCUMENTED IMMIGRANTS




                Updated report related to
                         Rider 59
                      House Bill 1
    Eightieth Texas Legislature, Regular Session, 2007




               — 2010 UPDATE —




               Strategic Decision Support
               Financial Services Division
TEXAS HEALTH AND HUMAN SERVICES COMMISSION


                                                         App. 0899
                                                                Table of Contents




         I      Background ........................................................................................................................................... 1



        II      Executive Data Summary................................................................................................................... 2



        III     Analytical Notes .................................................................................................................................. 3



       IV       Public Hospital District Facility Listing ........................................................................................... 8



        V       References .........................................................................................................................................12




HHSC, Rider 59 Report — 2010 Update                                                                                                                                        -2-
                                                                                                                                                      App. 0900
                                                      I – Background


The 80th Texas Legislature, Regular Session, 2007, passed House Bill 1, General Appropriations Act, Article II,
Health and Human Services, Rider 59: “Report to the United States Congress on Services and Benefits
Provided to Undocumented Immigrants.”

This rider required the Texas Health and Human Services Commission (HHSC) to report the cost of services
and benefits provided by HHSC to undocumented immigrants in the state. Rider 59 also required HHSC to
compile these data for each Texas public hospital district facility. This report was originally completed in 2008.
Due to numerous requests for related current information, this document is the 2010 update of that original
report. The text of Rider 59 is included below, with the updated data and supporting documentation on
subsequent pages.


                              Rider 59 — Report to the United States Congress on
                          Services and Benefits Provided to Undocumented Immigrants

The Health and Human Services Commission shall compile a report of the cost of services and benefits provided to undocumented
immigrants, with the agency determining the extent to which undocumented immigrants are served by the agency, by individual
program. The agency may use a statistical method developed by the agency in cases where it is not practical for the agency to
directly determine whether recipients of a service or benefit are undocumented immigrants.

The Health and Human Services Commission shall also compile information on this subject from each public hospital district within
the state and include this information in the report and shall not enforce Title 8 of the United States Code when compiling
information on this subject.

The report must be produced using aggregated statistical data that does not contain personally identifiable information. The
purpose of compiling this information is to perform analysis to assist the United States Congress and this state in making future
health care and budgetary decisions. Information sought for the preparation of this report may not violate any federal or state
laws, including rules, regarding privacy.

This report shall be provided to the United States Congress by December 1, 2008, and may be used as supporting materials by
the State of Texas in requests for additional federal appropriations to assist with these costs.

The Health and Human Services Commission or a public hospital district may compile and report the information required by this
rider only in a manner the attorney general of this state certifies as consistent with federal law.

The Health and Human Services Commission again shall submit the required report to the Lieutenant Governor, Speaker of the
House of Representatives, and Members of the Legislature by December 1, 2008, and shall include the information in the
agency's annual report for 2008.




HHSC, Rider 59 Report — 2010 Update                                                                                        -1-
                                                                                                               App. 0901
                                            II – Executive Data Summary




A.      TEXAS HEALTH AND HUMAN SERVICES COMMISSION

        Estimated cost of services and benefits provided to undocumented immigrants,
        State Fiscal Year (SFY) 2009 

                                                             $96 million


        h Note — in the original, 2008 version of this report, this figure was: $81 million.


        (Please see Analytical Notes on page 3 for subtotals and supporting documentation.)
        
            Texas Health and Human Services Commission data are for state fiscal year 2009, the most recent data available.




B.      TEXAS PUBLIC HOSPITAL DISTRICTS

        Estimated uncompensated care for undocumented immigrants, facility fiscal year 2008 


                                                            $717 million


        h Note — in the original, 2008 version of this report, this figure was: $597 million.


        (Please see Analytical Notes on page 6 for subtotals and supporting documentation.)
        
          The Texas public hospital districts data come from the Cooperative Annual Survey of Hospitals, which collects data for
        each facility's fiscal year. At the time of this report's publication, the most recent survey data available were for fiscal year
        2008.




HHSC, Rider 59 Report — 2010 Update                                                                                               -2-
                                                                                                                     App. 0902
                                             III – Analytical Notes


A.      TEXAS HEALTH AND HUMAN SERVICES COMMISSION
        Estimated cost of services and benefits provided to undocumented immigrants, SFY 2009
                                  (1) Texas Emergency Medicaid — $62 million +
                                (2) Texas Family Violence Program — $1.3 million +
             (3) Texas Children's Health Insurance Program (CHIP) Perinatal Coverage — $33 million
                                                            =
                                                       $96 million



        1.      Texas Emergency Medicaid

        Emergency Medicaid, Type Program 30 (TP 30), is a federal and state funded program that provides
        Medicaid coverage, limited to emergency medical conditions including childbirth and labor, for non
        citizens as well as undocumented immigrants living in the US. Emergency Medicaid is a federally
        required program. In fiscal year 2009, payments for Emergency Medicaid, TP 30 totaled as follows:

                                                   —A—
                          Texas Emergency Medicaid, Type Program 30, Fiscal Year 2009
                                                    Inpatient hospital    $275,010,314
                                                 Outpatient hospital       $13,248,238
                                      Professional and other services      $20,778,110
                                                         Vendor drug         $159,096
                                                                Total     $309,195,758


        Since HHSC Medicaid claims data do not conclusively identify the legal residency status of immigrants,
        the portion of the $309.2 million in Emergency Medicaid payments attributable to undocumented
        immigrants must be estimated.

        According to the U.S. Census Bureau’s American Community Survey (ACS) for Texas, approximately 2.6
        million non citizens resided in Texas in 2006. The Department of Homeland Security reports that 1.64
        million, or 63 percent, of these residents were undocumented. Therefore, the estimated amount paid
        for Emergency Medicaid services to undocumented immigrants residing in Texas is about $194.8
        million:

                                                   —B—
                                  Texas Emergency Medicaid ($309.2 million)
                                                      x
                 Estimated Percent of Non-Citizens Who Are Undocumented Immigrants (63%)
                                                      =
                                                $194.8 million


HHSC, Rider 59 Report — 2010 Update                                                                         -3-
                                                                                                App. 0903
                                       III – Analytical Notes (Continued)


        The state shares the cost of the Medicaid program with the federal government, with Texas typically
        paying about 40 percent of Emergency Medicaid expenditures. However, in SFY 2009 due to provisions
        of the American Recovery and Reinvestment Act of 2009 (ARRA), the federal government temporarily
        increased its share of Medicaid expenditures to 68 percent, leaving the state with a 32 percent share.
        Therefore, the total estimated state cost for Emergency Medicaid services to undocumented
        immigrants residing in Texas in SFY 2009 was about $62 million.

                                                    —C—
                             Estimated Texas Emergency Medicaid for Undocumented
                                   Immigrants Residing in Texas ($194.8 million)
                                                        x
                                 Texas Share of Medicaid Cost under ARRA (32%)
                                                        =
                                                   $62 million

        h Note — in the original, 2008 version of this report, this figure was: $80 million.


        2.      Texas Family Violence Program

        The Texas Family Violence Program (FVP) contracts with non-profit agencies in three categories
        (shelter centers, non-residential centers, and special non-residential projects (SNRP)) across the state
        to provide essential services to victims of family violence. Core FVP services include shelter, 24-hour
        hotlines, emergency medical services, counseling, etc. In SFY 2009, the FVP funded 72 nonprofit family
        violence shelters, 8 non-residential centers, and 20 SNRPs, providing comprehensive family violence
        services to victims, with a total budget of $24,028,440. State general revenue and Temporary
        Assistance for Needy Families (TANF) converted to Title XX accounted for about $19 million
        ($19,235,988) of the program’s total spending for direct services. Services are provided without any
        financial eligibility testing and free of charge.

        The FVP does not ask victims of family violence about their residency status. Therefore, the portion of
        the $19 million in FVP expenditures attributable to undocumented immigrants must be estimated.
        According to the U.S. Census Bureau’s American Community Survey (ACS) for Texas, approximately 23.5
        million individuals resided in Texas in 2006. The Department of Homeland Security reports that 1.64
        million, or 7 percent, of these residents were undocumented. The total estimated state cost for direct
        FVP services to undocumented immigrants in SFY 2009 was:

                               Texas Family Violence Program budget ($19 million)
                                                       x
                          Estimated Percent of Undocumented Immigrants in Texas (7%)
                                                       =
                                                  $1.3 million


        h Note — in the original, 2008 version of this report, this figure was: $1.2 million.


HHSC, Rider 59 Report — 2010 Update                                                                         -4-
                                                                                                App. 0904
                                      III – Analytical Notes (Continued)


        3.      Texas Children's Health Insurance Program (CHIP) Perinatal Coverage

        Texas CHIP Perinatal Coverage provides prenatal care for the unborn children of low-income women.
        Specifically, it provides prenatal care for women living at up to 200% Federal Poverty Level (FPL) who
        do not otherwise qualify for Medicaid, typically due to their citizenship status. Nearly all participants of
        CHIP Perinatal are either documented or non-documented non-citizens. Since this program does not
        require citizenship documentation, there is no way to definitively report the number of undocumented
        immigrants served. Therefore, the portion of the $188 million in CHIP Perinatal Coverage
        expenditures (which represents prenatal services only) in SYF 2009 attributable to undocumented
        immigrants must be estimated. Note: CHIP Perinate Coverage expenditures were not included in the
        original Rider 59 report since, at the time its completion, a full year of program data was not available.

        According to the U.S. Census Bureau’s American Community Survey (ACS) for Texas, approximately 2.6
        million non citizens resided in Texas in 2006. The Department of Homeland Security reports that 1.64
        million, or 63 percent, of these residents were undocumented. Therefore, this brings the estimated
        amount paid for Texas CHIP Perinatal Coverage services to undocumented immigrants residing in
        Texas for SFY 2009 to about $118 million:

                             Texas CHIP Perinatal Coverage budget ($188 million)
                                                      x
                 Estimated Percent of Non-Citizens Who Are Undocumented Immigrants (63%)
                                                      =
                                                 $118 million


        The state shares the cost of the CHIP program with the federal government, with Texas typically
        paying about 28 percent of expenditures. Therefore, the total estimated state cost for CHIP Perinatal
        Coverage to undocumented immigrants residing in Texas in SFY 2009 was about $34 million.


                              Estimated CHIP Perinatal Coverage for Undocumented
                                    Immigrants Residing in Texas ($118 million)
                                                        x
                                     Texas Share of CHIP Expenditures (28%)
                                                        =
                                                   $33 million



        h Note — Expenditures for CHIP Perinate Coverage were not included in the original, 2008 version of the
          Rider 59 report since, at the time its completion, a full year of program data was not available.




HHSC, Rider 59 Report — 2010 Update                                                                           -5-
                                                                                                  App. 0905
                                       III – Analytical Notes (Continued)



B.      TEXAS PUBLIC HOSPITAL DISTRICTS
        Estimated uncompensated care for undocumented immigrants (fiscal year 2008; 99 facilities)

                                                    $717 million

        h Note — in the original, 2008 version of this report, this figure was: $597 million.

        Limited information exists to estimate hospital-specific uncompensated care for undocumented
        immigrants. As such, the method adopted for this report relies on regional estimates of undocumented
        immigrants’ share of hospital uncompensated care, applying those estimates to each public hospital
        district facility in the region.

        The regional estimates (which have been rounded for this report’s update) are derived from a variety
        of sources. First, a web-based eligibility screening tool called the “Community Health and Social
        Services Information System” (CHASSIS™). The Indigent Care Collaboration (ICC), an alliance of
        safety net providers in three Central Texas counties (Travis, Williamson and Hays), employed
        CHASSIS™ to screen uninsured/under-insured patients for eligibility in government and local medical
        assistance or payment programs (Network Sciences, 2008).

        This system also tracked the percent of uninsured undocumented immigrants served in these counties,
        and in 2005 found that nearly 14 percent of all patients screened in hospital settings were
        undocumented immigrants. (Texas Comptroller of Public Accounts, 2006.) This figure was used as a
        foundation for estimating uncompensated care for undocumented immigrants in the remaining parts of
        Texas.

        This 14 percent figure was adjusted for each Public Health Region (PHR) based on information from
        two additional sources. The first source, the 2008 American Hospital Association/Texas Department
        of State Health Services/Texas Hospital Association (AHA/TDSHS/THA) Cooperative Annual Survey of
        Hospitals, is required by state law. It is submitted annually by every Texas hospital and lists each
        facility's reported uncompensated care (bad debt expenses plus charity care charges).

        The second source, claims data from the state’s Emergency Medicaid Type Program (TP) 30, is
        available for every hospital stay for non citizens paid for by the state’s Emergency Medicaid program. In
        emergency cases, including childbirth and labor, Medicaid pays for services rendered to persons who
        would otherwise qualify for Medicaid regardless of their immigration status.




HHSC, Rider 59 Report — 2010 Update                                                                         -6-
                                                                                                App. 0906
                                      III – Analytical Notes (Continued)


        Based on the regional distribution of uncompensated care and Emergency Medicaid expenditures, the
        Central Texas region’s share of the state’s uncompensated care appeared to be about 40 percent
        higher than its share of Emergency Medicaid. Therefore, we estimate that approximately 20 percent of
        uncompensated care statewide is accounted for by undocumented immigrants, compared to
        14 percent in the Central Texas region reported in the aforementioned ICC study. In order to account
        for this difference statewide, the following formula was applied to each specific region:


         Estimated Statewide Uncompensated Care Attributable To Undocumented Immigrants (20%)
                                                       x
                  ( Public Health Region’s Share of State Emergency Medicaid Expenditures /
                         Public Health Region’s Share of State Uncompensated Care )
                                                       =
                           Estimated Percent of Uncompensated Care Attributed to
                             Undocumented Immigrants in a Public Health Region


        As expected, results varied widely by a region's demographic composition and proximity to the border,
        with the highest rate found in the Rio Grande Valley and the lowest rate in North Texas. The method
        produced approximately the same rate statewide as for the state’s two largest population centers,
        Houston and Dallas/Fort Worth.

        These region-specific values were then applied to the reported uncompensated care for each public
        hospital district facility to produce estimates of the uncompensated care for undocumented
        immigrants. These facility totals were then added to generate the state total. This computational logic
        was revisited for the report's 2010 update, and it was determined that there was no justification to
        change these formulas and values at this time. Please see the facility-specific listing below for more
        information.




HHSC, Rider 59 Report — 2010 Update                                                                        -7-
                                                                                               App. 0907
                                                  IV – Public Hospital District Facility Listing

                                                                                                   Estimated Percent of
                                                                                     Total         Uncompensated Care     Estimated Facility
                                                                       Public       Facility          Attributable to   Uncompensated Care
                                                                       Health    Uncompensated   Undocumented Immigrants for Undocumented
                                                                       Region        Care *             in a PHR ‡           Immigrants
Public Hospital District Facility †   City                County       (PHR)          (A)                   (B)                (A x B)

Permian Regional Medical Center       Andrews             ANDREWS         9        $3,872,258              0.06                $232,335
Bellville General Hospital            Bellville           AUSTIN          6        $2,177,652              0.21                $457,307
Muleshoe Area Medical Center          Muleshoe            BAILEY          1         $812,007               0.06                 $48,720
Smithville Regional Hospital          Smithville          BASTROP         7        $5,629,736              0.14                $788,163
Seymour Hospital                      Seymour             BAYLOR          2        $1,025,201              0.02                 $20,504
University Hospital                   San Antonio         BEXAR           8      $369,227,596              0.08              $29,538,208
Angleton-Danbury Medical Center       Angleton            BRAZORIA        6        $8,240,290              0.21               $1,730,461
Sweeny Community Hospital             Sweeny              BRAZORIA        6        $2,370,787              0.21                $497,865
Burleson St. Joseph Health Center     Caldwell            BURLESON        7        $3,864,113              0.14                $540,976
Atlanta Memorial Hospital             Atlanta             CASS            4        $5,787,215              0.07                $405,105
Plains Memorial Hospital              Dimmitt             CASTRO          1        $1,761,563              0.06                $105,694
Bayside Community Hospital            Anahuac             CHAMBERS        6        $1,627,946              0.21                $341,869
Childress Regional Medical Center     Childress           CHILDRESS       1        $3,187,285              0.06                $191,237
Cochran Memorial Hospital             Morton              COCHRAN         1         $202,007               0.06                 $12,120
Coleman County Medical Center         Coleman             COLEMAN         2        $2,330,626              0.02                 $46,613
Rice Medical Center                   Eagle Lake          COLORADO        6        $1,536,586              0.21                $322,683
Comanche County Medical Center        Comanche            COMANCHE        2        $2,112,936              0.02                 $42,259
Concho County Hospital                Eden                CONCHO          9         $291,931               0.06                 $17,516
North Texas Medical Center            Gainesville         COOKE           3       $10,967,036              0.22               $2,412,748
Muenster Memorial Hospital            Muenster            COOKE           3         $392,877               0.22                 $86,433
Coryell Memorial Hospital             Gatesville          CORYELL         7        $3,495,557              0.14                $489,378
Parkland Memorial Hospital            Dallas              DALLAS          3      $770,172,780              0.22             $169,438,012


HHSC, Rider 59 Report — 2010 Update                                                                -8-
                                                                                                                           App. 0908
                                          IV – Public Hospital District Facility Listing, Continued

                                                                                                  Estimated Percent of
                                                                                   Total          Uncompensated Care     Estimated Facility
                                                                     Public       Facility           Attributable to   Uncompensated Care
                                                                     Health    Uncompensated    Undocumented Immigrants for Undocumented
                                                                     Region        Care *              in a PHR ‡           Immigrants
Public Hospital District Facility †   City            County         (PHR)          (A)                    (B)                (A x B)

Richardson Regional Medical Center    Richardson      DALLAS           3         $28,107,007              0.22               $6,183,542
Medical Arts Hospital                 Lamesa          DAWSON           9          $4,870,046              0.06                $292,203
Cuero Community Hospital              Cuero           DE WITT          8          $4,732,916              0.08                $378,633
Hereford Regional Medical Center      Hereford        DEAF SMITH       1          $5,343,007              0.06                $320,580
Eastland Memorial Hospital            Eastland        EASTLAND         2          $3,356,919              0.02                 $67,138
Medical Center Hospital               Odessa          ECTOR            9         $74,028,538              0.06               $4,441,712
R. E. Thomason General Hospital       El Paso         EL PASO          10       $212,073,041              0.19              $40,293,878
Fisher County Hospital District       Rotan           FISHER           2            $537,418              0.02                 $10,748
W.J. Mangold Memorial Hospital        Lockney         FLOYD            1            $903,277              0.06                 $54,197
OakBend Medical Center                Richmond        FORT BEND        6         $26,351,512              0.21               $5,533,818
Frio Regional Hospital                Pearsall        FRIO             8          $2,063,071              0.08                $165,046
Memorial Hospital                     Seminole        GAINES           9          $2,287,318              0.06                $137,239
Memorial Hospital                     Gonzales        GONZALES         8          $4,260,810              0.08                $340,865
Hamilton General Hospital             Hamilton        HAMILTON         7          $4,433,680              0.14                $620,715
Hansford County Hospital              Spearman        HANSFORD         1            $718,184              0.06                 $43,091
Hardeman County Memorial Hospital     Quanah          HARDEMAN         2            $512,530              0.02                 $10,251
Chillicothe Hospital                  Chillicothe     HARDEMAN         2            $190,958              0.02                  $3,819
Ben Taub General Hospital             Houston         HARRIS           6       $1,107,257,370             0.21             $232,524,048
Tomball Regional Hospital             Tomball         HARRIS           6         $34,205,413              0.21               $7,183,137
Coon Memorial Hospital and Home       Dalhart         HARTLEY          1          $2,517,976              0.06                $151,079
Haskell Memorial Hospital             Haskell         HASKELL          2            $270,676              0.02                  $5,414
Hemphill County Hospital              Canadian        HEMPHILL         1            $608,103              0.06                 $36,486



HHSC, Rider 59 Report — 2010 Update                                                              -9-
                                                                                                                          App. 0909
                                              IV – Public Hospital District Facility Listing, Continued

                                                                                                     Estimated Percent of
                                                                                       Total         Uncompensated Care     Estimated Facility
                                                                         Public       Facility          Attributable to   Uncompensated Care
                                                                         Health    Uncompensated   Undocumented Immigrants for Undocumented
                                                                         Region        Care *             in a PHR ‡           Immigrants
Public Hospital District Facility †       City              County       (PHR)          (A)                   (B)                (A x B)

Hopkins County Memorial Hospital          Sulphur Springs   HOPKINS        4          $8,855,915              0.07               $619,914
Hunt Regional Medical Center Greenville   Greenville        HUNT           3         $26,569,309              0.22              $5,845,248
Hunt Regional Community Hospital          Commerce          HUNT           3          $1,949,784              0.22               $428,952
Faith Community Hospital                  Jacksboro         JACK           2          $1,336,009              0.02                $26,720
Jackson Healthcare Center                 Edna              JACKSON        8          $1,511,280              0.08               $120,902
CHRISTUS Jasper Memorial Hospital         Jasper            JASPER         5          $8,386,654              0.05               $419,333
Stamford Memorial Hospital                Stamford          JONES          2          $1,263,715              0.02                $25,274
Hamlin Memorial Hospital                  Hamlin            JONES          2           $118,858               0.02                 $2,377
Otto Kaiser Memorial Hospital             Kenedy            KARNES         8          $1,956,818              0.08               $156,545
Knox County Hospital                      Knox City         KNOX           2           $864,961               0.02                $17,299
Lavaca Medical Center                     Hallettsville     LAVACA         8          $1,049,510              0.08                $83,961
Limestone Medical Center                  Groesbeck         LIMESTONE      7          $2,966,202              0.14               $415,268
Llano Memorial Hospital                   Llano             LLANO          7          $6,430,811              0.14               $900,314
University Medical Center                 Lubbock           LUBBOCK        1        $116,021,682              0.06              $6,961,301
Lynn County Hospital District             Tahoka            LYNN           1           $485,660               0.06                $29,140
Martin County Hospital District           Stanton           MARTIN         9          $1,422,335              0.06                $85,340
Matagorda Medical Center                  Bay City          MATAGORDA      6         $10,322,312              0.21              $2,167,686
Heart of Texas Memorial Hospital          Brady             MCCULLOCH      9          $2,354,023              0.06               $141,241
Medina Community Hospital                 Hondo             MEDINA         8          $4,391,528              0.08               $351,322
Midland Memorial Hospital                 Midland           MIDLAND        9         $48,655,866              0.06              $2,919,352
Mitchell County Hospital                  Colorado City     MITCHELL       2          $3,674,336              0.02                $73,487
Bowie Memorial Hospital                   Bowie             MONTAGUE       2          $3,216,286              0.02                $64,326



HHSC, Rider 59 Report — 2010 Update                                                                  - 10 -
                                                                                                                             App. 0910
                                                IV – Public Hospital District Facility Listing, Continued

                                                                                                       Estimated Percent of
                                                                                         Total         Uncompensated Care     Estimated Facility
                                                                            Public      Facility          Attributable to   Uncompensated Care
                                                                            Health   Uncompensated   Undocumented Immigrants for Undocumented
                                                                            Region       Care *             in a PHR ‡           Immigrants
Public Hospital District Facility †         City              County        (PHR)         (A)                   (B)                (A x B)

Nocona General Hospital                     Nocona            MONTAGUE        2         $1,531,908              0.02                $30,638
Memorial Hospital                           Dumas             MOORE           1         $3,725,461              0.06               $223,528
Nacogdoches Memorial Hospital               Nacogdoches       NACOGDOCHES     5        $54,003,977              0.05              $2,700,199
Rolling Plains Memorial Hospital            Sweetwater        NOLAN           2         $4,232,138              0.02                $84,643
Ochiltree General Hospital                  Perryton          OCHILTREE       1         $1,777,167              0.06               $106,630
Palo Pinto General Hospital                 Mineral Wells     PALO PINTO      3         $6,269,909              0.22              $1,379,380
Iraan General Hospital                      Iraan             PECOS           9          $373,544               0.06                $22,413
Reagan Memorial Hospital                    Big Lake          REAGAN          9          $222,237               0.06                $13,334
Reeves County Hospital                      Pecos             REEVES          9         $2,637,636              0.06               $158,258
Refugio County Memorial Hospital District   Refugio           REFUGIO        11         $1,866,730              0.61              $1,138,705
Ballinger Memorial Hospital District        Ballinger         RUNNELS         2          $750,577               0.02                $15,012
North Runnels Hospital                      Winters           RUNNELS         2          $290,514               0.02                 $5,810
Cogdell Memorial Hospital                   Snyder            SCURRY          2         $7,086,091              0.02               $141,722
Starr County Memorial Hospital              Rio Grande City   STARR           11        $3,075,916              0.61              $1,876,309
Stonewall Memorial Hospital                 Aspermont         STONEWALL       2          $108,093               0.02                 $2,162
Lillian M. Hudspeth Memorial Hospital       Sonora            SUTTON          9         $1,838,340              0.06               $110,300
Swisher Memorial Hospital                   Tulia             SWISHER         1         $1,036,407              0.06                $62,184
John Peter Smith Hospital                   Fort Worth        TARRANT         3       $773,861,000              0.22            $170,249,420
Brownfield Regional Medical Center          Brownfield        TERRY           1         $2,479,007              0.06               $148,740
Titus Regional Medical Center               Mount Pleasant    TITUS           4        $18,528,136              0.07              $1,296,970
Tyler County Hospital                       Woodville         TYLER           5         $3,472,921              0.05               $173,646
Rankin County Hospital District             Rankin            UPTON           9          $193,275               0.06                $11,597



HHSC, Rider 59 Report — 2010 Update                                                                    - 11 -
                                                                                                                               App. 0911
                                                                IV – Public Hospital District Facility Listing, Continued

                                                                                                                                                             Estimated Percent of
                                                                                                                                   Total                     Uncompensated Care     Estimated Facility
                                                                                                              Public              Facility                      Attributable to   Uncompensated Care
                                                                                                              Health           Uncompensated               Undocumented Immigrants for Undocumented
                                                                                                              Region               Care *                         in a PHR ‡           Immigrants
Public Hospital District Facility †                        City                      County                   (PHR)                 (A)                               (B)                (A x B)

McCamey Hospital                                           McCamey                   UPTON                        9                    $55,186                             0.06                                $3,311
Uvalde Memorial Hospital                                   Uvalde                    UVALDE                       8                 $8,347,207                             0.08                             $667,777
Val Verde Regional Medical Center                          Del Rio                   VAL VERDE                    8               $10,632,139                              0.08                             $850,571
El Campo Memorial Hospital                                 El Campo                  WHARTON                      6                 $3,507,501                             0.21                             $736,575
Shamrock General Hospital                                  Shamrock                  WHEELER                      1                   $641,535                             0.06                               $38,492
Parkview Hospital                                          Wheeler                   WHEELER                      1                   $450,335                             0.06                               $27,020
Electra Memorial Hospital                                  Electra                   WICHITA                      2                 $1,366,414                             0.02                               $27,328
Wilbarger General Hospital                                 Vernon                    WILBARGER                    2                 $3,562,302                             0.02                               $71,246
Connally Memorial Medical Center                           Floresville               WILSON                       8                 $5,615,212                             0.08                             $449,217
Wise Regional Health System                                Decatur                   WISE                         3               $25,177,926                              0.22                           $5,539,144
Hamilton Hospital                                          Olney                     YOUNG                        2                 $2,004,045                             0.02                               $40,081

                                                                                                      Total for the ninety-nine Texas public hospital district facilities in FY 2008 — $716,821,507

Notes:

† The AHA/THA/TDSHS Cooperative Annual Survey of Hospitals is administered to all Texas hospitals, and collects data for each facility's fiscal year. The 99 facilities listed here reported being either owned or controlled by
  a public hospital district on the 2008 Cooperative Annual Survey of Hospitals. Data for FY 2009 were not available at the time of this report's publication.

*   Total facility uncompensated care is the sum of reported bad debt expenses and charity charges.

‡ Estimated percent of uncompensated care attributable to undocumented immigrants in a PHR was computed by using a formula designed for this report's original 2008 edition, and retained for this 2010 update. Based
  on the regional distribution of uncompensated care and Emergency Medicaid expenditures, the Central Texas region's share of the state's uncompensated care appeared to be about 40% higher than its share of
  Emergency Medicaid. Therefore, we estimate that approximately 20% of uncompensated care statewide is accounted for by undocumented immigrants, compared to 14% in the Central Texas region reported in the
  aforementioned ICC study. In order to account for this difference statewide, the following formula was applied to each specific region. For more information, please see Analytical Notes on page 6.

                                                                Estimated Statewide Uncompensated Care Attributable To Undocumented Immigrants (20%) x
                                                                           (Public Health Region’s Share of State Emergency Medicaid Expenditures /
                                                                                 Public Health Region’s Share of State Uncompensated Care) =
                                                            Estimated Percent of Uncompensated Care Attributed To Undocumented Immigrants in a Public Health Region



HHSC, Rider 59 Report — 2010 Update                                                                                                                          - 12 -
                                                                                                                                                                                                      App. 0912
                                              V – References



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HHSC, Rider 59 Report — 2010 Update                                                                       - 13 -
                                                                                              App. 0913
            REPORT ON TEXAS
       HEALTH AND HUMAN SERVICES
          COMMISSION SERVICES
        AND BENEFITS PROVIDED TO
       UNDOCUMENTED IMMIGRANTS




             Update to the Report Required by the
              2008-09 General Appropriations Act,
         H.B. 1, 80th Legislature, Regular Session, 2007
(Article II, Health and Human Services Commission, Rider 59)




            FEBRUARY 2013 UPDATE




                 Strategic Decision Support
                 Financial Services Division
TEXAS HEALTH AND HUMAN SERVICES COMMISSION

                                                           App. 0914
                                                                Table of Contents




         I      Background ........................................................................................................................................... 3



        II      Executive Data Summary................................................................................................................... 4



        III     Analytical Notes .................................................................................................................................. 5



       IV       References ........................................................................................................................................... 9




HHSC, Rider 59 Report — February 2013 Update                                                                                                                               -2-
                                                                                                                                                      App. 0915
                                                       I – Background


The 2008-09 General Appropriations Act, H.B. 1, 80th Legislature, Regular Session, 2007 (Article II, Health and
Human Services Commission, Rider 59) required the Texas Health and Human Services Commission (HHSC)
to report the cost of services and benefits provided by HHSC to undocumented immigrants in the state. Rider
59 also required HHSC to compile these data for each Texas public hospital district facility. This report was
originally completed in 2008. Due to numerous requests for related current information, the report was
updated in 2010. This report is the second update to that original report. The text of Rider 59 is included
below, with the updated data and supporting documentation on subsequent pages.


                              Rider 59 — Report to the United States Congress on
                          Services and Benefits Provided to Undocumented Immigrants

        The Health and Human Services Commission shall compile a report of the cost of services and benefits provided
        to undocumented immigrants, with the agency determining the extent to which undocumented immigrants are
        served by the agency, by individual program. The agency may use a statistical method developed by the agency in
        cases where it is not practical for the agency to directly determine whether recipients of a service or benefit are
        undocumented immigrants.

        The Health and Human Services Commission shall also compile information on this subject from each public
        hospital district within the state and include this information in the report and shall not enforce Title 8 of the
        United States Code when compiling information on this subject.

        The report must be produced using aggregated statistical data that does not contain personally identifiable
        information. The purpose of compiling this information is to perform analysis to assist the United States Congress
        and this state in making future health care and budgetary decisions. Information sought for the preparation of
        this report may not violate any federal or state laws, including rules, regarding privacy.

        This report shall be provided to the United States Congress by December 1, 2008, and may be used as
        supporting materials by the State of Texas in requests for additional federal appropriations to assist with these
        costs.

        The Health and Human Services Commission or a public hospital district may compile and report the information
        required by this rider only in a manner the attorney general of this state certifies as consistent with federal law.

        The Health and Human Services Commission again shall submit the required report to the Lieutenant Governor,
        Speaker of the House of Representatives, and Members of the Legislature by December 1, 2008, and shall
        include the information in the agency's annual report for 2008.




HHSC, Rider 59 Report — February 2013 Update                                                                                   -3-
                                                                                                                  App. 0916
                                                  II – Executive Data Summary



                    TEXAS HEALTH AND HUMAN SERVICES COMMISSION SERVICES
                     AND BENEFITS PROVIDED TO UNDOCUMENTED IMMIGRANTS

         Estimated cost of services and benefits provided to undocumented immigrants in fiscal year (FY) 2011:


                                                    (1) Texas Emergency Medicaid — $71million
                                                                              +
                                        (2) Texas Family Violence Program (FVP) — $1.28 million
                                                                              +
               (3) Texas Children's Health Insurance Program (CHIP) Perinatal Coverage — $35 million
                                                                              =
                                                                     $107 million




             Comparison of Estimates in Previous Reports and Current Estimate

                                                                                               FY 2007               FY 2009                  FY 2011
    (1) Texas Emergency Medicaid                                                             $ 80 million          $ 62 million           $ 71 million
    (2) Texas Family Violence Program (FVP)                                                  $1.2 million          $1.3 million          $1.28 million
    (3) Texas Children's Health Insurance Program (CHIP)
        Perinatal Coverage                                                                            N/A*         $ 33 million              $ 35 million

    TOTAL TEXAS HEALTH AND HUMAN
    SERVICES COMMISSION                                                                 $ 81.2 million          $ 96 million          $ 107 million

   * Expenditures for CHIP Perinatal Coverage were not included in the original 2008 Rider 59 report since, at the time of its completion,
   a full year of program data was not available.




HHSC, Rider 59 Report — February 2013 Update                                                                                                        -4-
                                                                                                                                      App. 0917
                                               III – Analytical Notes


1.   Texas Emergency Medicaid

Emergency Medicaid, Type Program 30 (TP 30), is a federal and state funded program that provides Medicaid
coverage, limited to emergency medical conditions including childbirth and labor to non-citizens including
undocumented immigrants, living in the United States. Emergency Medicaid is a federally required program.

Three steps are necessary to estimate the cost of services and benefits that HHSC provided to undocumented
immigrants: A) Determine total Emergency Medicaid (TP 30) expenditures during fiscal year 2011; B) Estimate
the fraction of undocumented non-citizens during this timeframe and amounts expended on this population;
and C) Calculate the state share of TP 30 expenditures for the undocumented population.

During fiscal year 2011 payments for Emergency Medicaid, TP 30, were as follows:


                                                       —A—


                     Texas Emergency Medicaid, Type Program 30, Fiscal Year 2011

                                                 Inpatient hospital     $299,203,323
                                               Outpatient hospital       $24,845,002
                                   Professional and other services       $16,591,397
                                                     Vendor drug             $93,345
                                                       (A) Total        $340,733,067


Since HHSC Medicaid claims data do not conclusively identify the legal residency status of immigrants, the
portion of the $340.7 million in Emergency Medicaid payments attributable to undocumented immigrants must
be estimated.

According to the U.S. Census Bureau’s American Community Survey (ACS) for Texas, approximately 2.83 million
non-citizens resided in Texas in 2011. The Department of Homeland Security reports that 1.79 million, or 63
percent, of these residents were undocumented. Therefore, the estimated amount paid for Emergency
Medicaid services to undocumented immigrants residing in Texas is about $215 million:




HHSC, Rider 59 Report — February 2013 Update                                                          -5-
                                                                                          App. 0918
                                     III – Analytical Notes (Continued)



                                                      —B—


                                 (A) Texas Emergency Medicaid ($341 million)
                                                     x
                 Estimated Percent of Non-Citizens Who Are Undocumented Immigrants (63%)
                                                     =
                                             (B1) $215 million

The state shares the cost of the Medicaid program with the federal government, with Texas typically paying
about 40 percent of Emergency Medicaid expenditures. However, in fiscal year 2009, due to provisions of the
American Recovery and Reinvestment Act of 2009 (ARRA), the federal government temporarily increased its
share of Medicaid expenditures to 68 percent, leaving the state with a 32 percent share. In fiscal year 2011,
Texas’ share of Medicaid expenditures increased to 33 percent (B2). Therefore, the total estimated state cost
for Emergency Medicaid services provided to undocumented immigrants residing in Texas in fiscal year
2011was about $71 million.



                                                      —C—

                           (B1) Estimated Texas Emergency Medicaid for Undocumented
                                     Immigrants Residing in Texas ($215 million)
                                                         x
                              (B2) Texas Share of Medicaid Cost under ARRA (33%)
                                                         =
                                                   $71 million



           Comparison of Estimates in Previous Reports and Current Estimate

                                                                FY 2007            FY 2009          FY 2011
    Inpatient hospital                                       $252,300,000       $275,010,314     $299,203,323
    Outpatient hospital                                       $11,200,000        $13,248,238      $24,845,002
    Professional and other services                           $53,700,000        $20,778,110      $16,591,396
    Vendor Drug                                                 $124,500           $159,096           $93,345
    (A) Sum of Expenditures                                  $317,324,500       $309,195,758     $340,733,067
         (B1) Estimated amount paid for services to
         undocumented immigrants                              $ 200 million   $ 194.8 million     $ 215 million
         (B2) Texas’ share of TP 30 expenditures                      40%               32%               33%

    (C) TEXAS' SHARE OF EXPENDITURES                         $ 80 million       $ 62 million      $ 71 million




HHSC, Rider 59 Report — February 2013 Update                                                                -6-
                                                                                                App. 0919
                                     III – Analytical Notes (Continued)



2. Texas Family Violence Program

The Texas Family Violence Program (FVP) contracts with non-profit agencies in three categories (shelter
centers, non-residential centers, and special non-residential projects [SNRPs]) across the state to provide
essential services to victims of family violence. Core FVP services include shelter, 24-hour hotlines, emergency
medical services, counseling, etc. In fiscal year 2011, the FVP funded 70 non-profit family violence shelters, 10
non-residential centers, and 16 SNRPs, providing comprehensive family violence services to victims, with a
total budget of $23,682,177. State general revenue and Temporary Assistance for Needy Families (TANF)
converted to Title XX accounted for about $18 million ($18,281,411) of the program’s total spending for
direct services. Services are provided without any financial eligibility testing and are free of charge.

The FVP does not ask victims of family violence about their residency status. Therefore, the portion of the
$18 million in FVP expenditures attributable to undocumented immigrants must be estimated. According to
the U.S. Census Bureau’s American Community Survey (ACS) for Texas, approximately 25.7 million individuals
resided in Texas in 2011. The Department of Homeland Security reports that 1.79 million, or 7 percent, of
these residents were undocumented. The total estimated state cost for direct FVP services to undocumented
immigrants in fiscal year 2011 was:

                               Texas Family Violence Program budget ($18 million)
                                                       x
                          Estimated Percent of Undocumented Immigrants in Texas (7%)
                                                       =
                                                 $1.28 million


           Comparison of Estimates in Previous Reports and Current Estimate

                                                                          SFY 2007 SFY 2009           SFY 2011
   Texas Family Violence Program budget                                $ 16.8 million $ 19 million   $ 18 million
   ESTIMATED COSTS FOR DIRECT FVP SERVICES TO
   UNDOCUMENTED IMMIGRANTS                                             $1.2 million $1.3 million $1.28 million




HHSC, Rider 59 Report — February 2013 Update                                                                -7-
                                                                                                App. 0920
                                              III – Analytical Notes (Continued)



3. Texas Children's Health Insurance Program (CHIP) Perinatal Coverage

Texas CHIP Perinatal Coverage provides prenatal care to low-income women living at up to 200% of the
Federal Poverty Level (FPL) who do not otherwise qualify for Medicaid, typically due to their citizenship status.
Nearly all CHIP Perinatal Coverage enrollees are either documented or undocumented non-citizens. Since this
program does not require citizenship documentation, there is no way to definitively report the number of
undocumented immigrants served. Therefore, the portion of the $201 million in CHIP Perinatal Coverage
expenditures (which represents prenatal services only) in fiscal year 2011 attributable to undocumented
immigrants must be estimated. Note: CHIP Perinatal Coverage expenditures were not included in the original
Rider 59 report since, at the time of its completion, a full year of program data was not available.

According to the U.S. Census Bureau’s American Community Survey (ACS) for Texas, approximately 2.83 million
non-citizens resided in Texas in 2011. The Department of Homeland Security reports that 1.79 million, or 63
percent, of these residents were undocumented. Therefore, this brings the estimated amount paid for Texas
CHIP Perinatal Coverage services to undocumented immigrants residing in Texas for fiscal year 2011 to about
$127 million:

                                Texas CHIP Perinatal Coverage budget ($201 million)
                                                        x
                    Estimated Percent of Non-Citizens Who Are Undocumented Immigrants (63%)
                                                        =
                                                   $127 million

The state shares the cost of the CHIP program with the federal government. Texas typically pays about 28
percent of expenditures. Therefore, the total estimated state cost for CHIP Perinatal Coverage to
undocumented immigrants residing in Texas in fiscal year 2011 was about $35 million.

                                      Estimated CHIP Perinatal Coverage for Undocumented
                                            Immigrants Residing in Texas ($127 million)
                                                                x
                                             Texas Share of CHIP Expenditures (28%)
                                                                =
                                                          $35 million

            Comparison of Estimates in Previous Reports and Current Estimate

                                                                                               FY 2007              FY 2009                    FY 2011
  Texas CHIP Perinatal Coverage budget                                                              *           $ 188 million             $ 201 million
  Estimated amount paid for services to undocumented immigrants                                     *           $ 118 million             $ 127 million

  Texas' share of the expenditures                                                                  *           $ 33 million             $ 35 million

     * Expenditures for CHIP Perinatal Coverage were not included in the original 2008 Rider 59 report since, at the time of its completion,
     a full year of program data was not available.


HHSC, Rider 59 Report — February 2013 Update                                                                                                     -8-
                                                                                                                                     App. 0921
                                               IV – References



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        Health and Human Services Commission, Rider 59).

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        Texas Health and Human Services Commission, Medicaid Administrative Data, Austin.

        U.S. Department of Homeland Security. Estimates of the Unauthorized Immigrant Population Residing in the
        United States: January 2011. Retrieved from:
         http://www.dhs.gov/xlibrary/assets/statistics/publications/ois_ill_pe_2011.
        pdf
        Date of publication: March 2012.

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        for 2011. Washington, D.C.: U.S. Census Bureau. Date of publication: October 2012.




HHSC, Rider 59 Report — February 2013 Update                                                              -9-
                                                                                              App. 0922
            REPORT ON TEXAS
       HEALTH AND HUMAN SERVICES
          COMMISSION SERVICES
        AND BENEFITS PROVIDED TO
       UNDOCUMENTED IMMIGRANTS




             Update to the Report Required by the
              2008-09 General Appropriations Act,
         H.B. 1, 80th Legislature, Regular Session, 2007
(Article II, Health and Human Services Commission, Rider 59)




            DECEMBER 2014 UPDATE




             Strategic Decision Support
            Financial Services Division
TEXAS HEALTH AND HUMAN SERVICES COMMISSION

                                                           App. 0923
                                                                Table of Contents




          I     Background ........................................................................................................................................... 3



         II     Executive Data Summary................................................................................................................... 4



        III     Analytical Notes .................................................................................................................................. 5



       IV       References ........................................................................................................................................... 9




HHSC, Rider 59 Report — December 2014 Update                                                                                                                           -2-
                                                                                                                                                      App. 0924
                                                       I – Background


The 2008-09 General Appropriations Act, H.B. 1, 80th Legislature, Regular Session, 2007 (Article II, Health and
Human Services Commission, Rider 59) required the Texas Health and Human Services Commission (HHSC)
to report the cost of services and benefits provided by HHSC to undocumented immigrants in the state. This
report was originally completed in 2008. Due to numerous requests for related current information, the
report was updated in 2010 and 2012. This report is the third update to the original report. The text of Rider
59 is included below, with the updated data and supporting documentation on subsequent pages.


                              Rider 59 — Report to the United States Congress on
                          Services and Benefits Provided to Undocumented Immigrants

        The Health and Human Services Commission shall compile a report of the cost of services and benefits provided
        to undocumented immigrants, with the agency determining the extent to which undocumented immigrants are
        served by the agency, by individual program. The agency may use a statistical method developed by the agency in
        cases where it is not practical for the agency to directly determine whether recipients of a service or benefit are
        undocumented immigrants.

        The Health and Human Services Commission shall also compile information on this subject from each public
        hospital district within the state and include this information in the report and shall not enforce Title 8 of the
        United States Code when compiling information on this subject.

        The report must be produced using aggregated statistical data that does not contain personally identifiable
        information. The purpose of compiling this information is to perform analysis to assist the United States Congress
        and this state in making future health care and budgetary decisions. Information sought for the preparation of
        this report may not violate any federal or state laws, including rules, regarding privacy.

        This report shall be provided to the United States Congress by December 1, 2008, and may be used as
        supporting materials by the State of Texas in requests for additional federal appropriations to assist with these
        costs.

        The Health and Human Services Commission or a public hospital district may compile and report the information
        required by this rider only in a manner the attorney general of this state certifies as consistent with federal law.

        The Health and Human Services Commission again shall submit the required report to the Lieutenant Governor,
        Speaker of the House of Representatives, and Members of the Legislature by December 1, 2008, and shall
        include the information in the agency's annual report for 2008.




HHSC, Rider 59 Report — February 2013 Update                                                                                   -3-
                                                                                                                  App. 0925
                                                  II – Executive Data Summary



                    TEXAS HEALTH AND HUMAN SERVICES COMMISSION SERVICES
                     AND BENEFITS PROVIDED TO UNDOCUMENTED IMMIGRANTS

         Estimated cost of services and benefits provided to undocumented immigrants in fiscal year (FY) 2013:


                                                    (1) Texas Emergency Medicaid — $90 million
                                                                              +
                                         (2) Texas Family Violence Program (FVP) — $1.4 million
                                                                              +
               (3) Texas Children's Health Insurance Program (CHIP) Perinatal Coverage — $38 million
                                                                              =
                                                                     $129 million




                          Comparison of Estimates in Previous Reports and Current Estimate
                                                                                         FY 2007            FY 2009             FY 2011         FY 2013
(1) Texas Emergency Medicaid                                                           $ 80 million        $ 62 million       $ 71 million     $ 90 million
(2) Texas Family Violence Program (FVP)                                                 $1.2 million       $1.3 million       $1.3 million     $1.4 million
(3) Texas Children's Health Insurance Program (CHIP)                                          N/A*         $ 33 million       $ 35 million     $ 38 million
   Perinatal Coverage
TOTAL TEXAS HEALTH AND HUMAN SERVICES
                                                                                      $ 81 million       $ 96 million      $ 107 million     $ 129 million
COMMISSION

   * Expenditures for CHIP Perinatal Coverage were not included in the original 2008 Rider 59 report since, at the time of its completion,
   a full year of program data was not available.




HHSC, Rider 59 Report — December 2014 Update                                                                                                     -4-
                                                                                                                                     App. 0926
                                               III – Analytical Notes


1.   Texas Emergency Medicaid

Emergency Medicaid, Type Program 30 (TP 30), is a federal and state funded program that provides Medicaid
coverage, limited to emergency medical conditions including childbirth and labor to non-citizens including
undocumented immigrants, living in the United States. Emergency Medicaid is a federally required program.

Three steps are necessary to estimate the cost of services and benefits that HHSC provided to undocumented
immigrants: A) Determine total Emergency Medicaid (TP 30) expenditures during fiscal year 2013; B) Estimate
the fraction of undocumented non-citizens during this timeframe and amounts expended on this population;
and C) Calculate the state share of TP 30 expenditures for the undocumented population.

During fiscal year 2013 payments for Emergency Medicaid, TP 30, were as follows:


                                                      —A—


                    Texas Emergency Medicaid, Type Program 30, Fiscal Year 2013

                                                Inpatient hospital      $299,447,148
                                              Outpatient hospital        $26,084,046
                                  Professional and other services        $19,043,497
                                                    Vendor drug              $97,954
                                                       (A) Total        $337,672,645


Since HHSC Medicaid claims data do not conclusively identify the legal residency status of immigrants, the
portion of the $337.7 million in Emergency Medicaid payments attributable to undocumented immigrants must
be estimated.

According to the U.S. Census Bureau’s American Community Survey (ACS) for Texas, approximately 2.87 million
non-citizens resided in Texas in 2013. HHSC Strategic Decision Support estimates based on 2012 Department
of Homeland Security reports, that in 2013 1.88 million, or 65.5 percent, of these residents were
undocumented. Therefore, the estimated amount paid for Emergency Medicaid services to undocumented
immigrants residing in Texas is about $221 million:




HHSC, Rider 59 Report — December 2014 Update                                                          -5-
                                                                                          App. 0927
                                            III – Analytical Notes (Continued)



                                                                 —B—


                                     (A) Texas Emergency Medicaid ($337.7 million)
                                                           x
                     Estimated Percent of Non-Citizens Who Are Undocumented Immigrants (65.5%)
                                                           =
                                                   (B1) $221 million

The state shares the cost of the Medicaid program with the federal government, with Texas typically paying
about 40 percent of Emergency Medicaid expenditures. However, in fiscal year 2009, due to provisions of the
American Recovery and Reinvestment Act of 2009 (ARRA), the federal government temporarily increased its
share of Medicaid expenditures to 68 percent, leaving the state with a 32 percent share. In fiscal year 2011,
Texas’ share of Medicaid expenditures increased to 33 percent. Texas’ share for 2013 increased to pre ARRA
levels (to approximately 41%) in 2013 (B2). Therefore, the total estimated state cost for Emergency Medicaid
services provided to undocumented immigrants residing in Texas in fiscal year 2013 was about $90 million.



                                                                 —C—

                                  (B1) Estimated Texas Emergency Medicaid for Undocumented
                                            Immigrants Residing in Texas ($221 million)
                                                                x
                                           (B2) Texas Share of Medicaid Cost (40.79%)
                                                                =
                                                          $90 million



                        Comparison of Estimates in Previous Reports and Current Estimate
                                                                          FY 2007          FY 2009          FY 2011          FY 2013
Inpatient hospital                                                    $252,300,000     $275,010,314     $299,203,323     $299,447,148
Outpatient hospital                                                    $11,200,000      $13,248,238      $24,845,002      $26,084,046
Professional and other services                                        $53,700,000      $20,778,110      $16,591,396      $19,043,497
Vendor Drug                                                              $124,500         $159,096          $93,345          $97,954
(A) Sum of Expenditures                                               $317,324,500     $309,195,758     $340,733,067     $337,672,645
(B1 ) Estimated amount paid for services to undocumented immigrants    $ 200 million    $ 195 million    $ 215 million    $ 221 million
(B2 ) Texas’ share of TP 30 expenditures*                               39.23%           31.74%           32.68%           40.79%
(C) TEXAS' SHARE OF EXPENDITURES                                       $ 80 million     $ 62 million     $ 71 million     $ 90 million

*FY 2009 and 2011 represent years for which the Federal ARRA program reduced Texas’ share of CHIP payments.


HHSC, Rider 59 Report — December 2014 Update                                                                                 -6-
                                                                                                                 App. 0928
                                       III – Analytical Notes (Continued)



2. Texas Family Violence Program

The Texas Family Violence Program (FVP) contracts with non-profit agencies in three categories (shelter
centers, non-residential centers, and Special Nonresidential Projects [SNRPs]) across the state to provide
essential services to victims of family violence. Core FVP services include shelter, 24-hour hotlines, emergency
medical services, counseling, etc. In fiscal year 2013, the FVP funded 70 non-profit family violence shelters, 10
non-residential centers, and 16 SNRPs, providing comprehensive family violence services to victims, with a
total budget of $25,484,083. State general revenue and Temporary Assistance for Needy Families (TANF)
converted to Title XX accounted for about $20 million ($20,139,326) of the program’s total spending for
direct services. Services are provided without any financial eligibility testing and are free of charge.

The FVP does not ask victims of family violence about their residency status. Therefore, the portion of the
$20 million in FVP expenditures attributable to undocumented immigrants must be estimated. According to
the U.S. Census Bureau’s American Community Survey (ACS) for Texas, approximately 26.4 million individuals
resided in Texas in 2013. HHSC Strategic Decision Support estimates based on 2012 Department of
Homeland Security reports, that in 2013 1.88, or 7.1 percent, of these residents were undocumented. The
total estimated state cost for direct FVP services to undocumented immigrants in fiscal year 2013 was:

                                 Texas Family Violence Program budget ($20 million)
                                                         x
                           Estimated Percent of Undocumented Immigrants in Texas (7.1%)
                                                         =
                                                   $1.4 million



                      Comparison of Estimates in Previous Reports and Current Estimate
                                                               SFY 2007        SFY 2009        SFY 2011        SFY 2013
Texas Family Violence Program budget                          $ 17 million    $ 19 million    $ 18 million    $ 20 million
ESTIMATED COSTS FOR DIRECT FVP SERVICES TO
                                                             $1.2 million    $1.3 million    $1.3 million    $1.4 million
UNDOCUMENTED IMMIGRANTS




HHSC, Rider 59 Report — December 2014 Update                                                                    -7-
                                                                                                    App. 0929
                                                III – Analytical Notes (Continued)



3. Texas Children's Health Insurance Program (CHIP) Perinatal Coverage

Texas CHIP Perinatal Coverage provides prenatal care to low-income women living at up to 200% of the
Federal Poverty Level (FPL) who do not otherwise qualify for Medicaid, typically due to their citizenship status.
Nearly all CHIP Perinatal Coverage enrollees are either documented or undocumented non-citizens. Since this
program does not require citizenship documentation, there is no way to definitively report the number of
undocumented immigrants served. Therefore, the portion of the $204 million in CHIP Perinatal Coverage
expenditures (which represents prenatal services only) in fiscal year 2013 attributable to undocumented
immigrants must be estimated. Note: CHIP Perinatal Coverage expenditures were not included in the original
Rider 59 report since, at the time of its completion, a full year of program data was not available.

According to the U.S. Census Bureau’s American Community Survey (ACS) for Texas, approximately 2.87 million
non-citizens resided in Texas in 2013. HHSC Strategic Decision Support estimates based on 2012 Department
of Homeland Security reports, that in 2013 1.88, or 65.5 percent, of these residents were undocumented.
Therefore, this brings the estimated amount paid for Texas CHIP Perinatal Coverage services to
undocumented immigrants residing in Texas for fiscal year 2013 to about $134 million:

                               Texas CHIP Perinatal Coverage Expenditures ($204 million)
                                                          x
                     Estimated Percent of Non-Citizens Who Are Undocumented Immigrants (65.5%)
                                                          =
                                                     $134 million

The state shares the cost of the CHIP program with the federal government. Texas typically pays about 28.5
percent of expenditures. Therefore, the total estimated state cost for CHIP Perinatal Coverage to
undocumented immigrants residing in Texas in fiscal year 2013 was about $38 million.

                                        Estimated CHIP Perinatal Coverage for Undocumented
                                              Immigrants Residing in Texas ($134 million)
                                                                  x
                                              Texas Share of CHIP Expenditures (28.5%)
                                                                  =
                                                            $38 million

                           Comparison of Estimates in Previous Reports and Current Estimate
                                                                                          FY 2007            FY 2009             FY 2011          FY 2013
 Texas CHIP Perinatal Coverage expenditures                                                *              $ 188 million       $ 201 million     $ 204 million
 Estimated amount paid for services to undocumented immigrants                             *              $ 118 million       $ 127 million     $ 134 million
 Texas' share of the expenditures                                                          *              $ 33 million        $ 35 million      $ 38 million


* Expenditures for CHIP Perinatal Coverage were not included in the original 2008 Rider 59 report since, at the time of its completion,
a full year of program data was not available.




HHSC, Rider 59 Report — December 2014 Update                                                                                                          -8-
                                                                                                                                          App. 0930
                                               IV – References



        The 2008-09 General Appropriations Act, H.B. 1, 80th Legislature, Regular Session, 2007 (Article II,
        Health and Human Services Commission, Rider 59).

        Texas Health and Human Services Commission, Medicaid Administrative Data, Austin.

        U.S. Department of Homeland Security, Office of Immigration Statistics, Policy Directory: “Estimates of
        the Unauthorized Immigrant Population Residing in the United States: January 2012”. Original Date of
        Publication March 2013.

        U.S. Census Bureau. American Community Survey for Texas: Public Use Micro Data Sample Files for
        2012.

        U.S. Census Bureau. American Community Survey for Texas: Public Use Micro Data Sample Files for
        2013.




HHSC, Rider 59 Report — February 2013 Update                                                              -9-
                                                                                              App. 0931
 Report on Texas Health and Human Services Commission
Services and Benefits Provided to Undocumented Immigrants

                Update to the Report Required by
                       Rider 59, H. B. 1,
                        80th Legislature,
                     Regular Session, 2007




   Center for Analytics and Decision Support ◆ Policy and Performance Division



         TEXAS HEALTH AND HUMAN SERVICES COMMISSION

                                  March 2017




                                                                       App. 0932
                                                           Table of Contents




        I      Background ..........................................................................................................................3



        II     Executive Data Summary ....................................................................................................4



       III     Analytical Notes...................................................................................................................5



      IV       References .........................................................................................................................10




HHSC, Rider 59 Report — March 2017 Update                                                                                                           -2-
                                                                                                                                     App. 0933
                                               I – Background

As required by the 2008-09 General Appropriations Act, H.B. 1, 80th Legislature, Regular Session, 2007
(Article II, Health and Human Services Commission, Rider 59) required the Texas Health and Human Services
Commission (HHSC) to prepare a report indicating the cost of services and benefits provided by HHSC to
undocumented immigrants in the state. This report was originally completed in 2008. Due to numerous requests
for related current information, the report was updated in each subsequent biennium. This report is the fourth
update to the original report. The text of Rider 59 is included below, with the updated data and supporting
documentation on subsequent pages.


                            Rider 59 — Report to the United States Congress on
                        Services and Benefits Provided to Undocumented Immigrants

       The Health and Human Services Commission shall compile a report of the cost of services and
       benefits provided to undocumented immigrants, with the agency determining the extent to which
       undocumented immigrants are served by the agency and by individual program. The agency may
       use a statistical method developed by the agency in cases where it is not practical for the agency
       to directly determine whether recipients of a service or benefit are undocumented immigrants.

       The Health and Human Services Commission shall also compile information on this subject from
       each public hospital district within the state and include this information in the report and shall
       not enforce Title 8 of the United States Code when compiling information on this subject.

       The report must be produced using aggregated statistical data that does not contain personally
       identifiable information. The purpose of compiling this information is to perform analysis to
       assist the United States Congress and this state in making future health care and budgetary
       decisions. Information sought for the preparation of this report may not violate any federal or
       state laws, including rules, regarding privacy.

       This report shall be provided to the United States Congress by December 1, 2008, and may be
       used as supporting materials by the State of Texas in requests for additional federal
       appropriations to assist with these costs.

       The Health and Human Services Commission or a public hospital district may compile and
       report the information required by this rider only in a manner the attorney general of this state
       certifies as consistent with federal law.

       The Health and Human Services Commission again shall submit the required report to the
       Lieutenant Governor, Speaker of the House of Representatives, and Members of the Legislature
       by December 1, 2008, and shall include the information in the agency's annual report for 2008.




HHSC, Rider 59 Report — March 2017 Update                                                                    -3-
                                                                                                 App. 0934
                                           II – Executive Data Summary


                  TEXAS HEALTH AND HUMAN SERVICES COMMISSION
           SERVICES AND BENEFITS PROVIDED TO UNDOCUMENTED IMMIGRANTS

       Estimated cost of services and benefits provided to undocumented immigrants in fiscal year 2015:


                                         (1) Texas Emergency Medicaid — $73 million
                                                                +
                                (2) Texas Family Violence Program (FVP) — $1.0 million
                                                                +
           (3) Texas Children's Health Insurance Program (CHIP) Perinatal Coverage — $30 million
                                                                =
                                                         $104 million


             Comparison of Estimates in Previous Reports and Current Estimate (in millions)

        Program                                FY 2007            FY 2009         FY 2011             FY 2013             FY 2015
        (1) Texas Emergency
                                                    $80               $62              $71                  $90                 $73
        Medicaid
        (2) Texas Family Violence
                                                   $1.2              $1.3              $1.3                 $1.4               $1.0
        Program
        (3) Texas Children's Health
        Insurance Program Perinatal               N/A*                $33              $35                  $38                 $30
        Coverage
        TOTAL TEXAS HEALTH
        AND HUMAN SERVICES                          $81               $96             $107                 $129               $104
        COMMISSION
       * Expenditures for CHIP Perinatal Coverage were not included in the original 2008 Rider 59 report since, at the time of its
       completion, a full year of program data was not available.




HHSC, Rider 59 Report — March 2017 Update                                                                                  -4-
                                                                                                               App. 0935
                                            III – Analytical Notes

1. Undocumented Immigrant Estimates

For past reports, HHSC has relied on 2 separate sources of official federal government data to develop in-house
estimates of the percent of Texas residents that are undocumented immigrants:

      The Texas-specific sample of the U.S. Census Bureau's American Community Survey (ACS), and;
      The Office of Immigration Statistics of the U.S. Department of Homeland Security (DHS).

The ACS provides direct (large survey-based) annual estimates of the total population in Texas according to
U.S. citizen status (citizen versus non-citizen). However, the estimate of non-U.S. citizens is not broken down
according to documented/undocumented status. The most recent available estimate is 2015.

In contrast, DHS uses ACS and additional data taken from administrative records to estimate the number and
percent of undocumented non-citizens. The estimates are calculated for the U.S. as a whole and for some of the
larger states, including Texas. The last available DHS estimates and reports were published in March 2013 for
January 2012. No updates have been provided since then.

Before DHS suspended the publication of its estimates, HHSC derived its estimate by taking DHS's estimate for
total undocumented immigrants in Texas and dividing it by the ACS estimate for total non-U.S. citizens in the
state. This would result in the HHSC estimate of the proportion/percent of undocumented non-U.S. citizens in
Texas.

With the indefinite suspension of DHS's reports, the ACS has become the most reliable source of official
federal government data on the number of non-U.S. citizens in Texas.

In an attempt to avoid making uninformed estimates, and considering the historical record, HHSC opted to
assume a conservative approach that presently no less than 50% of non-U.S. citizens residing in Texas are
undocumented. Although the estimate is not as high as the former DHS method, and no other 'exact estimate'
currently exists, given recent migration trends it's unlikely that the current estimate would be less than 50%.


2. Texas Emergency Medicaid

Emergency Medicaid, Type Program 30 (TP 30), is a federal and state funded program that provides Medicaid
coverage, limited to emergency medical conditions including childbirth and labor to non-citizens including
undocumented immigrants, living in the United States. Emergency Medicaid is a federally required program.

Three steps are necessary to estimate the cost of services and benefits that the Texas Health and Human
Services Commission (HHSC) provided to undocumented immigrants: A) Determine total Emergency Medicaid
(TP 30) expenditures during fiscal year 2015; B) Estimate the fraction of undocumented non-citizens during this
timeframe and amounts expended on this population; and C) Calculate the state share of TP 30 expenditures for
the undocumented population.




HHSC, Rider 59 Report — March 2017 Update                                                                   -5-
                                                                                                App. 0936
During fiscal year 2015 payments for Emergency Medicaid, TP 30, were as follows:

                                                     —A—


                      Texas Emergency Medicaid, Type Program 30, Fiscal Year 2015

                                               Inpatient hospital    $303,177,586
                                            Outpatient hospital       $25,110,412
                                 Professional and other services      $21,105,306
                                                   Vendor drug           $112,961
                                                      (A) Total      $349,506,265


Since HHSC Medicaid claims data do not conclusively identify the legal residency status of immigrants, the
portion of the $349.5 million in Emergency Medicaid payments attributable to undocumented immigrants must
be estimated.

According to the U.S. Census Bureau’s American Community Survey (ACS) for Texas, approximately 2.96
million non-citizens resided in Texas in 2015. The HHSC's Center for Analytics and Decision Support (CADS)
estimates that no less than 50 percent of these residents (1.48 million) were undocumented. Therefore, the
estimated amount paid for Emergency Medicaid services to undocumented immigrants residing in Texas is
about $174.8 million.




HHSC, Rider 59 Report — March 2017 Update                                                             -6-
                                                                                          App. 0937
                                      III – Analytical Notes (Continued)


                                                        —B—

                              (A) Texas Emergency Medicaid ($349.5 million)
                                                     x
             Estimated Percent of Non-Citizens Who Are Undocumented Immigrants (50 percent)
                                                     =
                                             (B1) $175 million

The state shares the cost of the Medicaid program with the federal government, with Texas typically paying
about 40 percent of Emergency Medicaid expenditures. However, in fiscal year 2009, due to provisions of the
American Recovery and Reinvestment Act of 2009 (ARRA), the federal government temporarily increased its
share of Medicaid expenditures to 68 percent, leaving the state with a 32 percent share. In fiscal year 2011,
Texas’ share of Medicaid expenditures increased to 33 percent. Texas’ share for 2013 increased to pre ARRA
levels (to approximately 41 percent) in 2013. In 2015, Texas's share of Medicaid program costs was 41.90
percent (B2). Therefore, the total estimated state cost for Emergency Medicaid services provided to
undocumented immigrants residing in Texas in fiscal year 2015 was about $73 million.

                                                        —C—

                          (B1) Estimated Texas Emergency Medicaid for Undocumented
                                   Immigrants Residing in Texas ($175 million)
                                                        x
                                (B2) Texas Share of Medicaid Cost (41.90 percent)
                                                       =
                                                   $73 million

                     Comparison of Estimates in Previous Reports and Current Estimate

        Expenditures              FY 2007        FY 2009          FY 2011         FY 2013             FY 2015
        Inpatient hospital    $252,300,000   $275,010,314     $299,203,323    $299,447,148        $303,177,586
        Outpatient hospital    $11,200,000    $13,248,238      $24,845,002     $26,084,046         $25,110,412
        Professional and
                               $53,700,000    $20,778,110      $16,591,396      $19,043,497        $21,105,306
        other services
        Vendor Drug              $124,500        $159,096          $93,345          $97,954           $112,961
        (A) Sum of
                              $317,324,500   $309,195,758     $340,733,067    $337,672,645        $349,506,265
        Expenditures
        (B1) Estimated
        amount paid for
        services to           $200 million    $195 million     $215 million    $221 million        $175 million
        undocumented
        immigrants
        (B2) Texas’ share
        of TP 30                   39.23%          31.74%          32.68%           40.79%              41.90%
        expenditures*
        (C) TEXAS'
        SHARE OF               $80 million     $62 million     $71 million      $90 million         $73 million
        EXPENDITURES
       *FY 2009 and 2011 represent years for which the Federal ARRA program reduced Texas’ share of Medicaid payments.



HHSC, Rider 59 Report — March 2017 Update                                                                          -7-
                                                                                                       App. 0938
                                    III – Analytical Notes (Continued)

3.   Texas Family Violence Program

The Texas Family Violence Program (FVP) provides emergency support and prevention services for survivors
of family violence and their children through shelter, nonresidential and special nonresidential project
contracts with local community and faith-based nonprofit organizations. The FVP contracted family violence
centers provide comprehensive services which includes: 24-hour emergency shelter and crisis hotline services,
referrals to existing community services and employment resources, emergency medical care and
transportation, crisis intervention for adults and children, educational arrangements for children, and legal
advocacy in civil and criminal justice system. In fiscal year 2015, the FVP funded 71 non-profit family
violence shelters, 10 non-residential centers, 28 special nonresidential projects, and 17 exceptional item
funding projects, providing comprehensive family violence services to victims, with a total budget of
$27,360,863.

State general revenue and Temporary Assistance for Needy Families (TANF) converted to Title XX accounted
for about $19 million ($18,548,732) of the program’s total spending for direct services. Services are provided
without any financial eligibility testing and are free of charge.

The FVP does not screen family violence clients for residency status data. Therefore, the portion of the $19
million TANF to Title XX funds in Family Violence expenditures attributable to undocumented immigrants must
be estimated. According to the U.S. Census Bureau’s ACS for Texas, approximately 27.5 million individuals
resided in Texas in 2015. This total includes 2.96 million non U.S. Citizens.

The HHSC's CADS estimates that at least half or 1.48 million of the non U.S. Citizens
were undocumented. Based on this estimate, 5.4 percent of the total population of 27.5 million in 2015 were
undocumented. The total estimated state cost for direct FVP services to undocumented immigrants residing in
Texas in fiscal year 2015 was about $1 million.

                          Texas Family Violence Program Expenditures ($19 million)
                                                     x
                     Estimated Percent of Undocumented Immigrants in Texas (5.4 percent)
                                                     =
                                                $1.0 million

             Comparison of Estimates in Previous Reports and Current Estimate (in millions)

        Expenditures                FY 2007          FY 2009          FY 2011          FY 2013           FY 2015
        Texas Family Violence
                                              $17              $19              $18              $20                  $19
        Program expenditures
        ESTIMATED COSTS FOR
        DIRECT FVP SERVICES
                                              $1.2             $1.3             $1.3             $1.4                 $1.0
        TO UNDOCUMENTED
        IMMIGRANTS




HHSC, Rider 59 Report — March 2017 Update                                                                           -8-
                                                                                                        App. 0939
                                        III – Analytical Notes (Continued)

4. Texas Children's Health Insurance Program Perinatal Coverage

The Texas Children's Health Insurance Program (CHIP) Perinatal Coverage provides prenatal care to low-
income women living at up to 200 percent of the Federal Poverty Level who do not otherwise qualify for
Medicaid, typically due to their citizenship status. Nearly all CHIP Perinatal Coverage enrollees are either
documented or undocumented non-citizens. Since this program does not require citizenship documentation,
there is no way to definitively report the number of undocumented immigrants served. Therefore, the portion of
the $202.6 million in CHIP Perinatal Coverage expenditures (which represents prenatal services only) in fiscal
year 2015 attributable to undocumented immigrants must be estimated. Note: CHIP Perinatal Coverage
expenditures were not included in the original Rider 59 report since, at the time of its completion, a full year of
program data was not available.

According to the U.S. Census Bureau’s ACS for Texas, approximately 2.96 million non-citizens resided in
Texas in 2015. The HHSC's CADS estimates that no less than 50 percent of these residents, or no less than
1.48 million were undocumented. Therefore, this brings the estimated amount paid for Texas CHIP Perinatal
Coverage services to undocumented immigrants residing in Texas for fiscal year 2015 to about $101.5 million.

                        Texas CHIP Perinatal Coverage Expenditures ($202.6 million)
                                                     x
              Estimated Percent of Non-Citizens Who Are Undocumented Immigrants (50 percent)
                                                     =
                                                $101 million

The state shares the cost of the CHIP program with the federal government. Texas pays about 29.32 percent of
expenditures. Therefore, the total estimated state cost for CHIP Perinatal Coverage to undocumented
immigrants residing in Texas in fiscal year 2015 was about $30 million.

                                Estimated CHIP Perinatal Coverage for Undocumented
                                     Immigrants Residing in Texas ($101 million)
                                                          x
                                  Texas Share of CHIP Expenditures (29.32 percent)
                                                         =
                                                    $30 million

             Comparison of Estimates in Previous Reports and Current Estimate (in millions)

        Expenditures                        FY 2007         FY 2009              FY 2011              FY 2013             FY 2015
        Texas CHIP Perinatal
        Coverage expenditures
                                                   *            $188                 $201                 $204                $203
        Estimated amount paid for
        services to undocumented                   *            $118                 $127                 $134                $101
        immigrants
        TEXAS' SHARE OF THE
                                                   *             $33                  $35                  $38                  $30
        EXPENDITURES
       * Expenditures for CHIP Perinatal Coverage were not included in the original 2008 Rider 59 report since, at the time of its
       completion, a full year of program data was not available.


HHSC, Rider 59 Report — March 2017 Update                                                                                    -9-
                                                                                                                 App. 0940
                                             IV – References


       The 2008-09 General Appropriations Act, H.B. 1, 80th Legislature, Regular Session, 2007 (Article II,
       Health and Human Services Commission, Rider 59).

       Texas Health and Human Services Commission, Medicaid Administrative Data, Austin.

       U.S. Department of Homeland Security, Office of Immigration Statistics, Policy Directory: “Estimates
       of the Unauthorized Immigrant Population Residing in the United States: January 2012.” Original Date
       of Publication March 2013.

       U.S. Census Bureau. American Community Survey for Texas: Public Use Micro Data Sample Files for
       2012.

       U.S. Census Bureau. American Community Survey for Texas: Public Use Micro Data Sample Files for
       2013.

       U.S. Census Bureau. American Community Survey for Texas: Public Use Micro Data Sample Files for
       2015.




HHSC, Rider 59 Report — March 2017 Update                                                                - 10 -
                                                                                             App. 0941
          
          
          
          
          
          
    Exhibit 11    

 

 

 

 

 

 

 

 

 

 

 

 




                     App. 0942
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                         BROWNSVILLE DIVISION


STATE OF TEXAS, et al.,                       )
                                              )
                   Plaintiffs,                )
                                              )
v.                                            )     Civil Action No.
                                              )
UNITED STATES OF AMERICA, et al.,             )
                                              )
                   Defendants                 )


                 DECLARATION OF DONALD DEERE, Ph.D.

      My name is Donald Deere, and I am over the age of 18 and fully competent in

all respects to make this declaration. I have personal knowledge and expertise of the

matters herein stated.

                                  Qualifications

      1.     I am a Senior Economist for Welch Consulting, a firm that provides

expert services in economics and statistics to the legal community, as well as general

consulting in economics and statistics. Previously, I served as a Senior Economist for

Unicon Research Corporation, a firm that conducted grant and contract research for

U.S. government agencies.

      2.     In 2007, I retired from the tenured faculty of the Department of

Economics at Texas A&M University, where I taught courses in labor economics,

statistics, and public finance. I have since served as an Adjunct Associate Professor

of Economics at Texas A&M University. Formerly, I was Associate Director of the



                                          1

                                                                            App. 0943
George Bush School of Government and Public Service, where I also taught as a

member of the visiting faculty in 2008.

      3.       I received training in economics and statistics at the Massachusetts

Institute of Technology, where I earned a Ph.D. in Economics in 1983. I have taught

at M.I.T., the University of California, Santa Barbara, and Texas A&M University.

My research has been published in numerous professional, peer-reviewed journals,

including the American Economic Review, the Journal of Political Economy, the

Quarterly Journal of Economics, and the Journal of Labor Economics.

      4.       Attached to this declaration are true and correct copies of the following

documents:

              Appendix 1 includes my curriculum vitae and a list of my publications.

              Appendix 2 sets forth the cases in which I have testified in deposition or

               at trial during the last four years.

                                    Scope of Inquiry

      5.       I have been retained in this case by the Office of the Attorney General

of Texas to examine the potential economic impact on the labor market of the

interaction between the Department of Homeland Security Memorandum dated June

15, 2012 (“DHS Memorandum”)1 and the employer mandate provisions in the

Affordable Care Act (“ACA”).

      6.       My billing rate for this matter is $525 per hour.


1 The DHS Memorandum regards the exercise of “prosecutorial discretion” for certain
undocumented immigrants. The subject of the DHS Memorandum, from Janet Napolitano,
Secretary of Homeland Security, is “Exercising Prosecutorial Discretion with Respect to
Individuals Who Came to the United States as Children.”
                                             2

                                                                               App. 0944
                      Background on the Affordable Care Act
                           and the DHS Memorandum

       7.     It is my understanding that as a result of the DHS Memorandum the

number of undocumented immigrants with an Employment Authorization Document

(“EAD”) has expanded nationwide.2           I also understand that these individuals

authorized to work are not eligible for the premium subsidies provided by the ACA.3

       8.     The Congressional Budget Office and the Joint Committee on Taxation

in March 2012 estimated the impact of the ACA on nonelderly workers and their

families who were projected to receive employment-based coverage in 2016 in the

absence of the ACA. The resulting estimates are that 64 million of these individuals

will be eligible for subsidies in the exchanges under the ACA.4

       9.     The ACA mandates that employers with 50 or more full-time employees

offer health insurance that provides “minimum value” and is “affordable” to their full-

time employees.5


2 DACA_Population_Data_Jan_31_2018, available at https://www.uscis.gov/tools/reports-
studies/immigration-forms-data.
3   HealthCare.gov, Immigration status and the Marketplace, available at
https://www.healthcare.gov/immigrants/immigration-status. See also, 8 U.S. Code § 1611 -
Aliens who are not qualified aliens ineligible for Federal public benefits, and 45 CFR 152.2 –
Definitions, Legal Information Institute.
4 Congressional Budget Office, CBO and JCT’s Estimates of the Effects of the Affordable Care

Act on the Number of People Obtaining Employment-Based Health Insurance at 12-14 (Mar.
2012), available at http://www.cbo.gov/sites/default/files/03-15-ACA_and_Insurance_2.pdf.
An estimated 8.7 million Marketplace Enrollees were receiving Advance Premium Tax
Credits in February 2017. See Kaiser Family Foundation, Estimated Total Premium Tax
Credits Received by Marketplace Enrollees, available at https://www.kff.org/state-
category/health-reform/february-2017-marketplace-enrollment/.
5 Internal Revenue Service, Questions and Answers on Employer Shared Responsibility

Provisions Under the Affordable Care Act at Question 1 (2018), available at
https://www.irs.gov/affordable-care-act/employers/questions-and-answers-on-employer-
shared-responsibility-provisions-under-the-affordable-care-act.


                                              3

                                                                                    App. 0945
       10.    To my knowledge, “minimum value” requires that health insurance pay

at least 60% of the cost of covered services for employees and their children up to age

26. The ACA does not require the employer to pay the entire cost of this coverage, but

the mandate to be “affordable” requires that the cost to the employee for this coverage

be no more than 9.5% of the employee’s income.6

       11.    An employer offering coverage that does not provide “minimum value”

or is not “affordable” will owe a penalty under the ACA if any of its employees

purchases coverage on the insurance exchange and receives a premium subsidy. It is

my understanding that this penalty is the lesser of a) $2,320 per year per employee

after the first 30 employees, or b) $3,480 per year per employee receiving a premium

subsidy.7

       12.    Because this penalty is not a deductible expense for the employer from

federal (and possibly state) income taxes,8 the before-tax penalty amount, which

would be compared to the wage, is even larger.9




6 Internal Revenue Service, Questions and Answers on Employer Shared Responsibility
Provisions Under the Affordable Care Act, supra, at Questions 38-41.
7 Internal Revenue Service, Questions and Answers on Employer Shared Responsibility

Provisions Under the Affordable Care Act, supra, at Questions 52-54. See also, Edward A.
Morse, Lifting the Fog: Navigating Penalties in the Affordable Care Act, 46 CREIGHTON L.
REV. 207, 221-22 (2013). For the $3,480 penalty to apply, the employer must have less than
a minimum of 26.7% of its employees receiving a premium subsidy. This cutoff % rises with
the number of employees—to 46.7% for an employer with 100 total employees and to a
maximum of 66.7% (the cutoff % equals 2/3 – 20/# employees).
8 Morse, supra, at 223.
9 For an employer facing a 21% federal corporate income tax rate and the $3,480 penalty, the

equivalent annual before-tax amount is at least $4,405.06.


                                             4

                                                                                  App. 0946
                      Interaction of the DHS Memorandum
                        and the ACA on the Labor Market

      13.    As a threshold matter, the addition of some 683,000 work-eligible

individuals nationwide, with 112,000 of these in Texas, will, other things equal, put

downward pressure on wages and make it more difficult for some U.S. citizens to find

employment. In addition, the interaction of the DHS Memorandum and the ACA will

further impact employment and wages in the labor market.10

      14.    Consider an employer facing this penalty that is considering hiring one

of two prospective employees. These two employees are equally productive and are

the same in all relevant aspects to this employer, except that applicant A is a U.S.

citizen and applicant B is a DACA recipient holding an EAD.

      15.    Assume applicants A and B are relatively low skilled, so that the cost to

the employee of the coverage offered by this employer exceeds 9.5% of the wage that

would be offered to them. Also assume that this employer expects less than 25% of

its employees to obtain a premium subsidy.

      16.    In this scenario, the employer would expect applicant A to be more

expensive to employ than applicant B because of the interaction of the ACA penalties

described above and the DHS Memorandum. There is an extra cost of $3,480 per year

(plus the tax impact noted above) from hiring applicant A if applicant A will receive

a premium subsidy. In contrast, hiring applicant B entails no extra cost because

applicant B is not eligible for a premium subsidy.


10As an example, for the employer in footnote 9, the penalty would increase the relative
annual cost of employing a worker 30 hours per week at the federal minimum wage who
receives a premium subsidy by almost 40%.
                                           5

                                                                              App. 0947
      17.    An employer subject to the ACA penalties described above that is

operating to minimize its expected cost of operations will hire applicant B instead of

applicant A. Applicant A, therefore, will take longer to find employment and the

resulting employment is more likely to occur at a lower wage.

      18.    Depending on the employee cost of insurance, the incentive to hire

applicant B can occur at a range of wage levels, as illustrated in the following two

examples.

Example 1

      19.    In addition to the above facts, suppose that applicants A and B would be

paid the federal minimum wage of $7.25 per hour. Assuming 30 hours per week (the

definition of full time in the ACA), a monthly employee cost of $89.54 or greater ($7.25

x 130 hours x 9.5%) would make the employer-provided coverage not “affordable” and

would make applicant A eligible for the premium subsidy and potentially trigger the

extra $3,480 per year cost (plus the tax impact) from hiring applicant A.11 There is

no extra cost from hiring applicant B.

      20.     As a result, the employer will hire applicant B instead of applicant A if

the employer is operating to minimize its expected cost of operations.




11At 40 hours per week, the monthly employee cost would have to be no more than $119.38
to be “affordable.”
                                           6

                                                                              App. 0948
Example 2

       21.     As an alternative, suppose that applicants A and B would be paid

$30,000 per year (about twice the federal minimum wage for 40 hours per week).12 A

monthly employee cost for employee and dependent coverage in excess of $237.50

(9.5% x $30,000/12) would not be “affordable” and would make applicant A eligible

for the premium subsidy and potentially trigger the extra $3,480 per year cost (plus

the tax impact) from hiring applicant A. Again, there is no extra cost from hiring

applicant B.

       22.     Similar to the previous example, the employer in this example would be

expected to hire applicant B instead of applicant A in an effort to minimize costs.

                                       Conclusion

       23.     The interaction of the DHS Memorandum and the mandate provisions

of the ACA gives employers a financial incentive to hire an undocumented immigrant

who is authorized to work instead of an identically skilled citizen in certain instances.

       24.     Based on my knowledge and expertise in labor economics, it is my expert

opinion that as a result of the interaction between the DHS Memorandum and the

ACA, there will be relatively less hiring of U.S. citizens and relatively lower wages

on average for those who are hired. The interplay between the DHS Memorandum




12Using 35 hours per week instead of the ACA limit of 30 to define full-time, the U.S. Census
Bureau reports that more than 23.8 million persons were employed full-time and full-year in
2016 with annual earnings below $30,000. U.S. Census Bureau, Current Population Survey,
2017 Annual Social and Economic Supplement at Table PINC-10, available at
https://www.census.gov/data/tables/time-series/demo/income-poverty/cps-pinc/pinc-
10.2016.html.
                                             7

                                                                                   App. 0949
App. 0950
Appendix 1




             App. 0951
                                             Donald R. Deere, Ph.D.
     WELCH CONSULTING                        Donald R. Deere is a Senior Economist in the Bryan, Texas office of Welch Consulting.
    1716 Briarcrest Drive, Suite 700         Dr. Deere’s work has included statistical and economic analysis in cases involving claims of
                   Bryan, TX 77802
                                             discrimination in employment, housing, transportation and insurance, in cases involving wage
                      979.691.0704
           DDeere@welchcon.com               and hour violations, and in cases involving lost earnings or commercial damages. He also has
                                             conducted analyses of compensation practices for internal and OFCCP audit purposes. Dr. Deere
                     EDUCATION               has provided testimony in cases in both state and federal courts.

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 Massachusetts Institute of Technology       Dr. Deere has a Ph.D. in economics from the Massachusetts Institute of Technology. In 2007, Dr.
         Cambridge, Massachusetts            Deere retired from the tenured faculty of the Department of Economics at Texas A&M University,
                                 1983
                                             where he taught courses in labor economics, economic principles and public finance. While at
                        B.S., Economics      Texas A&M University, he also taught graduate statistics in, and was Associate Director of the
                  Texas A&M University
                                             George Bush School of Government and Public Service. Dr. Deere also is Senior Economist for
                  College Station, Texas
                                    1978     Unicon Research Corporation, where he served as Vice President from 2001-2004. Dr. Deere’s
                                             research has concentrated primarily on labor markets and public policy affecting wages and
              PROFESSIONAL                   employment. His research has been published in numerous professional peer-reviewed journals,
                EXPERIENCE                   including the American Economic Review, the Journal of Political Economy, the Quarterly Journal
                       Senior Economist      of Economics, and the Journal of Labor Economics.
                       Welch Consulting
                           Bryan, Texas
                         2005 – Present
                                             PUBLICATIONS
                    Senior Economist
          Unicon Research Corporation        “Analyzing Reductions in Force and Other Termination Decisions,” with James E. Pearce in
                         Bryan, Texas        Adverse Impact Analysis: Understanding Data, Statistics, and Risk, edited by Scott B. Morris and
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  Adjunct Associate Professor of Economics
                   Texas A&M University      “Minimum Sense,” NBIZ Magazine, (Winter 2006):8-10. Also found on NBIZMag.com.
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                                              Donald R. Deere, Ph.D.
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   1716 Briarcrest Drive, Suite 700
                  Bryan, TX 77802             “Home Equity: Texas Should Unlock This Asset,” The Dallas Morning News, April 23, 1995.
                     979.691.0704
          DDeere@welchcon.com                 “Unionization and Profitability: Evidence of Spillover Effects,” with S.G. Bronars, Journal of
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                 College Station, Texas
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                                              “Tax Rates, Tax Complexity, and the Usage of Paid Tax Return Preparers,” with C. Wolfe.

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                                              “Heads I Win, Tails You Lose:  The Economic Impact of the Texas Lottery on Demographic
                                              Groups,” with J. Dyer.


                                                                                                                             App. 0953
                                         Donald R. Deere, Ph.D.
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1716 Briarcrest Drive, Suite 700
               Bryan, TX 77802           “The Cross Sectional Impact of Unemployment Insurance on Layoffs, Employment, and Wages,”
                  979.691.0704           with J.A. Miron.
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                                         “Climbing the Economic Ladder,” with A.J. Rettenmaier.

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                                         	   Rotary Foundation Graduate Fellowship.
                                         	   Sloan Foundation Dissertation Research Fellowship.

                                         Research Grants/Contracts:
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                                         	  Four Contracts with the Texas Workers’ Compensation Research Center, “Nonsubscription to
                                            the Texas Workers’ Compensation System,” 1992-1995.

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                                             1984.
   ABOUT WELCH CONSULTING
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      and public sector entities. Our    	   Journal of Labor Economics
 track record in producing rigorous      	   Review of Economic Studies
       analyses meeting the highest      	   Rand Journal of Economics
       standards of accuracy, clarity    	   Review of Economics and Statistics
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                                                                                                                    App. 0954
Appendix 2




             App. 0955
                  Testimony Given in Last 4 Years by Donald Deere


United States of America and the State of Texas, Ex Rel. Keith Waldmann et al. v.
McAllen Medical Center, et al.
Deposition: 11/10/16
In the United States District Court for the Southern District of Texas McAllen Division
Civil Action No. 7:13-cv-495(M)

AJP Oil Company, LLC, D/B/A Grapeland Fuel and BBQ v. Velvin Oil Company, Inc.
Deposition: 07/12/16
In the 3rd District Court of Houston County, Texas
Civil Action No. 14-0217

Kimberly A. Nice, a Personal Representative of the Estate of Shawn R. Nice v. L-3
Communications Vertex Aerospace, LLC, et al
Deposition: 06/17/16
In the United States District Court for the Northern District of Florida, Pensacola
Division
Civil Action No. 3:12-CV-00009-MCR-CJK

Barbara Semons, as Next Friend and Guardian of William Warren v. Houston Party
Rental, Inc. and Sam Houston Area Council Boy Scouts of America
Deposition: 06/12/15
In the 80th Judicial District Court, Harris County, Texas
Cause No. 201407399

Noll, et al. v. Ebay Inc., et al.
Deposition: 09/29/14
United States District Court Northern District of California, San Jose Division
Case No. 5:11-CV-04585-EJD




                                            1                                          2018
                                                                                      App. 0956
          
          
          
          
          
          
    Exhibit 12    

 

 

 

 

 

 

 

 

 

 

 

 




                     App. 0957
                   No.

In the Supreme Court of the United States
UNITED STATES DEPARTMENT OF HOMELAND SECURITY,
               ET AL., PETITIONERS

                         v.
 REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.

       ON PETITION FOR A WRIT OF CERTIORARI
      BEFORE JUDGMENT TO THE UNITED STATES
      COURT OF APPEALS FOR THE NINTH CIRCUIT


       PETITION FOR A WRIT OF CERTIORARI
               BEFORE JUDGMENT


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                                                             App. 0958
               QUESTIONS PRESENTED
   This dispute concerns the policy of immigration en-
forcement discretion known as Deferred Action for
Childhood Arrivals (DACA). In 2016, this Court af-
firmed, by an equally divided Court, a decision of the
Fifth Circuit holding that two related Department of
Homeland Security (DHS) enforcement policies, includ-
ing an expansion of the DACA policy, were likely unlaw-
ful and should be enjoined. See United States v. Texas,
136 S. Ct. 2271 (per curiam). In September 2017, the
former Acting Secretary of Homeland Security deter-
mined that the original DACA policy would likely be
struck down by the courts on the same grounds and that
the policy was unlawful. Accordingly, she instituted an
orderly wind-down of the DACA policy.
   The district court here concluded that respondents
are likely to succeed in proving that the Acting Secre-
tary’s decision to rescind the DACA policy was arbi-
trary and capricious, and it enjoined DHS from rescind-
ing it on a nationwide basis while this litigation pro-
ceeds. The questions presented are as follows:
   1. Whether the Acting Secretary’s decision to wind
down the DACA policy is judicially reviewable.
   2. Whether the Acting Secretary’s decision to wind
down the DACA policy is lawful.




                          (I)




                                                          App. 0959
            PARTIES TO THE PROCEEDING
    Petitioners are the United States Department of
Homeland Security; Donald J. Trump, President of the
United States; Kirstjen M. Nielsen, Secretary of Home-
land Security; Jefferson B. Sessions III, Attorney
General of the United States; and the United States of
America.
    Respondents are the Regents of the University of Cal-
ifornia; Janet Napolitano, President of the University of
California; the State of California; the State of Maine; the
State of Maryland; the State of Minnesota; the City of San
Jose; Dulce Garcia; Miriam Gonzalez Avila; Saul Jimenez
Suarez; Viridiana Chabolla Mendoza; Norma Ramirez; Ji-
rayut Latthivongskorn; the County of Santa Clara; and
Service Employees International Union Local 521.




                            (II)




                                                               App. 0960
                              TABLE OF CONTENTS
                                                                                           Page
Opinions below .............................................................................. 1
Jurisdiction .................................................................................... 2
Statutory provisions involved ...................................................... 2
Statement ...................................................................................... 2
Reasons for granting the petition ............................................. 12
   I. The decision below is in need of immediate review.... 13
   II. The decision below is wrong ......................................... 15
        A. The Rescission Memo is not reviewable ............... 16
        B. The Rescission Memo is lawful .............................. 24
            1. The rescission was reasonable in light of
                  the Fifth Circuit’s decision and the
                  impending litigation.......................................... 24
            2. The rescission was reasonable in light of
                  the Acting Secretary’s determination that
                  DACA is unlawful ............................................. 31
Conclusion ................................................................................... 33
Appendix A — District court order (Jan. 9, 2018)................. 1a
Appendix B — District court notice of appeal
                        (Jan. 16, 2018) ............................................ 71a
Appendix C — District court order granting in part
                        defendants’ motion to dismiss under
                        FRCP 12(b)(6) (Jan. 12, 2018) .................. 76a
Appendix D — Memorandum on Exercising
                        Prosecutorial Discretion with Respect
                        to Individuals Who Came to the United
                        States as Children (June 15, 2012) .......... 95a
Appendix E — Memorandum on Exercising
                        Prosecutorial Discretion with Respect
                        to Individuals Who Came to the United
                        States as Children and with Respect to
                        Certain Individuals Who Are the
                        Parents of U.S. Citizens or Permanent
                        Residents (Nov. 20, 2014) ....................... 100a



                                             (III)




                                                                                                      App. 0961
                                              IV

Table of Contents—Continued:                                                                 Page

Appendix F — Memorandum on Rescission of Deferred
               Action for Childhood Arrivals
               (Sept. 5, 2017)........................................... 109a
Appendix G — Statutory provisions ................................... 118a

                         TABLE OF AUTHORITIES

Cases:

   Abbott Laboratories v. Gardner, 387 U.S. 136 (1967) ........ 29
   Arizona v. United States, 567 U.S. 387 (2012) ........... 2, 3, 18
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     cert. denied, 531 U.S. 811 (2000) ....................................... 22
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     Sys., Inc., 419 U.S. 281 (1974) ..................................... 24, 25
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     (2009) .................................................................................... 24
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   Heckler v. Chaney, 470 U.S. 821 (1985) ...................... passim
   I.C.C. v. Brotherhood of Locomotive Eng’rs,
     482 U.S. 270 (1987).......................................16, 18, 19, 20, 21
   Lewis v. Casey, 518 U.S. 343 (1996) ..................................... 33
   Lincoln v. Vigil, 508 U.S. 182 (1993) ....................... 16, 19, 20
   Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753
     (1994) .................................................................................... 33
   Massachusetts v. EPA, 549 U.S. 497 (2007) ................. 31, 32
   Mistretta v. United States, 488 U.S. 361 (1989) ................. 15
   Motor Vehicles Mfrs. Ass’n v. State Farm Mut.
     Auto. Ins. Co., 463 U.S. 29 (1983) .......................... 24, 29, 31
   Reno v. American-Arab Anti-Discrimination
     Comm., 525 U.S. 471 (1999) ..........................3, 18, 21, 22, 24




                                                                                                      App. 0962
                                             V

Cases—Continued:                                                                        Page
  Texas v. United States:
     86 F. Supp. 3d 591 (S.D. Tex.), aff ’d, 809 F.3d 134
        (5th Cir. 2015), aff ’d, 136 S. Ct. 2271 (2016) .............. 5
     809 F.3d 134 (5th Cir. 2015), aff ’d, 136 S. Ct. 2271
        (2016) ............................................... 5, 26, 27, 28, 29, 32
  Thunder Basin Coal Co. v. Reich, 510 U.S. 200
   (1994) .................................................................................... 23
  United States v. Armstrong, 517 U.S. 456 (1996) .............. 17
  United States v. Nixon, 418 U.S. 683 (1974)....................... 14
  United States v. Texas, 136 S. Ct. 2271 (2016) ..................... 5
  Vasquez v. Aviles, 639 Fed. Appx. 898 (3d Cir. 2016) ........ 22
  Wayte v. United States, 470 U.S. 598 (1985) ...................... 19
  Youngstown Sheet & Tube Co. v. Sawyer,
   343 U.S. 579 (1952).............................................................. 14

Constitution, statutes, and rules:

  U.S. Const. Amend. V (Due Process Clause) ..................... 11
  Administrative Procedure Act, 5 U.S.C. 551 et seq............ 14
     5 U.S.C. 701(a)(2).............................. 8, 15, 16, 18, 20, 118a
     5 U.S.C. 706(2)(A) .................................................. 24, 119a
  Clean Air Act, 42 U.S.C. 7401 et seq. ................................... 32
     42 U.S.C. 7521(a)(1) ......................................................... 32
  Federal Food, Drug, and Cosmetic Act,
   21 U.S.C. 301 et seq. ............................................................ 19
     21 U.S.C. 352(f )................................................................ 19
  Immigration and Nationality Act,
   8 U.S.C. 1101 et seq. .............................................................. 2
     8 U.S.C. 1103(a)(1)....................................................... 2, 26
     8 U.S.C. 1158(b)(1)(A) ....................................................... 3
     8 U.S.C. 1182(a) (2012 & Supp. IV 2016) ........................ 3
     8 U.S.C. 1182(d)(5)(A) ....................................................... 3




                                                                                                    App. 0963
                                           VI

Statutes and rules—Continued:                                                        Page
     8 U.S.C. 1182(h) ............................................................... 23
     8 U.S.C. 1182(i) ................................................................ 23
     8 U.S.C. 1227(a) ................................................................. 3
     8 U.S.C. 1229b.............................................................. 3, 23
     8 U.S.C. 1229c .................................................................. 23
     8 U.S.C. 1252 .................................................... 16, 21, 120a
     8 U.S.C. 1252(a)(1)................................................. 22, 120a
     8 U.S.C. 1252(a)(2)(B) ........................................... 23, 121a
     8 U.S.C. 1252(a)(2)(B)(i) ....................................... 23, 122a
     8 U.S.C. 1252(a)(2)(D) ........................................... 23, 122a
     8 U.S.C. 1252(b)(9) ................................................ 22, 129a
     8 U.S.C. 1252(g) ......................................8, 21, 22, 23, 134a
     8 U.S.C. 1255 .................................................................... 23
  Railway Labor Act, 45 U.S.C. 151 et seq. ............................ 21
  Regulatory Flexibility Act, 5 U.S.C. 601 et seq. ................... 7
  6 U.S.C. 202(5) ..................................................3, 18, 26, 30, 32
  28 U.S.C. 1254 ........................................................................ 13
  28 U.S.C. 1254(1) ................................................................... 13
  28 U.S.C. 1292(a)(1) ............................................................... 11
  28 U.S.C. 1292(b) ....................................................... 11, 12, 13
  28 U.S.C. 2101(e) ................................................................... 13
  Fed. R. App. P. 5(a) ............................................................... 12
  Fed. R. Civ. P.:
     Rule 12(b)(1) ............................................................ 7, 8, 12
     Rule 12(b)(6) .......................................................... 7, 11, 12
  Sup. Ct. R. 11 ......................................................................... 14

Miscellaneous:
  The White House, Remarks by the President on
   Immigration (June 15, 2012), https://go.usa.gov/
   xnZFY .................................................................................. 30




                                                                                                 App. 0964
                                        VII

Miscellaneous—Continued:                                                         Page
  Stephen M. Shapiro et al., Supreme Court Practice
   (10th ed. 2013) ............................................................... 13, 14
  U.S. Citizenship & Immigration Servs., Deferred
   Action for Childhood Arrivals: Response to Janu-
   ary 2018 Preliminary Injunction (Jan. 13, 2018),
   https://www.uscis.gov/humanitarian/deferred-
   action-childhood-arrivals-response-january-2018-
   preliminary-injunction. ...................................................... 10




                                                                                            App. 0965
In the Supreme Court of the United States
                       No.
UNITED STATES DEPARTMENT OF HOMELAND SECURITY,
               ET AL., PETITIONERS

                             v.
 REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.

        ON PETITION FOR A WRIT OF CERTIORARI
       BEFORE JUDGMENT TO THE UNITED STATES
       COURT OF APPEALS FOR THE NINTH CIRCUIT


         PETITION FOR A WRIT OF CERTIORARI
                 BEFORE JUDGMENT


   The Solicitor General, on behalf of the United States
Department of Homeland Security and other federal
parties, respectfully petitions for a writ of certiorari be-
fore judgment to the United States Court of Appeals for
the Ninth Circuit.
                    OPINIONS BELOW
   The order of the district court granting respondents’
motion for a preliminary injunction and denying the
government’s motion to dismiss under Federal Rule of
Civil Procedure 12(b)(1) (App., infra, 1a-70a) is not yet
published in the Federal Supplement but is available at
2018 WL 339144. A separate order of the district court
granting in part, and denying in part, the government’s
motion to dismiss under Federal Rule of Civil Proce-
dure 12(b)(6) (App., infra, 76a-94a) is not yet published


                             (1)




                                                               App. 0966
                             2

in the Federal Supplement but is available at 2018 WL
401177.
                      JURISDICTION
   On January 9, 2018, the district court denied the gov-
ernment’s Rule 12(b)(1) motion, entered a preliminary
injunction, and certified its Rule 12(b)(1) decision for in-
terlocutory appeal. On January 12, 2018, the district
court granted in part and denied in part the govern-
ment’s Rule 12(b)(6) motion and certified several of its
rulings for interlocutory appeal. The government filed
a notice of appeal of the order granting a preliminary
injunction on January 16, 2018 (App., infra, 71a-75a).
The same day, the government filed a petition for per-
mission to appeal both the January 9 and January 12
orders that the district court had certified for interloc-
utory appeal. The court of appeals’ jurisdiction over the
appeal of the preliminary injunction rests on 28 U.S.C.
1292(a)(1). The court of appeals’ jurisdiction over the
appeal of the certified rulings would rest on 28 U.S.C.
1292(b). The jurisdiction of this Court is invoked under
28 U.S.C. 1254(1) and 28 U.S.C. 2101(e).
         STATUTORY PROVISIONS INVOLVED
  Pertinent statutory provisions are set forth in the
appendix to this petition. App., infra, 118a-134a.
                       STATEMENT
   1. a. The Immigration and Nationality Act (INA),
8 U.S.C. 1101 et seq., charges the Secretary of Home-
land Security “with the administration and enforce-
ment” of the Act. 8 U.S.C. 1103(a)(1). Individual aliens
are subject to removal if, inter alia, “they were inad-
missible at the time of entry, have been convicted of cer-
tain crimes, or meet other criteria set by federal law.”
Arizona v. United States, 567 U.S. 387, 396 (2012); see




                                                               App. 0967
                             3

8 U.S.C. 1182(a) (2012 & Supp. IV 2016); see also
8 U.S.C. 1227(a). As a practical matter, however, the
federal government cannot remove every removable al-
ien, and a “principal feature of the removal system is
the broad discretion exercised by immigration offi-
cials.” Arizona, 567 U.S. at 396.
   For any alien subject to removal, Department of
Homeland Security (DHS) officials must first “decide
whether it makes sense to pursue removal at all.” Ari-
zona, 567 U.S. at 396. After removal proceedings begin,
government officials may decide to grant discretionary
relief, such as asylum, parole, or cancellation of removal.
See 8 U.S.C. 1158(b)(1)(A), 1182(d)(5)(A), 1229b. And, “[a]t
each stage” of the process, “the Executive has discretion to
abandon the endeavor.” Reno v. American-Arab Anti-
Discrimination Comm., 525 U.S. 471, 483 (1999) (AADC).
In making these decisions, like other agencies exercis-
ing enforcement discretion, DHS must engage in “a
complicated balancing of a number of factors which are
peculiarly within its expertise.” Heckler v. Chaney,
470 U.S. 821, 831 (1985). Recognizing the need for such
balancing, Congress has provided that the “Secretary
[of Homeland Security] shall be responsible for * * *
[e]stablishing national immigration enforcement poli-
cies and priorities.” 6 U.S.C. 202(5).
   b. In 2012, DHS announced the policy known as
Deferred Action for Childhood Arrivals (DACA). See
App., infra, 95a-99a (June 15, 2012 memorandum). De-
ferred action is a practice in which the Secretary exer-
cises discretion, “for humanitarian reasons or simply
for [her] own convenience,” to notify an alien of her de-
cision to forbear from seeking his removal for a desig-
nated period. AADC, 525 U.S. at 484. A grant of de-
ferred action does not confer lawful immigration status




                                                               App. 0968
                            4

or provide any defense to removal. DHS retains discre-
tion to revoke deferred action unilaterally, and the alien
remains removable at any time.
   DACA made deferred action available to “certain
young people who were brought to this country as chil-
dren.” App., infra, 95a. Under the original DACA pol-
icy, following successful completion of a background
check and other review, an alien would receive deferred
action for a period of two years, subject to renewal. Id.
at 97a-98a. The DACA policy made clear that it “con-
fer[red] no substantive right, immigration status or
pathway to citizenship,” because “[o]nly the Congress,
acting through its legislative authority, can confer these
rights.” Id. at 99a.
   In 2014, DHS created a new policy referred to as De-
ferred Action for Parents of Americans and Lawful Per-
manent Residents (DAPA). See App., infra, 100a-108a.
Through a process expressly designed to be “similar to
DACA,” DAPA made deferred action available for cer-
tain individuals who had a child who was a U.S. citizen
or lawful permanent resident. Id. at 105a. At the same
time, DHS also expanded DACA by extending the
deferred-action period from two to three years and by
loosening the age and residency criteria. Id. at 104a-105a.
   c. Soon thereafter, Texas and 25 other States
brought suit in the Southern District of Texas to enjoin
DAPA and the expansion of DACA. The district court
issued a nationwide preliminary injunction, finding a
likelihood of success on the claim that the DAPA and
expanded DACA memorandum was a “ ‘substantive’
rule that should have undergone the notice-and-
comment rule making procedure” required by the Ad-
ministrative Procedure Act (APA), 5 U.S.C. 551 et seq.




                                                              App. 0969
                            5

Texas v. United States, 86 F. Supp. 3d 591, 671 (2015); see
id. at 607, 647, 665-678.
    The Fifth Circuit affirmed the preliminary injunc-
tion, holding that the DAPA and expanded DACA poli-
cies likely violated both the APA and the INA. Texas v.
United States, 809 F.3d 134, 146, 170-186 (2015). The
court of appeals concluded that plaintiffs had “estab-
lished a substantial likelihood of success on the merits
of their procedural claim” that DAPA and expanded
DACA were invalidly promulgated without notice and
comment. Id. at 178. The court also concluded, “as an
alternate and additional ground,” that the policies were
substantively contrary to law. Ibid. The court observed
that the INA contains an “intricate system of immigra-
tion classifications and employment eligibility,” and
“flatly does not permit the reclassification of millions of
illegal aliens as lawfully present” and eligible for “fed-
eral and state benefits, including work authorization.”
Id. at 184. And it noted that Congress had repeatedly
declined to enact legislation “closely resembl[ing] DACA
and DAPA.” Id. at 185.
    After briefing and argument, this Court affirmed the
Fifth Circuit’s judgment by an equally divided Court,
United States v. Texas, 136 S. Ct. 2271, 2272 (2016) (per
curiam), leaving in place the nationwide injunction
against DAPA and the expansion of DACA.
    d. In June 2017, Texas and other plaintiff States in
the Texas case announced their intention to amend their
complaint to challenge the original DACA policy. App.,
infra, 17a. They asserted that “[f ]or the same reasons
that DAPA and Expanded DACA’s unilateral Executive
Branch conferral of eligibility for lawful presence and
work authorization was unlawful, the original June 15,




                                                              App. 0970
                             6

2012 DACA memorandum is also unlawful.” D. Ct. Doc.
64-1, at 239.
    On September 5, 2017, rather than engage in litiga-
tion in which DACA would be challenged on essentially
the same grounds that succeeded in Texas before the
same court, DHS decided to wind down the original
DACA policy in an orderly fashion. See App., infra,
109a-117a (Rescission Memo). In the Rescission Memo,
the Acting Secretary of Homeland Security explained
that, “[t]aking into consideration the Supreme Court’s
and the Fifth Circuit’s rulings in the ongoing litigation,”
as well as advice from the Attorney General that the
original DACA policy was unlawful and that the “poten-
tially imminent” challenge to DACA would “likely * * *
yield similar results” to the Texas litigation, “it is clear
that the June 15, 2012 DACA program should be termi-
nated.” Id. at 114a-115a. The Acting Secretary accord-
ingly announced that, “[i]n the exercise of [her] author-
ity in establishing national immigration policies and pri-
orities,” the June 15, 2012 memorandum was “re-
scind[ed].” Id. at 115a.
    In light of the “complexities associated with winding
down the program,” however, the Rescission Memo ex-
plained that DHS would “provide a limited window in
which it w[ould] adjudicate certain requests for DACA.”
App., infra, 115a. Specifically, DHS would “adjudicate—
on an individual, case-by-case basis—properly filed
pending DACA renewal requests * * * from current
beneficiaries that have been accepted by the Depart-
ment as of the date of this memorandum, and from cur-
rent beneficiaries whose benefits will expire between
the date of this memorandum and March 5, 2018 that
have been accepted by the Department as of October 5,
2017.” Id. at 115a-116a. The Rescission Memo further




                                                               App. 0971
                                    7

provided that the government “[w]ill not terminate the
grants of previously issued deferred action * * * solely
based on the directives in this memorandum” for the re-
maining two-year periods. Id. at 116a.
   2. Shortly after the Acting Secretary’s decision, re-
spondents brought these five related suits in the North-
ern District of California challenging the rescission of
DACA. App., infra, 19a-21a. Collectively, they allege
that the termination of DACA is unlawful because it vi-
olates the APA’s requirement for notice-and-comment
rulemaking; is arbitrary and capricious; violates the
Regulatory Flexibility Act, 5 U.S.C. 601 et seq.; denies
respondents equal protection and due process; and per-
mits the government to use information obtained
through DACA in a manner inconsistent with principles
of equitable estoppel. See App., infra, 21a-22a. Similar
challenges have been brought in district courts in New
York, Maryland, Virginia, Florida, and the District of
Columbia.
   In November 2017, the government filed a motion to
dismiss all five suits under Federal Rule of Civil Proce-
dure 12(b)(1) and (b)(6). 1 At the threshold, the govern-


 1
    The government filed the administrative record in October 2017.
Litigation ensued in which respondents sought and obtained orders
from the district court directing a vast expansion of the administra-
tion record, in addition to immediate discovery. See, e.g., D. Ct. Doc.
79 (Oct. 17, 2017). The government sought review of those orders in
a petition for a writ of mandamus in the court of appeals, which the
Ninth Circuit denied. See 875 F.3d 1200 (2017). After granting a
stay of the district court’s orders, see 138 S. Ct. 371 (2017), this Court
granted the government’s petition for a writ of certiorari, vacated the
Ninth Circuit’s judgment, and remanded for further proceedings. See
138 S. Ct. 443 (2017). On remand, the district court stayed its orders
requiring expansion of the administrative record and authorizing




                                                                             App. 0972
                                  8

ment argued that respondents’ claims are not reviewa-
ble because the Acting Secretary’s decision to rescind
DACA is committed to agency discretion by law, see
5 U.S.C. 701(a)(2); and because judicial review of the de-
nial of deferred action, if available at all, is barred under
the INA prior to the issuance of a final removal order,
see 8 U.S.C. 1252(g). The government further argued
that respondents’ substantive APA claims fail because
the Acting Secretary rationally explained her decision
to wind down the discretionary DACA policy given the
imminent risk of a nationwide injunction and her rea-
sonable conclusion that the policy is unlawful. Finally,
the government argued that respondents’ other claims
are without merit because the rescission of DACA is ex-
empt from notice-and-comment requirements; does not
violate principles of equal protection or due process;
and does not change the policies governing the use of
aliens’ personal information at all.
   Respondents opposed the government’s motion to
dismiss and filed a motion for a preliminary injunction,
seeking to prevent the government from rescinding the
DACA policy.
   3. On January 9, 2018, the district court denied the
motion to dismiss to the extent it was based on Rule
12(b)(1), and entered a preliminary injunction requiring
the government to “maintain the DACA program on a
nationwide basis.” App., infra, 66a; see id. at 1a-70a.

discovery “pending further order.” See D. Ct. Doc. 225 (Dec. 21,
2017). The court recently announced its view that “the order to com-
plete the administrative record should be re-issued” and certified
for interlocutory appeal. D. Ct. Doc. 240, at 1 (Jan. 12, 2018). It has
directed the parties to brief by January 19 “whether some narrow-
ing of the order is necessary or appropriate” before the order is re-
issued and “the extent to which * * * discovery should resume.” Id.
at 1-2.




                                                                          App. 0973
                            9

    The district court first ruled that the Acting Secre-
tary’s rescission of DACA was not committed to agency
discretion by law. The court acknowledged that an
agency’s decisions “not to prosecute or initiate enforce-
ment actions are generally not reviewable as they are
‘committed to an agency’s absolute discretion.’ ” App.,
infra, 27a (quoting Chaney, 470 U.S. at 831). But it con-
cluded that the rescission of DACA was different be-
cause it involved a “broad enforcement polic[y]” rather
than an “ ‘individual enforcement decision’ ”; it re-
scinded a policy of enforcement discretion, instead of
announcing a new one; and the “main” rationale for re-
scinding the prior policy was its “supposed illegality,”
which the court concluded it was authorized to decide.
Id. at 28a-30a (citation omitted). The court also con-
cluded that the INA did not preclude review because
“plaintiffs do not challenge any particular removal but,
rather, challenge the abrupt end to a nationwide
deferred-action and work-authorization program.” Id.
at 30a-31a.
    The district court then ruled that respondents were
entitled to a preliminary injunction, concluding that
they had demonstrated a likelihood of success on claims
that the rescission of DACA was arbitrary and capri-
cious. App., infra, 41a-62a. The court acknowledged
that “a new administration is entitled to replace old pol-
icies with new policies so long as they comply with the
law,” id. at 2a, and the court did not dispute that DACA
was a discretionary non-enforcement policy that was
neither mandated nor specifically authorized by statute.
The court nonetheless concluded that respondents were
likely to succeed on their claims both because “the
agency’s decision to rescind DACA was based on a
flawed legal premise” and because the government’s




                                                             App. 0974
                                  10

“supposed ‘litigation risk’ rationale” was an invalid
“post hoc rationalization” and, “in any event, arbitrary
and capricious.” Id. at 42a.
   Finding that respondents had satisfied the remain-
ing equitable requirements for an injunction, see App.,
infra, 62a-66a, the district court ordered the govern-
ment, “pending final judgment” or other order, “to
maintain the DACA program on a nationwide basis on
the same terms and conditions as were in effect before
the rescission on September 5, 2017.” Id. at 66a. The
court specifically directed that the government must
“allow[] DACA enrollees to renew their enrollments.”
Ibid. 2 The court also required DHS to post “reasonable
public notice that it will resume receiving DACA re-
newal applications” and to provide “summary reports to
the Court (and counsel)” every three months about “its
actions on all DACA-related applications.” Id. at 67a. 3

 2
    The district court identified certain “exceptions” to its injunc-
tion. The court specified “(1) that new applications from applicants
who have never before received deferred action need not be pro-
cessed; (2) that the advance parole feature need not be continued for
the time being for anyone; and (3) that defendants may take admin-
istrative steps to make sure fair discretion is exercised on an indi-
vidualized basis for each renewal application.” App., infra, 66a-67a.
The court also specified that “[n]othing in [its] order” would prohibit
DHS from “remov[ing] any individual, including any DACA enrol-
lee, who it determines poses a risk to national security or public
safety, or otherwise deserves, in its judgment, to be removed.” Id.
at 67a.
  3
    Consistent with the district court’s order, DHS has issued guid-
ance announcing that it has “resumed accepting requests to renew
a grant of deferred action under DACA.” U.S. Citizenship & Immi-
gration Servs., Deferred Action for Childhood Arrivals: Response
to January 2018 Preliminary Injunction (Jan. 13, 2018), https://
www.uscis.gov/humanitarian/deferred-action-childhood-arrivals-
response-january-2018-preliminary-injunction.




                                                                          App. 0975
                            11

   The district court certified its order for interlocutory
appeal under 28 U.S.C. 1292(b), to the extent it denied
the “questions interposed by the government in its mo-
tion to dismiss under [Rule] 12(b)(1).” App., infra, 70a.
   4. On January 12, 2018, the district court issued a
further order granting in part and denying in part the
government’s motion to dismiss to the extent it was
based on Rule 12(b)(6). App., infra, 76a-94a. The court
declined to dismiss respondents’ substantive APA
claims “[f ]or the same reasons” stated in its January 9
order. Id. at 77a. The court also declined to dismiss
respondents’ claims that the rescission of DACA vio-
lated principles of equal protection based on race, id. at
88a-92a, and that DHS had violated the Due Process
Clause by allegedly “chang[ing] its policy” on the use of
personal information “provided by DACA recipients,”
id. at 84a-86a. The court dismissed respondents’ re-
maining claims, including with respect to procedural
notice-and-comment, the Regulatory Flexibility Act,
procedural due process, equitable estoppel, and equal
protection based on a fundamental right to a job. Id. at
77a-84a, 86a-88a, 92a. The court certified various of its
holdings—including those adverse to the government—
for interlocutory appeal pursuant to 28 U.S.C. 1292(b).
See id. at 94a.
   5. The government filed timely notices of appeal of
the district court’s January 9 preliminary-injunction or-
der in each of the five suits. App., infra, 71a-75a; cf.
28 U.S.C. 1292(a)(1). The appeals have been consoli-
dated and docketed as No. 18-15068, and remain pend-
ing before the court of appeals. The government also
has filed a timely petition for permission to appeal from
the district court’s January 9 and January 12 orders
granting in part and denying in part the government’s




                                                              App. 0976
                           12

motion to dismiss under Rule 12(b)(1) and (b)(6); that
petition has been docketed as No. 18-80004. See
28 U.S.C. 1292(b); Fed. R. App. P. 5(a).
       REASONS FOR GRANTING THE PETITION
   This Court’s immediate review is warranted. The dis-
trict court has entered a nationwide injunction that re-
quires DHS to keep in place a policy of non-enforcement
that no one contends is required by federal law and that
DHS has determined is, in fact, unlawful and should be
discontinued. The district court’s unprecedented order
requires the government to sanction indefinitely an on-
going violation of federal law being committed by
nearly 700,000 aliens—and, indeed, to confer on them
affirmative benefits (including work authorization)—
pursuant to the DACA policy. That policy is materially
indistinguishable from the DAPA and expanded DACA
policies that the Fifth Circuit held were contrary to fed-
eral immigration law in a decision that four Justices of
this Court voted to affirm. Without this Court’s imme-
diate intervention, the court’s injunction will persist at
least for months while an appeal is resolved and, if the
court of appeals does not reverse the injunction, it could
continue for more than a year given the Court’s calendar.
   To be sure, some of these harms could be avoided by
a stay of the district court’s order. But a primary pur-
pose of the Acting Secretary’s orderly wind-down of the
DACA policy was to avoid the disruptive effects on all
parties of abrupt shifts in the enforcement of the Na-
tion’s immigration laws. Inviting more changes before
final resolution of this litigation would not further that
interest. Moreover, a stay would not address the insti-
tutional injury suffered by the United States of being
embroiled in protracted litigation over an agency deci-
sion that falls squarely within DHS’s broad discretion




                                                             App. 0977
                                  13

over federal immigration policy and that is not even ju-
dicially reviewable. A stay also would not address the
risk that the onerous discovery and administrative-
record orders that already justified this Court’s inter-
vention will be reinstated and create the need for addi-
tional rounds of interlocutory appellate review. Accord-
ingly, the government respectfully submits that the
most suitable and efficient way to vindicate the law in
these unique circumstances is to grant certiorari before
judgment and resolve the dispute this Term.
I. THE DECISION BELOW IS IN NEED OF IMMEDIATE
   REVIEW
   Congress has vested this Court with jurisdiction to
review “[c]ases in the courts of appeals * * * [b]y writ
of certiorari * * * before or after rendition of judgment
or decree.” 28 U.S.C. 1254(1) (emphasis added). “An
application * * * for a writ of certiorari to review a case
before judgment has been rendered in the court of ap-
peals may be made at any time before judgment.”
28 U.S.C. 2101(e). 4 This Court will grant certiorari be-
fore judgment “only upon a showing that the case is of
such imperative public importance as to justify devia-




 4
     By virtue of the government’s notice of appeal, the district
court’s preliminary-injunction order is already “in the court[] of ap-
peals” within the meaning of 28 U.S.C. 1254 and 2101(e). See Ste-
phen M. Shapiro et al., Supreme Court Practice § 2.4, at 85-86 (10th
ed. 2013). Accordingly, this petition is focused on the validity of that
order. If the court of appeals grants the government’s pending pe-
tition for interlocutory appeal, however, both the January 9 and Jan-
uary 12 orders will be “in the court[] of appeals” in their entirety,
28 U.S.C. 1254; see 28 U.S.C. 1292(b), and could therefore be re-
viewed by this Court.




                                                                           App. 0978
                                 14

tion from normal appellate practice and to require im-
mediate determination in this Court.” Sup. Ct. R. 11.
This case satisfies that standard.
    An immediate grant of certiorari is necessary in or-
der to obtain an appropriately prompt resolution of this
important dispute. Absent certiorari before judgment,
it is likely that even expedited proceedings in the Ninth
Circuit would entail many months of delay, during
which time the district-court injunction would require
the government to retain in place a discretionary policy
that sanctions the ongoing violation of federal law by
more than half a million people. Even if the losing party
were to seek certiorari immediately following the Ninth
Circuit’s decision, this Court would not be able to review
the decision in the ordinary course until next Term at
the earliest.
    From the start of these suits, all parties involved
have agreed that time is of the essence. Respondents,
the government, and the district court alike all have re-
peatedly asserted that a speedy resolution is critical. 5
This Court has granted certiorari before judgment in
order to promptly resolve other time-sensitive disputes,
and it should follow the same course here. See, e.g.,
Dames & Moore v. Regan, 453 U.S. 654, 668 (1981);
United States v. Nixon, 418 U.S. 683, 686-687 (1974);
Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,
584 (1952); cf. Stephen M. Shapiro et al., Supreme Court
Practice § 4.20, at 287-288 (10th ed. 2013) (collecting

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   See, e.g., D. Ct. Doc. 87, at 1 (Oct. 23, 2017) (district-court re-
sponse to mandamus petition) (declaring that “[t]ime is of the es-
sence”); 17-801 Regents Br. in Opp. 30 (emphasizing “the time-
sensitive nature of this case”); 9/21/2017 Tr. 18 (statement of gov-
ernment counsel) (“We think your suggestion to get to final judg-
ment quickly makes a lot of sense in this case.”).




                                                                         App. 0979
                           15

cases where “[t]he public interest in a speedy determi-
nation” warranted certiorari before judgment).
   Challenges to the rescission of the DACA policy are
currently pending before courts in the Second, Fourth,
Ninth, Eleventh, and District of Columbia Circuits, and
the plaintiffs in nearly all of them are seeking similar
nationwide injunctions. There can be no reasonable
question that, as in Texas, this Court’s review will be
warranted. The Court is already familiar with the rele-
vant issues in light of its consideration of the Texas
case. Additional burdensome discovery, vast expan-
sions of the administrative record, and privilege dis-
putes would only burden the courts and parties without
bringing any additional clarity to those issues. And
given that the Fifth Circuit’s decision in Texas held
DAPA and the DACA expansion unlawful, and (as ex-
plained below) that court’s reasoning applies to DACA
as well, only this Court can resolve the conflict in the
lower courts and provide much-needed clarity to the
government and DACA recipients alike. See Mistretta
v. United States, 488 U.S. 361, 371 (1989) (granting cer-
tiorari before judgment where constitutionality of sen-
tencing guidelines presented question of “ ‘imperative
public importance’ ” and had resulted in “disarray
among the Federal District Courts”) (citation omitted).
II. THE DECISION BELOW IS WRONG
   Review is further warranted because the decision be-
low is incorrect. The Acting Secretary’s decision to re-
scind DACA—which is simply a policy of enforcement
discretion—is a classic determination that is “commit-
ted to agency discretion by law,” 5 U.S.C. 701(a)(2), and
therefore unreviewable under the APA. Even if DHS’s
prospective denial of deferred action were reviewable,
the individual respondents could not obtain such review




                                                            App. 0980
                           16

unless and until a final order of removal were entered
against them. See 8 U.S.C. 1252. And even if it were
reviewable now under the APA, the decision to rescind
the DACA policy was not arbitrary and capricious. The
Acting Secretary opted to wind down DACA after rea-
sonably concluding that the policy was likely to be
struck down by courts and indeed was unlawful.
   A. The Rescission Memo Is Not Reviewable
   1. a. The APA precludes review of agency actions
that are “committed to agency discretion by law.”
5 U.S.C. 701(a)(2). “Over the years,” this Court has in-
terpreted that provision to apply to various types of
agency decisions that “traditionally” have been re-
garded as unsuitable for judicial review. Lincoln v.
Vigil, 508 U.S. 182, 191 (1993). Section 701(a)(2) pre-
cludes review, for example, of an agency’s decision not
to institute enforcement actions, Heckler v. Chaney,
470 U.S. 821, 831 (1985); an agency’s refusal to recon-
sider a prior decision based on an alleged “material er-
ror,” I.C.C. v. Brotherhood of Locomotive Eng’rs,
482 U.S. 270, 282 (1987); and an agency’s allocation of
funds from a lump-sum appropriation, Lincoln, 508 U.S.
at 192. Such exercises of discretion, the Court has ex-
plained, often require “a complicated balancing of a
number of factors which are peculiarly within [the
agency’s] expertise.” Chaney, 470 U.S. at 831.
   With respect to an agency’s enforcement discretion
in particular, an agency may “not only assess whether a
violation has occurred,” but “whether agency resources
are best spent on this violation or another”; whether en-
forcement in a particular scenario “best fits the agen-
cy’s overall policies”; and whether the agency “has
enough resources to undertake the action at all.”
Chaney, 470 U.S. at 831. In addition, the Court has




                                                            App. 0981
                           17

noted that when an agency declines to enforce, it “gen-
erally does not exercise its coercive power over an indi-
vidual’s liberty or property rights, and thus does not in-
fringe upon areas that courts often are called upon to
protect.” Id. at 832. In this way and others, agency en-
forcement discretion “shares to some extent the char-
acteristics of the decision of a prosecutor in the Execu-
tive Branch not to indict—a decision which has long
been regarded as the special province of the Executive
Branch.” Ibid.
   b. The Acting Secretary’s decision to discontinue an
existing policy of enforcement discretion falls well with-
in the types of agency decisions that traditionally have
been understood as “committed to agency discretion.”
Like the decision to adopt a policy of selective non-
enforcement, the decision whether to retain such a pol-
icy can “involve[] a complicated balancing” of factors
that are “peculiarly within the expertise” of the agency,
including determining how the agency’s resources are
best spent and how the non-enforcement policy fits with
the agency’s overall policies. Chaney, 470 U.S. at 831.
Likewise, a decision to abandon an existing non-
enforcement policy will not, in itself, bring to bear the
agency’s coercive power over any individual. Indeed, an
agency’s decision to reverse a prior policy of civil non-
enforcement is akin to changes in policy as to criminal
prosecutorial discretion, which regularly occur within
the U.S. Department of Justice both within and between
presidential administrations, and which have never
been considered amenable to judicial review. See
United States v. Armstrong, 517 U.S. 456, 464 (1996)
(“[T]he decision whether or not to prosecute, and what
charge to file or bring before a grand jury, generally




                                                             App. 0982
                           18

rests entirely in [the prosecutor’s] discretion.”) (empha-
sis added) (citation omitted).
    This presumption of nonreviewability applies with
particular force when it comes to immigration. On top
of the general concerns implicated in any enforcement
decision, in the immigration context a decision not to en-
force tolerates not merely past misconduct but a
“continuing violation of United States law.” Reno v.
American-Arab Anti-Discrimination Comm., 525 U.S.
471, 490 (1999). In addition, the “dynamic nature of re-
lations with other countries requires the Executive
Branch to ensure that [immigration] enforcement poli-
cies are consistent with this Nation’s foreign policy.”
Arizona v. United States, 567 U.S. 387, 396-397 (2012).
Given these realities, the “broad discretion exercised by
immigration officials” has become a “principal feature
of the removal system.” Id. at 396. In the absence of a
statutory directive establishing “substantive priorities”
or “otherwise circumscribing” the agency’s discretion,
Chaney, 470 U.S. at 833, the Court has found it “impos-
sib[le]” to “devis[e] an adequate standard of review for
such agency action,” Brotherhood of Locomotive
Eng’rs, 482 U.S. at 282. Respondents have not identi-
fied any such statutory directive here. To the contrary,
Congress has specifically empowered the Secretary of
Homeland Security to “[e]stablish[] national immigra-
tion enforcement policies and priorities.” 6 U.S.C.
202(5). The revocation of an existing policy establishing
such enforcement policies and priorities is therefore a
decision that is “committed to agency discretion by
law,” 5 U.S.C. 701(a)(2), and not subject to arbitrary-
and-capricious review.




                                                             App. 0983
                            19

    c. The district court’s reasons for rejecting that con-
clusion are both flatly inconsistent with this Court’s
precedents and unpersuasive on their own terms.
    First, the district court reasoned that the rescission
of the DACA policy was reviewable because it ad-
dressed “broad enforcement policies,” instead of an in-
dividual enforcement decision. App., infra, 28a. That is
irrelevant. Agency decisions about how its “resources
are best spent” or how certain enforcement activity “best
fits the agency’s overall policies,” Chaney, 470 U.S. at
831, are at least as susceptible to implementation
through broad guidance as through case-by-case en-
forcement decisions. See, e.g., Wayte v. United States,
470 U.S. 598, 601-603 (1985). Conversely, individual en-
forcement decisions are regularly informed by interpre-
tations of the agency’s substantive statute to determine
“whether a violation has occurred.” Ibid.; see Brother-
hood of Locomotive Eng’rs, 482 U.S. at 283 (“[A] com-
mon reason for failure to prosecute an alleged criminal
violation is the prosecutor’s belief (sometimes publicly
stated) that the law will not sustain a conviction.”).
    The non-enforcement decision in Chaney was not an
individualized decision by the Food and Drug Admin-
istration (FDA) to forgo enforcement of the Federal
Food, Drug, and Cosmetic Act (FDCA) against a partic-
ular alleged violator. Rather, the FDA concluded that,
as a matter of the agency’s discretion, it would categor-
ically not enforce the FDCA’s misbranding prohibition,
21 U.S.C. 352(f ), against the use of certain drugs for
capital punishment when those drugs had been ap-
proved by the FDA only for other medical purposes.
470 U.S. at 824-825. And, in Lincoln, the Indian Health
Service’s unreviewable decision reallocated funds from
an entire regional treatment program in the Southwest




                                                              App. 0984
                           20

to other nationwide Service programs, not from an indi-
vidual’s treatment plan. 508 U.S. at 184, 188. The ques-
tion for purposes of Section 701(a)(2) is whether the
agency’s decision is inherently discretionary in nature,
not the number of people to whom it applies.
   Second, the district court reasoned that the rescis-
sion of the DACA policy was reviewable because, rather
than adopting a policy of non-enforcement, it rescinded
one. App., infra, 29a-30a. The DACA policy, the court
determined, had “become an important program for
DACA recipients and their families” and others, ibid.,
and “[a]n agency action to terminate [an existing policy]
bears no resemblance to an agency decision not to reg-
ulate something never before regulated.” Id. at 30a.
That is not so. As explained above, a decision whether
to retain an enforcement policy implicates all of the
same considerations about agency priorities and re-
sources that inform the decision to adopt such a policy
in the first instance. In Lincoln, for example, the In-
dian Health Service had operated its regional service
for seven years, providing important medical treatment
to disabled Indian children on which the recipients had
undoubtedly come to rely. See 508 U.S. at 185-188. But
notwithstanding that reliance, because nothing in the
relevant statutes constrained the Service’s discretion,
this Court held that the Service’s decision to discon-
tinue the program was “committed to agency discretion
by law.” The same is true here.
   Third, the district court concluded that the Acting
Secretary’s decision was reviewable because it was
based in substantial part on her view of the legality of
the original DACA policy. App., infra, 30a. In the
court’s view, “[t]he main, if not exclusive, rationale for




                                                             App. 0985
                            21

ending DACA was its supposed illegality,” and “deter-
mining illegality is a quintessential role of the courts.”
Ibid. As the court itself recognized, however, that rea-
soning cannot suffice: “[A] presumptively unreviewable
agency action does not become reviewable simply be-
cause ‘the agency gives a reviewable reason for other-
wise unreviewable action.’ ” Id. at 30a n.7 (quoting
Brotherhood of Locomotive Eng’rs, 482 U.S. at 283).
Thus, in Brotherhood of Locomotive Engineers, the
ICC’s decision not to reconsider a prior decision was un-
reviewable, even though the agency based that denial
on an interpretation of its legal obligations under the
Railway Labor Act, 45 U.S.C. 151 et seq. 482 U.S. at
276, 283. And in Chaney, the FDA’s decision not to en-
force the misbranding prohibition did not become re-
viewable even though it was based, in part, on the
agency’s understanding of its authority to initiate such
proceedings. 470 U.S. at 824.
   2. At a minimum, Congress has foreclosed district
courts from adjudicating collateral attacks on the Act-
ing Secretary’s discretionary enforcement decisions and
policies in the manner pursued by respondents here.
   a. Under 8 U.S.C. 1252, judicial review of DHS en-
forcement decisions is generally available, if at all, only
through the review procedures of removal orders set
forth in that section. In particular, Section 1252(g)
states that “[e]xcept as provided in this section * * * no
court shall have jurisdiction to hear any cause or claim
by or on behalf of any alien arising from the decision or
action by the [Secretary of Homeland Security] to com-
mence proceedings, adjudicate cases, or execute removal
orders against any alien under this subchapter.” In
AADC, this Court explained that Section 1252(g) is “de-




                                                              App. 0986
                                 22

signed to give some measure of protection to ‘no de-
ferred action’ decisions and similar discretionary deter-
minations, providing that if they are reviewable at all,
they at least will not be made the bases for separate
rounds of judicial intervention outside the streamlined
process that Congress has designed.” 525 U.S. at 485.
   The Acting Secretary’s rescission of the DACA pol-
icy is such a “ ‘no deferred action’ decision[],” AADC,
525 U.S. at 485, and is an ingredient in the agency’s
“commence[ment] [of ] proceedings” against aliens who
are unlawfully in the country, 8 U.S.C. 1252(g). Thus,
to the extent the rescission of the DACA policy is re-
viewable at all, it is reviewable only as otherwise “pro-
vided in [Section 1252],” ibid.—that is, through “[ j]udi-
cial review of a final order of removal,” 8 U.S.C.
1252(a)(1). See, e.g., Vasquez v. Aviles, 639 Fed. Appx.
898, 901 (3d Cir. 2016) (concluding that, under Section
1252(g), “[t]he District Court therefore lacked jurisdic-
tion to consider [plaintiff ’s] challenge to his denial of
DACA relief ”); Botezatu v. INS, 195 F.3d 311, 314 (7th
Cir. 1999) (“Review of refusal to grant deferred action
is * * * excluded from the jurisdiction of the district
court.”), cert. denied, 531 U.S. 811 (2000). That conclu-
sion is also reflected in 8 U.S.C. 1252(b)(9), which chan-
nels into the review of final removal orders all questions
of fact or law arising from any action taken to remove
an alien from the United States. See AADC, 525 U.S.
at 483 (characterizing Section 1252(b)(9) as an “unmis-
takable ‘zipper’ clause”). 6

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    Even in instances where the statutory text less clearly precludes
review, this Court has held that, where it is fairly discernible that
Congress intends a particular review scheme to be exclusive, a
plaintiff is not permitted to circumvent that exclusive scheme by fil-
ing a preemptive district-court action, but must instead present its




                                                                         App. 0987
                                23

   The conclusion that Congress intended to foreclose
collateral review of the Acting Secretary’s prospective
rescission of a discretionary deferred-action policy is
consistent with Congress’s treatment of other kinds of
discretionary DHS actions. For example, in 8 U.S.C.
1252(a)(2)(B), Congress provided that “no court shall
have jurisdiction to review” judgments regarding the
grant or denial of specified forms of discretionary
relief—including cancellation of removal, voluntary de-
parture, certain waivers of inadmissibility, and adjust-
ment of status. See 8 U.S.C. 1252(a)(2)(B)(i) (citing
8 U.S.C. 1182(h), 1182(i), 1229b, 1229c, 1255). Congress
provided a limited exception to that jurisdictional bar
for “review of constitutional claims or questions of law,”
8 U.S.C. 1252(a)(2)(D), but it mandated that any such
review occur only “upon a petition for review [of a final
order of removal] filed with an appropriate court of ap-
peals in accordance with this section,” ibid. See, e.g.,
Green v. Napolitano, 627 F.3d 1341, 1347 (10th Cir. 2010).
   b. The district court concluded that Section 1252(g)
does not apply because respondents challenged “the
across-the-board cancellation of a nationwide pro-
gram,” and did so “prior to the commencement of any
removal proceedings” against respondents. App., infra,
31a-32a. But none of that matters. The denial of de-
ferred action is a step toward the commencement of re-
moval proceedings against an alien. Respondents can-
not escape the INA’s careful scheme for such proceed-
ings simply by filing suit before the agency has officially
initiated an enforcement proceeding against them. See
Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207-208

claims or defenses through the review scheme established by Con-
gress. See Elgin v. Department of Treasury, 567 U.S. 1, 8-10 (2012);
Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207-209 (1994).




                                                                       App. 0988
                            24

(1994). Respondents’ claims, “if they are reviewable at
all,” must be litigated in removal proceedings, not
through “separate rounds of judicial intervention” in
federal district court. AADC, 525 U.S. at 485.
   B. The Rescission Memo Is Lawful
   Even if the Acting Secretary’s decision is reviewable
under the APA, it is plainly valid. Under the APA, the
Acting Secretary’s decision must be upheld unless it is
“arbitrary, capricious, an abuse of discretion, or other-
wise not in accordance with law.” 5 U.S.C. 706(2)(A).
That standard of review is “narrow,” Motor Vehicles
Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S.
29, 43 (1983), and requires only that the “agency ‘exam-
ine the relevant data and articulate a satisfactory expla-
nation for its action,’ ” FCC v. Fox Television Stations,
Inc., 556 U.S. 502, 513 (2009) (citation omitted). “[A]
court is not to substitute its judgment for that of the
agency,” State Farm, 463 U.S. at 43, and should “uphold
a decision of less than ideal clarity if the agency’s path
may reasonably be discerned,” Bowman Transp., Inc.
v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281, 286
(1974). The Acting Secretary’s decision to begin an or-
derly wind-down of a policy of enforcement discretion
that indisputably was not required by law—based on
her grave concerns about the legality of that policy, and
her knowledge that an impending lawsuit likely would
have brought the policy to an immediate and disruptive
end—easily passes that test.
      1. The rescission was reasonable in light of the Fifth
         Circuit’s decision and the impending litigation
   The Acting Secretary reasonably rested her decision
on her assessment of the risks presented by maintain-




                                                               App. 0989
                           25

ing a policy (original DACA) that was materially indis-
tinguishable to ones (expanded DACA and DAPA) that
had been struck down by the Fifth Circuit in a decision
affirmed by this Court—and she did so in the face of the
threat by Texas and other States to challenge DACA on
the same grounds. That rationale alone provides a per-
missible reason for initiating an orderly wind-down of
the policy.
   a. The district court improperly rejected this ra-
tionale as a “post hoc rationalization[]” for the Acting
Secretary’s decision. App., infra, 55a. In the court’s
view, “[t]he Attorney General’s letter and the Acting
Secretary’s memorandum can only be reasonably read
as stating DACA was illegal and that, given that DACA
must, therefore, be ended, the best course was ‘an or-
derly and efficient wind-down process,’ rather than a
potentially harsh shutdown in the Fifth Circuit.” Id. at
56a. But that is plainly not the only rationale that “may
reasonably be discerned” from the Rescission Memo.
Bowman, 419 U.S. at 286. In that memorandum, the
Acting Secretary recounted in significant detail the lit-
igation surrounding the DAPA and expanded DACA
policies. See App., infra, 111a-114a. The memorandum
noted that the agency’s prior June 2017 decision to dis-
continue DAPA and expanded DACA was made after
“considering the [government’s] likelihood of success on
the merits of th[at] ongoing litigation.” Id. at 114a. It
described the subsequent letter from Texas and other
States to the Attorney General notifying him of those
States’ intention to amend the existing lawsuit to chal-
lenge the original DACA policy. Ibid. It quoted the At-
torney General’s statement that “it is likely that poten-
tially imminent litigation would yield similar results
with respect to DACA.” Ibid. And it stated that, in light




                                                            App. 0990
                            26

of the foregoing, and “[i]n the exercise of [her] authority
in establishing national immigration policies and prior-
ities,” the Acting Secretary had decided that the DACA
policy “should” be terminated and wound down in “an
efficient and orderly fashion.” Id. at 115a; cf. 6 U.S.C.
202(5). A reasonable reading of the Rescission Memo is
that the Acting Secretary’s decision was informed by
the risk that the government was not “likel[y]” to “suc-
ce[ed]” on the merits of the “imminent litigation.” App.,
infra, 114a.
    The district court also posited that litigation risk
could not have been a rationale for the Acting Secre-
tary’s decision because, “once the Attorney General had
determined that DACA was illegal, the Acting Secre-
tary had to accept his ruling as ‘controlling.’ ” App., in-
fra, 56a (citing 8 U.S.C. 1103(a)(1)). But even if the Act-
ing Secretary were bound by the Attorney General’s le-
gal determination as to DACA’s unlawfulness, that is
not inconsistent with the Acting Secretary’s assertion
of an additional, independent litigation-risk rationale
for winding down the policy.
    b. The Acting Secretary’s rationale was eminently
reasonable. In Texas v. United States, the Fifth Circuit
concluded that DAPA and expanded DACA were unlaw-
ful on both procedural and substantive grounds. 809 F.3d
at 178 (2015); see id. at 147 n.11 (including the “DACA
expansions” within the opinion’s references to “DAPA”).
The entirety of the Fifth Circuit’s reasoning applies
equally to the original DACA policy. With respect to
procedure, the Fifth Circuit concluded that the memo-
randum expanding DACA and creating DAPA was not
exempt from notice and comment as a statement of pol-
icy because of how the original DACA policy had been
implemented. See id. at 171-178. The court found that,




                                                              App. 0991
                             27

“[a]lthough the DAPA Memo facially purports to confer
discretion,” in fact it would operate as a binding state-
ment of eligibility for deferred action because that is
how the original DACA policy had been implemented.
Id. at 171; see id. at 174 n.139.
    As a matter of substance, the Fifth Circuit held that
DAPA and expanded DACA were contrary to the INA
because (1) “[i]n specific and detailed provisions,” the
INA already “confers eligibility for ‘discretionary re-
lief,’ ” including “narrow classes of aliens eligible for de-
ferred action,” 809 F.3d at 179 (citation omitted); (2) the
INA’s otherwise “broad grants of authority” could not
reasonably be construed to assign to the Secretary the
authority to create additional categories of aliens of
“vast ‘economic and political significance,’ ” id. at 182-
183 (citations omitted); (3) DAPA and expanded DACA
were inconsistent with historical deferred-action poli-
cies because they were not undertaken on a “country-
specific basis * * * in response to war, civil unrest, or
natural disasters” nor served as a “bridge[] from one
legal status to another,” id. at 184 (citation omitted);
and (4) “Congress ha[d] repeatedly declined to enact
the Development, Relief, and Education for Alien Mi-
nors Act (‘DREAM Act’), features of which closely re-
semble DACA and DAPA.” Id. at 185 (footnote omit-
ted). Every one of those factors also applies to the orig-
inal DACA policy.
    c. The district court here nevertheless faulted the
Acting Secretary for failing to address perceived dis-
tinctions between DACA and the DAPA and expanded
DACA policies. App., infra, 57a-58a; see id. at 51a-54a.
It is true enough that the Fifth Circuit noted that “any
extrapolation from DACA [to DAPA] must be done
carefully.” Texas, 809 F.3d at 173. The differences it




                                                                App. 0992
                            28

noted, however, were reasons why DAPA might be law-
ful even if DACA were not, rather than the other way
around. See id. at 174 (noting that the “DAPA Memo
contain[ed] additional discretionary criteria”). And, in
any event, the Fifth Circuit went on to affirm, “under
any standard of review,” the district court’s comparison
of the policies. Id. at 174 n.139.
    The district court suggested that DAPA might have
been more vulnerable to challenge because “Congress
had already established a pathway to lawful presence for
alien parents of citizens,” while “no such analogue” exists
for DACA recipients. App., infra, 54a. That reasoning
is entirely backward. If Congress’s creation of pathways
to lawful presence is relevant at all, then the fact that
Congress has done so only for DAPA recipients—and not
DACA recipients—surely must render DACA more in-
consistent with the INA. In any event, the basis of the
Fifth Circuit’s Texas decision was not the existence of a
particular statutory pathway to lawful presence, but the
“specific and intricate provisions” of the INA as a whole
addressing discretionary relief. 809 F.3d at 186. Those
provisions no more include DACA recipients than those
of DAPA. As confirmation of that fact, the Fifth Circuit
also affirmed the injunction with respect to expanded
DACA—which differed from the original DACA policy
only in the length of the deferred-action period and in its
modified age and duration-of-residence requirements.
    The district court also reasoned that DACA might be
distinguishable from DAPA because 689,800 aliens are
recipients of DACA, whereas 4.3 million aliens poten-
tially qualified for DAPA. App., infra, 54a. But what-
ever the ultimate number of individuals that might be
affected, there can be no debate that DACA is, like
DAPA and expanded DACA, a policy of “vast ‘economic




                                                              App. 0993
                                29

and political significance,’ ” to which the Fifth Circuit’s
reasoning would apply. Texas, 809 F.3d at 183 (citations
omitted). By contrast, the type of historical deferred-
action practices that the Fifth Circuit suggested might
be permissible were much more “limited in time and ex-
tent, affecting only a few thousand aliens for months or,
at most, a few years.” Id. at 185 n.197. The Acting Sec-
retary did not act arbitrarily in failing to credit a dis-
tinction between DACA and DAPA that the Fifth Cir-
cuit had expressly rejected.
    Finally, the district court erred in suggesting that,
whether or not the original DACA policy was unlawful
as it had been implemented, it could have been fixed “by
simply insisting on exercise of discretion” in individual
cases. App., infra, 54a. The Fifth Circuit relied on the
lack of individual discretion only for its conclusion that
the DAPA Memorandum was procedurally unlawful, not
substantively so. Thus, even if the Acting Secretary
could have altered the DACA policy sufficiently to over-
come that concern, there is no indication that it would
have changed the Fifth Circuit’s substantive conclusion—
at least unless the change were so drastic as to return to
a practice of “single, ad hoc grants of deferred action
made on a genuinely case-by-case basis,” Texas, 809 F.3d
at 186 n.202, which is precisely what the rescission of the
DACA policy achieves. 7

 7
    Nor did the Acting Secretary “fail[] to consider an important
aspect of the problem,” State Farm, 463 U.S. at 43, by not discuss-
ing the possibility of defending DACA on the basis of laches. App.,
infra, 57a. That doctrine may provide a defense in an APA action
against the government where a plaintiff ’s unreasonable delay in
bringing suit prejudiced the government. See Abbott Laboratories
v. Gardner, 387 U.S. 136, 155 (1967). The district court did not ex-
plain what prejudice the government might have established from
Texas’s failure to bring suit earlier.




                                                                       App. 0994
                                30

   d. The district court also ruled that the Acting Sec-
retary’s decision was arbitrary and capricious because
she “should have—but did not—weigh DACA’s pro-
grammatic objectives as well as the reliance interests of
DACA recipients.” App., infra, 58a. By its own terms,
however, DACA made deferred action available for only
two-year periods, which could “be terminated at any
time at the agency’s discretion.” Id. at 102a. When he
announced DACA in 2012, President Obama explained
that it was a “temporary stopgap measure,” not a “per-
manent fix.” The White House, Remarks by the Presi-
dent on Immigration (June 15, 2012), https://go.usa.
gov/xnZFY. And he urged Congress to act “because
these kids deserve to plan their lives in more than two-
year increments.” Ibid. Even assuming DACA was
lawful, a discretionary policy that can be revoked at any
time cannot create legally cognizable reliance interests
—and certainly not beyond the stated duration (gener-
ally two years) of deferred-action grants. Nothing in
the INA prevents the Secretary of Homeland Security
from changing her “national immigration enforcement
policies and priorities.” 6 U.S.C. 202(5). 8




 8
    In any event, the Acting Secretary’s decision was respectful of
the interests of existing DACA recipients. Based on her reasonable
evaluation of the litigation risk posed by the imminent lawsuit
against the DACA policy, the choice she faced was between a grad-
ual, orderly, and administrative wind-down of the policy, and the
risk of an immediate, disruptive, and court-imposed one. Her deci-
sion to phase out the policy over a two-and-a-half-year period, per-
mitting a period of additional renewals and permitting renewed and
existing grants of deferred action to expire by their terms was, by
far, the more humane choice.




                                                                       App. 0995
                            31

      2. The rescission was reasonable in light of the Acting
         Secretary’s determination that DACA is unlawful
   The Acting Secretary’s decision is independently
supported by her reasonable conclusion, informed by
the Attorney General’s advice, that indefinitely contin-
uing the DACA policy would itself have been unlawful.
As detailed above, the Fifth Circuit had already con-
cluded that the DAPA and expanded DACA policies
were procedurally and substantively invalid in a deci-
sion that four Justices of this Court voted to affirm. See
pp. 26-27, supra. The Attorney General expressed his
agreement with the conclusion reached by the Fifth Cir-
cuit in a decision that applies equally to the original
DACA policy. See App., infra, 114a (concluding that
the DACA policy was “effectuated * * * without proper
statutory authority and with no established end-date,
after Congress’ repeated rejection of proposed legisla-
tion that would have accomplished a similar result”). It
cannot be that the Acting Secretary’s decision to re-
scind DACA on the basis of the Fifth Circuit’s decision,
this Court’s equally divided affirmance, and the Attor-
ney General’s opinion was the type of “clear error of
judgment,” State Farm, 463 U.S. at 43 (citation omit-
ted), that would make it arbitrary and capricious under
the APA.
   The district court concluded that the Acting Secre-
tary could not rely on an assessment of DACA’s legality
unless it was correct as a matter of law. See App., infra,
42a (“When agency action is based on a flawed legal
premise, it may be set aside as ‘arbitrary, capricious, an
abuse of discretion, or otherwise not in accordance with
law.’ ”) (citing Massachusetts v. EPA, 549 U.S. 497, 532
(2007)). Relying on the Secretary’s broad discretion in




                                                                App. 0996
                                32

“[e]stablishing national immigration enforcement poli-
cies and priorities,” 6 U.S.C. 202(5), and DHS’s “long
and recognized practice” of granting deferred action
(along with work authorization and other benefits) on a
programmatic basis, the court concluded that, in its
view, DACA was lawful. App., infra, 45a; see id. at 42a-
48a. But the Fifth Circuit rejected those precise con-
siderations when offered in support of the DAPA and
expanded DACA policies. See Texas, 809 F.3d at 183.
   More fundamentally, the district court was wrong to
conclude that the Acting Secretary’s discretionary deci-
sion to end a particular enforcement policy of doubtful
legality must automatically be set aside if a court sub-
sequently decides that the policy was lawful. App.,
infra, 42a. The court relied on this Court’s decision in
Massachusetts v. EPA, supra, for that proposition. But
in that case a provision of the Clean Air Act spoke di-
rectly to the agency decision at issue, and required EPA
to regulate any air pollutant which the agency con-
cluded endangered public health or welfare. See
42 U.S.C. 7521(a)(1) (mandating that the EPA Adminis-
trator “shall” prescribe standards). The agency had
“refused to comply with this clear statutory command”
in part because it misunderstood its authority. 549 U.S.
at 533. By contrast here, no one contends that the INA
requires DHS to continue the DACA policy of deferred
action. Rather, the DACA policy was created as a mat-
ter of the Acting Secretary’s broad discretion to set en-
forcement priorities. After careful review, she deter-
mined to rescind that discretionary policy, and nothing
in either the APA or INA demands setting aside her
lawful determination. 9

 9
   The district court also erred in enjoining the rescission of DACA
on a “nationwide basis.” App., infra, 66a. As the government has




                                                                       App. 0997
                                  33
                           CONCLUSION
   The petition for a writ of certiorari before judgment
should be granted.
   Respectfully submitted.
                                       NOEL J. FRANCISCO
                                         Solicitor General
                                       CHAD A. READLER
                                         Acting Assistant Attorney
                                          General
                                       JEFFREY B. WALL
                                         Deputy Solicitor General
                                       HASHIM M. MOOPPAN
                                         Deputy Assistant Attorney
                                          General
                                       JONATHAN Y. ELLIS
                                         Assistant to the Solicitor
                                          General
                                       MARK B. STERN
                                       ABBY C. WRIGHT
                                       THOMAS PULHAM
                                         Attorneys
JANUARY 2018




explained in its pending petition for a writ of certiorari in Trump v.
Hawaii, No. 17-965 (filed Jan. 5, 2018), both constitutional and eq-
uitable principles require that injunctive relief be limited to a plain-
tiff ’s own cognizable injuries. See Lewis v. Casey, 518 U.S. 343, 357
(1996); Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765
(1994). The district court’s injunction contravenes that settled rule
by sweeping far more broadly than redressing the harms of the spe-
cific respondents in this case.




                                                                           App. 0998
          
          
          
          
          
          
    Exhibit 13    

 

 

 

 

 

 

 

 

 

 

 

 




                     App. 0999
                                                                       Si::cretary
                                                                        U.S. Department of Homeland Security
                                                                        Washington, DC 20528




                                                                        Homeland
                                                                        Security


                               February 20, 2017

MEMORANDUM FOR:                Kevin McAleenan
                               Acting Commissioner
                               U.S. Customs and Border Protection

                               Thomas D. Homan
                               Acting Director
                               U.S. Immigration and Customs Enforcement

                               Lori Scialabba
                               Acting Director
                               U.S. Citizenship and Immigration Services

                               Joseph B. Maher
                               Acting General Counsel

                               Dimple Shah
                               Acting Assistant Secretary for International Affairs

                               Chip Fulghum
                               Acting Undersecretary for Management

FROM:                          John Kelly
                               Secretary

SUBJECT:                       Enforcemen of the Immigration Laws to Serve the National
                               Interest

        This memorandum implements the Executive Order entitled "Enhancing Public Safety in
the Interior of the United States," issued by the President on January 25, 2017. It constitutes
guidance for all Department personnel regarding the enforcement of the immigration laws of the
United States, and is applicable to the activities of U.S. Immigration and Customs Enforcement
(ICE), U.S. Customs and Border Protection (CBP), and U.S. Citizenship and Immigration
Services (USCIS). As such, it should inform enforcement and removal activities, detention
decisions, administrative litigation, budget requests and execution, and strategic planning.



                                                                         www.dhs.gov       App. 1000
            With the exception of the June 15, 2012, memorandum entitled "Exercising Prosecutorial
    Discretion with Respect to Individuals Who Came to the United States as Children," and the
    November 20, 2014 memorandum entitled "Exercising Prosecutorial Discretion with Respect to
    Individuals Who Came to the United States as Children and with Respect to Certain Individuals
    Who Are the Parents of U.S. Citizens or Permanent Residents," 1 all existing conflicting
    directives, memoranda, or field guidance regarding the enforcement of our immigration laws and
    priorities for removal are hereby immediately rescinded- to the extent of the conflict-including,
    but not limited to, the November 20, 2014, memoranda entitled "Policies for the Apprehension,
    Detention and Removal of Undocumented Immigrants," and "Secure Communities."

      A. The Department's Enforcement Priorities

         Congress has defined the Department's role and responsibilities regarding the enforcement
of the immigration laws of the United States. Effective immediately, and consistent with Article
II , Section 3 of the United States Constitution and Section 3331 of Title 5, United States Code,
Department personnel shall faithfully execute the immigration laws of the United States against
all removable aliens.

        Except as specifically noted above, the Department no longer will exempt classes or
categories of removable aliens from potential enforcement. In faithfully executing the
immigration laws, Department personnel should take enforcement actions in accordance with
applicable law. In order to achieve this goal, as noted below, I have directed ICE to hire 10,000
officers and agents expeditiously, subject to available resources, and to take enforcement actions
consistent with available resources. However, in order to maximize the benefit to public safety, to
stem unlawful migration and to prevent fraud and misrepresentation, Department personnel
should prioritize for removal those aliens described by Congress in Sections 212(a)(2), (a)(3), and
(a)(6)(C), 235(b) and (c), and 237(a)(2) and (4) of the Immigration and Nationality Act (INA).

        Additionally, regardless of the basis of removability, Department personnel should
prioritize removable aliens who: (I) have been convicted of any criminal offense; (2) have been
charged with any criminal offense that has not been resolved; (3) have committed acts which
constitute a chargeable criminal offense; (4) have engaged in fraud or willful misrepresentation in
connection with any official matter before a governmental agency; (5) have abused any program
related to receipt of public benefits; (6) are subject to a final order ofremoval but have not
complied with their legal obligation to depart the United States; or (7) in the judgment of an
immigration officer, otheiwise pose a risk to public safety or national security. The Director of
ICE, the Commissioner of CBP, and the Director of USCIS may, as they determine is appropriate,
issue further guidance to allocate appropriate resources to prioritize enforcement activities within
these categories-for example, by prioritizing enforcement activities against removable aliens
who are convicted felons or who are involved in gang activity or drug trafficking.




1
    The November 20, 2014, memorandum will be addressed in future guidance.
                                                        2



                                                                                            App. 1001
   B. Strengthening Programs to Facilitate the Efficient and Faithful Execution of the
      Immigration Laws of the United States

       Facilitating the efficient and faithful execution of the immigration laws of the United
States-and prioritizing the Department's resources-requires the use of all available systems and
enforcement tools by Department personnel.

       Through passage of the immigration laws, Congress established a comprehensive statutory
regime to remove aliens expeditiously from the United States in accordance with all applicable
due process of law. I determine that the faithfol execution of our immigration laws is best
achieved by using all these statutory authorities to the greatest extent practicable. Accordingly,
Department personnel shall make full use of these authorities.

        Criminal aliens have demonstrated their disregard for the rule of law and pose a threat to
persons residing in the United States. As such, criminal aliens are a priority for removal. The
Priority Enforcement Program failed to achieve its stated objectives, added an unnecessary layer
of uncertainty for the Department' s personnel, and hampered the Department's enforcement of the
immigration laws in the interior of the United States. Effective immediately, the Priority
Enforcement Program is terminated and the Secure Communities Program shall be restored. To
protect our communities and better facilitate the identification, detention, and removal of criminal
aliens within constitutional and statutory parameters, the Department shall eliminate the existing
Forms I-247D, I-247N, and I-247X, and replace them with a new form to more effectively
communicate with recipient law enforcement agencies. However, until such forms are updated
they may be used as an interim measure to ensure that detainers may still be issued, as
appropriate.

        ICE's Criminal Alien Program is an effective tool to facilitate the removal of criminal
aliens from the United States, while also protecting our communities and conserving the
Department's detention resources. Accordingly, ICE should devote available resources to
expanding the use of the Criminal Alien Program in any willing jurisdiction in the United States.
To the maximum extent possible, in coordination with the Executive Office for Immigration
Review (EOIR), removal proceedings shall be initiated against aliens incarcerated in federal,
state, and local correctional facilities under the Institutional Hearing and Removal Program
pursuant to section 238(a) of the INA, and administrative removal processes, such as those under
section 238(b) of the INA, shall be used in all eligible cases.

        The INA § 287(g) Program has been a highly successful force multiplier that allows a
qualified state or local law enforcement officer to be designated as an "immigration officer" for
purposes of enforcing federal immigration law. Such officers have the authority to perform all law
enforcement functions specified in section 287(a) of the INA, including the authority to
investigate, identify, apprehend, arrest, detain, and conduct searches authorized under the INA,
under the direction and supervision of the Department.

       There are currently 32 law enforcement agencies in 16 states participating in the 287(g)
                                               3



                                                                                          App. 1002
Program. In previous years, there were significantly more law enforcement agencies participating
in the 287(g) Program. To the greatest extent practicable, the Director of ICE and Commissioner
of CBP shall expand the 287(g) Program to include all qualified law enforcement agencies that
request to participate and meet all program requirements. In furtherance of this direction and the
guidance memorandum, " Implementing the President's Border Security and Immigration
Enforcement Improvements Policies" (Feb. 20, 2017), the Commissioner of CBP is authorized, in
addition to the Director ofICE, to accept State services and take other actions as appropriate to
carry out immigration enforcement pursuant to section 287(g) of the INA.

   C. Exercise of Prosecutorial Discretion

        Unless otherwise directed, Department personnel may initiate enforcement actions against
removable aliens encountered during the performance of their official duties and should act
consistently with the President's enforcement priorities identified in his Executive Order and any
further guidance issued pursuant to this memorandum. Department personnel have full authority
to arrest or apprehend an alien whom an immigration officer has probable cause to believe is in
violation of the immigration laws. They also have full authority to initiate removal proceedings
against any alien who is subject to removal under any provision of the INA, and to refer
appropriate cases for criminal prosecution. The Department shall prioritize aliens described in the
Department's Enforcement Priorities (Section A) for arrest and removal. This is not intended to
remove the individual, case-by-case decisions of immigration officers.

        The exercise of prosecutorial discretion with regard to any alien who is subject to arrest,
criminal prosecution, or removal in accordance with law shall be made on a case-by-case basis in
consultation with the head of the field office component, where appropriate, of CBP, ICE, or
USCIS that initiated or will initiate the enforcement action, regardless of which entity actually
files any applicable charging documents: CBP Chief Patrol Agent, CBP Director of Field
Operations, ICE Field Office Director, lCE Special Agent-in-Charge, or the USCIS Field Office
Director, Asylum Office Director or Service Center Director.

       Except as specifically provided in this memorandum, prosecutorial discretion shall not be
exercised in a manner that exempts or excludes a specified class or category of aliens from
enforcement of the immigration laws. The General Counsel shall issue guidance consistent with
these principles to all attorneys involved in immigration proceedings.

    D. Establishing the Victims of Immigration Crime Engagement (VOICE) Office

        Criminal aliens routinely victimize Americans and other legal residents. Often, these
victims are not provided adequate information about the offender, the offender's immigration
status, or any enforcement action taken by ICE against the offender. Efforts by ICE to engage
these victims have been hampered by prior Department of Homeland Security (DHS) policy
extending certain Privacy Act protections to persons other than U.S. citizens and lawful
permanent residents, leaving victims feeling marginalized and without a voice. Accordingly, I am
establishing the Victims of Immigration Crime Engagement (VOICE) Office within the Office of
                                                 4



                                                                                           App. 1003
the Director of ICE, which will create a programmatic liaison between ICE and the known victims
of crimes committed by removable aliens. The liaison will facilitate engagement with the victims
and their families to ensure, to the extent permitted by law, that they are provided information
about the offender, including the offender's immigration status and custody status, and that their
questions and concerns regarding immigration enforcement efforts are addressed.

        To that end, I direct the Director of ICE to immediately reallocate any and all resources
that are currently used to advocate on behalf of illegal aliens (except as necessary to comply with
a judicial order) to the new VOICE Office, and to immediately terminate the provision of such
outreach or advocacy services to illegal aliens.

         Nothing herein may be construed to authorize disclosures that are prohibited by law or
may relate to information that is Classified, Sensitive but Unclassified (SBU), Law Enforcement
Sensitive (LES), For Official Use Only (FOUO), or similarly designated information that may
relate to national security, law enforcement, or intelligence programs or operations, or disclosures
that are reasonably likely to cause harm to any person.

   E. Hiring Additional ICE Officers and Agents

         To enforce the immigration laws effectively in the interior of the United States in
accordance with the President's directives, additional ICE agents and officers are necessary. The
Director of ICE shall-while ensuring consistency in training and standards- take all appropriate
action to expeditiously hire 10,000 agents and officers, as well as additional operational and
mission support and legal staff necessary to hire and support their activities. Human Capital
leadership in CBP and ICE, in coordination with the Under Secretary for Management and the
Chief Human Capital Officer, shall develop hiring plans that balance growth and interagency
attrition by integrating workforce shaping and career paths for incumbents and new hires.

    F. Establishment of Programs to Collect Authorized Civil Fines and Penalties

        As soon as practicable, the Director ofICE, the Commissioner of CBP, and the Director of
users shall issue guidance and promulgate regulations, where required by law, to ensure the
assessment and collection of all fines and penalties which the Department is authorized under the
law to assess and collect from aliens and from those who facilitate their unlawful presence in the
United States.

    G. Aligning the Department's Privacy Policies With the Law

        The Department will no longer afford Privacy Act rights and protections to persons who
are neither U.S. citizens nor lawful permanent residents. The DHS Privacy Office will rescind the
DHS Privacy Policy Guidance memorandum, dated January 7, 2009, which implemented the
OHS "mixed systems" policy of administratively treating all personal information contained in
DHS record systems as being subject to the Privacy Act regardless of the subject' s immigration
status. The DHS Privacy Office, with the assistance of the Office of the General Counsel, will
                                                 5



                                                                                           App. 1004
develop new guidance specifying the appropriate treatment of personal information DHS
maintains in its record systems.

   H. Collecting and Reporting Data on Alien Apprehensions and Releases

       The collection of data regarding aliens apprehended by ICE and the disposition of their
cases will assist in the development of agency performance metrics and provide transparency in
the immigration enforcement mission. Accordingly, to the extent permitted by law, the Director of
ICE shall develop a standardized method of reporting statistical data regarding aliens apprehended
by ICE and, at the earliest practicable time, provide monthly reports of such data to the public
without charge.

        The reporting method shall include uniform terminology and shall utilize a format that is
easily understandable by the public and a medium that can be readily accessed. At a minimum, in
addition to statistical information currently being publicly reported regarding apprehended aliens,
the following categories of information must be included: country of citizenship, convicted
criminals and the nature of their offenses, gang members, prior immigration violators, custody
status of aliens and, if released, the reason for release and location of their release, aliens ordered
removed, and aliens physically removed or returned.

        The ICE Director shall also develop and provide a weekly report to the public, utilizing a
medium that can be readily accessed without charge, of non-Federal jurisdictions that release
aliens from their custody, notwithstanding that such aliens are subject to a detainer or similar
request for custody issued by ICE to that jurisdiction. In addition to other relevant information, to
the extent that such information is readily available, the report shall reflect the name of the
jurisdiction, the citizenship and immigration status of the alien, the arrest, charge, or conviction
for which each alien was in the custody of that jurisdiction, the date on which the ICE detainer or
similar request for custody was served on the jurisdiction by ICE, the date of the alien's release
from the custody of that jurisdiction and the reason for the release, an explanation concerning why
the detainer or similar request for custody was not honored, and all arrests, charges, or convictions
occurring after the alien' s release from the custody of that jurisdiction.

    I. No Private Right of Action

       This document provides only internal DHS policy guidance, which may be modified,
rescinded, or superseded at any time without notice. This guidance is not intended to, does not,
and may not be relied upon to create any right or benefit, substantive or procedural, enforceable at
law by any party in any administrative, civil, or criminal matter. Likewise, no limitations are
placed by this guidance on the otherwise lawful enforcement or litigation prerogatives of DHS.

       In implementing these policies, I direct DHS Components to consult with legal counsel to
ensure compliance with all applicable laws, including the Administrative Procedure Act.



                                                   6



                                                                                              App. 1005
          
          
          
          
          
          
    Exhibit 14    

 

 

 

 

 

 

 

 

 

 

 

 




                     App. 1006
My name is Kenneth Palinkas, and I am over the age of 18 and fully competent in all respects to make
this declaration. I have personal knowledge and expertise of the matters herein stated.
I am currently the President of Local 0235, AFGE, AFL-CIO, located at 26 Federal Plaza in New York City. I
was appointed President by AFGE in 2015 and was elected President in 2016. I am the former President
of the National Citizenship and Immigration Services Council ("NCISC"). I started working for the
Immigration and Naturalization Service beginning March 22, 1999. I have been a member of the
American Federation of Government Employees (AFGE) since 2000.
I have also been a member of the National Citizenship and Immigration Services Council since March 4,
2011, when I was appointed to the position of Eastern Region Vice President that had been vacated. I
was subsequently elected to the position of Executive Vice President of the NCISC August, 2012 and
have served as the NCISC's President upon the resignation of the former President February 01, 2013. I
served in that capacity until August 17, 2015. The NCISC is part of the American Federation of
Government Employees and is a member Union of the AFL-CIO. NCISC represents over 18,000
employees at U.S. Citizenship and Immigration Services ("USCIS").
The Immigration Services Officers and Staff who work at USCIS throughout the country are hard working
professionals and proud members of the law enforcement community. They are charged with, among
other things, processing Citizenship applications, Adjustment of Status applications, managing the E­
Verify system, and managing the Systematic Alien Verification for Entitlements ("SAVE") system, among
other security systems throughout the country.
USCIS Immigration Services Officers and staff are the Nation's front-line defense for a safe and secure
immigration system. We investigate applicants, scrutinize numerous applications, issue requests for
evidence (RFE's), and conduct interviews. An interview is one of the most important and effective tools
in an Officer's repertoire because it is the most effective way to detect fraud and to identify national
security threats through hands-on vetting of all applicants seeking an immigration benefit.
However, USCIS management unfortunately has continually undermined the Immigration Service
Officers' abilities to do his or her job by overscheduling work assignments or interviews and by not
providing sufficient time to make proper adjudications. Management has continually transformed USCIS
from a Service that serves to protect our national security and the rule of law, into one that instead
serves to protect undocumented immigrants and their lawyers. This is what facilitated the changes in
our titles from Adjudications Officers to Immigration Services Officers. Aliens seeking benefits have been
referred to as "customers", further eroding the standards as contained in the INA.
Additionally, USCIS has employed the use of an electronic immigration system known as ELIS to allow
applicants to request immigration benefits on line.




                                                                                                 App. 1007
App. 1008
App. 1009
          
          
          
          
          
          
    Exhibit 15    

 

 

 

 

 

 

 

 

 

 

 

 




                     App. 1010
                                                                                                                 Number of Form I-821D,Consideration of Deferred Action for Childhood Arrivals,
                                                                                                                                     by Fiscal Year, Quarter, Intake, Biometrics and Case Status
                                                                                                                                                          Fiscal Year 2012-2017 (September 30)


                                                                                                                       Requests by Intake,
Biometrics and Case 

                                                                                                                                                               Status



                                                                                       Intake1                                      Biometrics6                                        Case Review8
                                                                           Requests       Total Requests        Average             Biometrics         Requests Under
                      Period                       Requests Accepted   2
                                                                           Rejected3        Received4        Accepted/Day5          Scheduled7            Review9           Approved   10
                                                                                                                                                                                                      Denied11       Pending12
 Fiscal Year - Total 6
2012                                                         152,431           5,395              157,826               3,629              124,055               38,024             1,680                        -        150,751
2013                                                         427,616          16,351              443,967               1,697              445,013               77,747           470,352                   10,975         97,040
2014                                                         238,900          24,887              263,787                 952              209,670              101,568           158,336                   20,992        156,612
    2014 Initial                                             122,424          19,127              141,551                 488                    -                    -           136,101                   20,989         62,374
    2014 Renewal                                             116,476           5,760              122,236               1,370                    -                    -            22,235                       D          94,238
2015                                                         448,856          35,474              484,330               1,781              525,499               48,355           510,007                   21,355         74,106
    2015 Initial                                              85,303           7,477               92,780                 338                    -                    -            90,613                   19,070         37,994
    2015 Renewal                                             363,553          27,997              391,550               1,443                    -                    -           419,394                    2,285         36,112
2016                                                         260,701          12,317              273,018               1,035               68,140                    -           198,702                   14,427        121,678
    2016 Initial                                              73,362           1,204               74,566                 291                    -                    -            52,789                   11,398         47,169
    2016 Renewal                                             187,339          11,113              198,452                 744                    -                    -           145,913                    3,029         74,509
2017                                                         472,873          43,429              516,302               1,884                    -                    -           462,713                   13,193        118,645
    2017 Initial                                               45,557             42                45,599                194                    -                    -            47,445                    9,248         36,033
    2017 Renewal                                              427,316         43,387               470,703              1,602                    -                    -           415,268                    3,945         82,612
Total Cumulative                                            2,001,377        137,853             2,139,230              1,541            1,372,377                    -         1,801,790                   80,942        118,645
    Total Cumulative Initial                                  906,693         49,596               956,289                698                    -                    -           798,980                   71,680         36,033
    Total Cumulative Renewal                                1,094,684         88,257             1,182,941              1,305                    -                    -         1,002,810                    9,262         82,612
  Fiscal Year 2017 by Quarter 13  
Q1. October - December                                       110,186           4,141              114,327               1,777                     -                     -        121,919                     2,720        107,225
     Q1. October - December Initial                           15,326              15               15,341                 247                     -                     -         18,239                     2,091         42,165
     Q1. October - December Renewal                           94,860           4,126               98,986               1,530                     -                     -        103,680                       629         65,060
Q2. January - March                                          132,784          19,266              152,050               2,142                     -                     -        124,700                     4,137        111,172
     Q2. January - March Initial                              10,419               8               10,427                 168                     -                     -         17,220                     3,024         32,340
     Q2. January - March Renewal                             122,365          19,258              141,623               1,974                     -                     -        107,480                     1,113         78,832
Q3. April - June                                              94,562           8,590              103,152               1,525                     -                     -        102,509                     3,705         99,520
     Q3. April - June Initial                                 10,977               8               10,985                 177                     -                     -          5,827                     2,719         34,771
   Q3. April - June Renewal                                   83,585           8,582               92,167               1,348                     -                     -          96,682                      986         64,749
Q4. July - September                                         135,341          11,432              146,773               2,115                                                    113,585                     2,631        118,645
   Q4. July - September Initial                                8,835              11                8,846                 138                                                      6,159                     1,414         36,033
   Q4. July - September Renewal                              126,506          11,421              137,927               1,977                                                    107,426                     1,217         82,612

D - Data withheld to protect requestors' privacy.
- Represents zero.
1
    Refers to a request for USCIS to consider deferred removal action for an individual based on guidelines described in the Secretary of Homeland Security's memorandum issued June 15, 2012.
      Each request is considered on a case-by-case basis.
      See http://www.uscis.gov/childhoodarrivals.
2
    The number of new requests accepted at a Lockbox during the reporting period.
3
    The number of requests rejected at a Lockbox during the reporting period.
4
    The number of requests that were received at a Lockbox during the reporting period.
5
    The number of requests accepted per day at a Lockbox as of the end of the reporting period. Also note the average accepted per day for initial plus renewal will not equal the total average.
6
    Refers to capture of requestors' biometrics.
7
    The number of appointments scheduled to capture requestors' biometrics during the reporting period.
8
    Refers to consideration of deferring action on a case-by-case basis during the reporting period.
9
    The number of new requests received and entered into a case-tracking system during the reporting period.
10
     The number of requests approved during the reporting period.
11
     The number of requests that were denied, terminated, or withdrawn during the reporting period.
12
     The number of requests awaiting a decision as of the end of the reporting period.
13
     Data on biometrics scheduled is not available past January 31, 2016. Totals reflect up to January 31, 2016.
NOTE: 1. Some requests approved or denied may have been received in previous reporting periods.
            2. The report reflects the most up-to-date estimate available at the time the report is generated.
Source: Department of Homeland Security, U.S. Citizenship and Immigration Services, Biometrics Capture Systems, CIS Consolidated Operational Repository (CISCOR), September 30th, 2017




                                                                                                                                                                                                                     App. 1011
                                                                            Number of Form I-821D,Consideration of Deferred Action for Childhood Arrivals,
                                                                                                by Fiscal Year, Quarter, Intake, Biometrics and Case Status
                                                                                                                    Fiscal Year 2012-2017 (September 30)

                                                                                                                   Requests by Intake,
Biometrics and Case 

                                                                                                                                                           Status



                                                                                  Intake1                                      Biometrics6                                       Case Review8
                                                                     Requests     Total Requests            Average            Biometrics          Requests Under
                   Period                       Requests Accepted2 Rejected3        Received4            Accepted/Day5         Scheduled7             Review9            Approved10             Denied11            Pending12
                                                                Accepted to Date1                                           Approved to Date2                                                                 Accepted to Date1                           Approved to Date2                                                                              Accepted to Date1                           Approved to Date2
           Top Countries of Origin                                                                                                                                       Residence                                                                                                                                 .
                                                     Initials        Renewals          Total                Initials            Renewals                Total                                   Initials            Renewals       Total      Initials        Renewals        Total                                                         Initials         Renewals        Total      Initials         Renewals        Total
Mexico                                                     705,125       857,475            1,562,600           627,666               785,675            1,413,341   California                     246,140              256,248    502,388     224,737          238,464       463,201   Arkansas                                                5,668            5,149        10,817        5,124            4,815         9,939
El Salvador                                                 34,430        41,531               75,961            28,754                37,843               66,597   Texas                          142,635              138,005    280,640     125,239          128,812       254,051   Alabama                                                 4,861            4,600         9,461        4,304            4,270         8,574
Guatemala                                                   24,852        27,219               52,071            20,187                24,706               44,893   New York                        51,462               80,850    132,312      43,138           72,637       115,775   Missouri                                                3,983            4,801         8,784        3,569            4,374         7,943
Honduras                                                    22,634        26,167               48,801            18,486                23,590               42,076   Missing                         16,517              100,782    117,299       9,768           89,320        99,088   Nebraska                                                3,848            3,932         7,780        3,399            3,603         7,002
Peru                                                         9,816        13,169               22,985             9,147                12,189               21,336   Florida                         41,582               67,495    109,077      33,631           59,249        92,880   Kentucky                                                3,517            3,777         7,294        3,084            3,423         6,507
South Korea                                                  7,893        12,832               20,725             7,309                11,964               19,273   Illinois                        46,279               45,797     92,076      42,701           42,833        85,534   Iowa                                                    3,211            3,841         7,052        2,826            3,483         6,309
Brazil                                                       8,591         9,963               18,554             7,429                 9,136               16,565   New Jersey                      26,479               37,351     63,830      22,471           33,654        56,125   Idaho                                                   3,427            3,335         6,762        3,158            3,113         6,271
Ecuador                                                      7,774         9,442               17,216             6,750                 8,558               15,308   Arizona                         31,040               29,458     60,498      28,028           27,350        55,378   Louisiana                                               2,492            3,285         5,777        2,089            2,946         5,035
Colombia                                                     7,285         9,221               16,506             6,631                 8,537               15,168   North Carolina                  29,881               26,798     56,679      27,515           25,169        52,684   Rhode Island                                            1,508            2,616         4,124        1,264            2,338         3,602
Philippines                                                  5,112         6,804               11,916             4,692                 6,390               11,082   Georgia                         29,058               28,162     57,220      24,322           26,047        50,369   Hawaii                                                    856            2,974         3,830          617            2,623         3,240
Argentina                                                    5,249         6,357               11,606             4,833                 5,876               10,709   Washington                      19,978               21,345     41,323      18,037           19,713        37,750   Delaware                                                1,645            1,902         3,547        1,461            1,755         3,216
India                                                        3,782         4,869                8,651             3,205                 4,496                7,701   Colorado                        19,351               17,677     37,028      17,369           16,497        33,866   Mississippi                                             1,723            1,704         3,427        1,476            1,578         3,054
Jamaica                                                      4,430         4,387                8,817             3,464                 4,025                7,489   Virginia                        14,350               19,207     33,557      12,357           17,382        29,739   District of Columbia                                      987            1,783         2,770          787            1,558         2,345
Venezuela                                                    3,481         4,283                7,764             3,119                 3,954                7,073   Nevada                          14,326               14,690     29,016      13,160           13,741        26,901   Puerto Rico                                               571            1,966         2,537          357            1,610         1,967
Dominican Republic                                           3,812         3,752                7,564             3,169                 3,428                6,597   Maryland                        11,845               15,976     27,821       9,957           14,350        24,307   Unknown                                                   233            1,738         1,971          139            1,494         1,633
Uruguay                                                      2,636         2,980                5,616             2,395                 2,709                5,104   Massachusetts                    9,955               17,248     27,203       8,172           15,174        23,346   New Hampshire                                             476            1,038         1,514          381              904         1,285
Bolivia                                                      2,232         3,005                5,237             2,080                 2,768                4,848   Oregon                          12,219               11,758     23,977      11,356           11,020        22,376   Wyoming                                                   699              653         1,352          624              608         1,232
Unknown                                                      2,724         2,744                5,468             2,067                 2,305                4,372   Indiana                         10,841                9,946     20,787       9,894            9,293        19,187   Alaska                                                    216              757           973          151              644           795
Costa Rica                                                   2,287         2,834                5,121             2,065                 2,623                4,688   Pennsylvania                     7,476               13,151     20,627       6,084           11,711        17,795   South Dakota                                              316              487           803          259              435           694
Poland                                                       1,998         2,407                4,405             1,808                 2,226                4,034   Utah                            10,617                9,124     19,741       9,749            8,533        18,282   Maine                                                     146              555           701          105              501           606
Chile                                                        1,907         2,446                4,353             1,763                 2,251                4,014   Michigan                         7,569               10,936     18,505       6,563            9,801        16,364   Guam                                                      115              556           671           68              492           560
Pakistan                                                     1,947         2,415                4,362             1,697                 2,222                3,919   Tennessee                        9,430                8,822     18,252       8,407            8,165        16,572   North Dakota                                              151              511           662          106              431           537
Tobago                                                       2,441         1,715                4,156             2,094                 1,702                3,796   Wisconsin                        8,252                7,786     16,038       7,610            7,278        14,888   Virgin Islands                                            168              353           521          104              314           418
Nicaragua                                                    1,900         2,114                4,014             1,601                 1,948                3,549   Minnesota                        7,116                8,914     16,030       6,324            8,004        14,328   West Virginia                                             157              333           490          118              286           404
Guyana                                                       1,483         1,748                3,231             1,277                 1,621                2,898   Oklahoma                         7,567                7,152     14,719       6,915            6,742        13,657   Montana                                                    92              250           342           77              222           299
                                                                                                                                                                     Kansas                           7,397                6,926     14,323       6,849            6,497        13,346   Vermont                                                    66              278           344           45              245           290
D Data withheld to protect requestors' privacy.                                                                                                                      Connecticut                      5,854                8,558     14,412       5,038            7,752        12,790   Armed Forces-Pacific                                       33              118           151           19              109           128
- Represents zero.                                                                                                                                                   New Mexico                       7,498                6,422     13,920       6,858            6,063        12,921   Armed Forces-Europe, Middle East, Africa, Canada           28              105           133           17               91           108
                                                                                                                                                                     South Carolina                   7,257                6,650     13,907       6,454            6,171        12,625   Armed Forces-Americas (except Canada)                      19               76            95           12               73            85
1
  The number of requests that were accepted to date of the reporting period.
                                                                                                                                                                     Ohio                             5,474                7,908     13,382       4,524            6,992        11,516   Northern Mariana Islands                                   32               32            64           11               25            36
2
  The number of requests that were accepted to date of the reporting period.
                                                                                                                                                                                                                                                                                         Not Reported                                                4               37            41            2               33            35
3
  All fields with less than 10 or a blank in the state field are included in the field "not reported."
NOTE: 1) Some requests approved or denied may have been received in previous reporting periods.
       2) The report reflects the most up-to-date estimate data available at the time the report is generated.
Source: Department of Homeland Security, U.S. Citizenship and Immigration Services, Biometrics Capture Systems, CIS Consolidated Operational Repository (CISCOR), September 2017




                                                                                                                                                                                                                                                                                                                                                                                                                                    App. 1012
